Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 1 of 215




               Declaration of
               Konstantinos
                 Psounis

       Unredacted Version
          of Document
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 2 of 215




 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Diane M. Doolittle (CA Bar No. 142046) Andrew H. Schapiro (admitted pro hac vice)
 2 dianedoolittle@quinnemanuel.com         andrewschapiro@quinnemanuel.com
    Sara Jenkins (CA Bar No. 230097)       Teuta Fani (admitted pro hac vice)
 3                                         teutafani@quinnemanuel.com
    sarajenkins@quinnemanuel.com
 4  555  Twin Dolphin  Drive, 5th Floor    191 N. Wacker Drive, Suite 2700
    Redwood Shores, CA 94065               Chicago, IL 60606
 5 Telephone: (650) 801-5000               Telephone: (312) 705-7400
    Facsimile: (650) 801-5100              Facsimile: (312) 705-7401
 6

 7    Stephen A. Broome (CA Bar No. 314605)         Josef Ansorge (admitted pro hac vice)
      stephenbroome@quinnemanuel.com                josefansorge@quinnemanuel.com
 8    Viola Trebicka (CA Bar No. 269526)            Xi (“Tracy”) Gao (CA Bar No. 326266)
      violatrebicka@quinnemanuel.com                tracygao@quinnemanuel.com
 9    Crystal Nix-Hines (Bar No. 326971)            Carl Spilly (admitted pro hac vice)
      crystalnixhines@quinnemanuel.com              carlspilly@quinnemanuel.com
10
      Alyssa G. Olson (CA Bar No. 305705)           1300 I Street NW, Suite 900
11    alyolson@quinnemanuel.com                     Washington D.C., 20005
      865 S. Figueroa Street, 10th Floor            Telephone: (202) 538-8000
12    Los Angeles, CA 90017                         Facsimile: (202) 538-8100
      Telephone: (213) 443-3000
13    Facsimile: (213) 443-3100
14
      Jomaire Crawford (admitted pro hac vice)      Jonathan Tse (CA Bar No. 305468)
15    jomairecrawford@quinnemanuel.com              jonathantse@quinnemanuel.com
      51 Madison Avenue, 22nd Floor                 50 California Street, 22nd Floor
16    New York, NY 10010                            San Francisco, CA 94111
      Telephone: (212) 849-7000                     Telephone: (415) 875-6600
17    Facsimile: (212) 849-7100                     Facsimile: (415) 875-6700
18
     Attorneys for Defendant Google LLC
19
                            UNITED STATES DISTRICT COURT
20                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

21    CHASOM BROWN, WILLIAM BYATT,                  Case No. 4:20-cv-03664-YGR-SVK
      JEREMY DAVIS, CHRISTOPHER
22    CASTILLO, and MONIQUE TRUJILLO,               DECLARATION OF KONSTANTINOS
      individually and on behalf of all similarly   PSOUNIS IN SUPPORT OF GOOGLE,
23                                                  LLC’S OPPOSITION TO PLAINTIFF’S
      situated,                                     MOTION FOR CLASS CERTIFICATION
24          Plaintiffs,                             AND   APPOINTMENT    OF  CLASS
                                                    REPRESENTATIVES    AND   CLASS
25                                                  COUNSEL
                   v.
26                                                  Judge: Hon. Yvonne Gonzalez Rogers
      GOOGLE LLC,                                   Hearing Date: September 20, 2022
27          Defendant.                              Hearing Time: 2:00 p.m..

28
                                                             Case No. 4:20-cv-03664-YGR-SVK
        DECLARATION OF KONSTANTINOS PSOUNIS IN SUPPORT OF GOOGLE’S OPPOSITION TO MOTION
                                                                FOR CLASS CERTIFICATION
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 3 of 215




 1         I, Konstantinos Psounis, declare as follows:
 2         1.      Counsel for Defendant Google, LLC retained me to provide expert analysis and, if
 3 requested, expert testimony in this matter.

 4         2.      I submit this declaration in support of Google’s Opposition to Plaintiff’s Motion for
 5 Class Certification.

 6         3.      Attached as Exhibit 1 is a true and correct copy of the Expert Report of Konstantinos
 7 Psounis, dated June 7, 2022. The opinions I provided therein are true and correct to the best of my

 8 knowledge.

 9

10         I declare under penalty of perjury of the laws of the United States that the foregoing is true
                                Athens
11 and correct. Executed in _______________,               July 29 2022
                                              Greece on __________,
                                             _______
12

13                                                        By
                                                               Konstantinos Psounis
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                             1               Case No. 4:20-cv-03664-YGR-SVK
        DECLARATION OF KONSTANTINOS PSOUNIS IN SUPPORT OF GOOGLE’S OPPOSITION TO MOTION
                                                                FOR CLASS CERTIFICATION
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 4 of 215




                     EXHIBIT 1

      Redacted Version of
      Document Sought to
          be Sealed
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 5 of 215

                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




                       IN THE UNITED STATES DISTRICT COURT

   FOR THE NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION




CHASOM BROWN, WILLIAM BYATT,
JEREMY         DAVIS,     CHRISTOPHER            Case No. 4:20-cv-03664-YGR-SVK
CASTILLO, and MONIQUE TRUJILLO,
individually and on behalf of all similarly
situated,
                               Plaintiffs,

            v.

GOOGLE LLC,

                               Defendant.




                 EXPERT REPORT OF KONSTANTINOS PSOUNIS, PH.D.


                                       June 7, 2022
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 6 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                  TABLE OF CONTENTS


I. EXECUTIVE SUMMARY OF OPINIONS                                                           1
II. INTRODUCTION                                                                          12
     A. Personal Background And Qualifications                                            12
     B. Summary Of Plaintiffs’ Allegations                                                15
     C. Assignment                                                                        17
     D. Facts And Data Considered                                                         19
III. REBUTTAL TO MR. HOCHMAN                                                              20
    A. Opinion 1: Mr. Hochman’s Opinion That Users Can Readily Be Identified
        From The Data At Issue (# 18) Is Incorrect                                        20
        1. The Data At Issue Is Not Associated With A Google Account                      20
        2. The Data At Issue Is Stored In An Orphaned And Unidentified State              25
        3. Privacy-Preserving Technical Barriers And Policies Prevent Google
           From Re-Identifying Logs Data                                                  32
    B. Opinion 2: Mr. Hochman’s Opinions On Interception, Notice, And Deletion
        Of Private Browsing Information (# 4, 5, 6, 26, 31) Are Contrary To
        Industry Guidelines On Private Browsing                                           34
    C. Opinion 3: Mr. Hochman’s Opinions On “Private Browsing Profiles,”
        Server-Side Processes, And Data Joinability (# 10, 18, 19, 20) Are Inaccurate     38
        1. Orphaned And Unidentified Interest Segments Are Not Cradle-To-Grave Profiles   38
        2. Mr. Hochman’s Claims Regarding Google’s Retention Policies Show That
           These Policies Prevent The Creation Of Such Profiles                           42
    D. Opinion 4: Mr. Hochman’s Assertion That Google Used Private
        Browsing Information To Measure Conversions (# 14) Is Misleading                  43
    E. Opinion 5: Mr. Hochman’s Description Of Entropy (# 18) Is Incorrect                45
    F. Opinion 6: Mr. Hochman’s Assertions On Fingerprinting (# 9, 18) Are
        Misleading And Unfounded                                                          47
        1. Google Does Not Engage In Fingerprinting                                       48
        2. Google’s Internal Policies Expressly Prohibit Fingerprinting                   50
        3. Google’s System Architecture Supports Google’s Anti-Fingerprinting Policy      52
    G. Opinion 7: Mr. Hochman’s Proposal To Identify Class I (Chrome Class)
        (# 22) Is Unreasonable and Unreliable                                             54
        1. Hochman’s IP + UA Fingerprinting Method Will Not Work                          56
            a. IP Addresses Are Neither Unique Nor Static                                 56
            b. User Agent Strings Are Neither Unique Nor Static                           61
            c. The Combination Of An IP Address And A User Agent String Is Neither

                                                 1
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 7 of 215

                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


              Unique Nor Static                                                         63
       2. Pseudonymous IDs Can Not Be Used To Reliably Identify Individuals             65
           a. UMA ID                                                                    65
           b. PPID-Mapped Biscotti ID & Analytics User-ID                               69
           c. Biscotti ID                                                               71
   H. Opinion 8: Mr. Hochman’s Opinion That The “maybe_chrome_incognito”
       Bit Reliably Detects Incognito Traffic (# 23) Is Incorrect                       72
   I. Opinion 9: Mr. Hochman’s Proposal To Identify Class II (# 22) Is Unreasonable
      And Unreliable                                                                    75
       1. Mr. Hochman’s Proposed Email Notification To All Google Account Holders Is
          Overly Broad And He Does Not Propose A Workable Methodology For Limiting
          The Notification To Class Members                                             77
       2. Mr. Hochman’s Proposed Methodology For Limiting Class II To Private
          Browsing Mode Users After Notification Is Unreliable                          80
   J. Opinion 10: Mr. Hochman’s Proposed Methods For Identifying Class Members
      (# 22) Do Not–And Cannot–Account For Shared Devices Or Accounts                  84
       1. Mr. Hochman’s Proposed Methods Do Not Account For Shared Devices             84
       2. Mr. Hochman’s Proposed Methods Do Not Account For Shared Accounts            94
IV. REBUTTAL TO MR. SCHNEIER                                                            97
    A. Opinion 11: Mr. Schneier’s Assertion That “Browsing Information Is Unique
       For Each User” Is Unsupported And Misleading                                     97
    B. Opinion 12: Mr. Schneier’s Claim That “Personal Data Is Difficult To
       Anonymize And Easy To De-Anonymize” Is Unsupported And Is Incorrect For
       The Data At Issue                                                               100
    C. Opinion 13: Mr. Schneier’s Assertion That Google Has Not Taken Steps To
       Ensure That A User’s Choice To Sign Out Of A Google Account Will
       Prevent Google From Associating The User’s Signed-Out Activity With
       Any Signed-In Data Is Incorrect                                                 106
       1. The Documents Mr. Schneier Cites Do Not Support His Conclusion               107
       2. Additional Documents And Testimony Contradict Mr. Schneier’s Claim
          That Google Has Not Undertaken Steps To Prevent Joining of Signed-Out
          And Signed-In Data                                                           110
       3. Google’s Policy Restrictions And Pseudonymization Procedures Closely Align
          With Best Practices For Research Involving User Data                         113
       4. Google’s Security Practices Closely Align With Best Practices In
          The Network Security Industry                                                116




                                            2
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 8 of 215

                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


V. APPENDICES                                                              121
    A. Curriculum Vitae                                                    121
    B. Table Of Opinions                                                   142
    C. Hochman To Psounis Mapping                                          146
    D. Psounis To Hochman And Schneier Mapping                             155
    E. Entropy, Entropy Bits and Fingerprinting: Formal Exposition         157
    F. IP Address + User Agent Data Analysis                               176
    G. “Profile” Data                                                      188
    H. Sources Considered                                                  192




                                           3
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 9 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


I. EXECUTIVE SUMMARY OF OPINIONS
       1.      Opinion 1: Mr. Hochman’s Opinion That Users Can Readily Be Identified

From The Data At Issue (# 18) Is Incorrect. ​ In my opinion, Google cannot readily use the

site activity data from users who, like putative class members, are (i) in private browsing mode,

(ii) not logged into a Google Account, (iii) visiting a non-Google website that uses Google web

services (the “Data At Issue”), to identify users or their devices. See infra § III.A. My opinion

rests on the following grounds.

   ❖ First, the Data At Issue is not associated with a Google Account. Google receives the

       data in an unidentified state, without any Google Account information. See infra

       § III.A.1.

   ❖ Second, the Data At Issue is stored in an orphaned and unidentified state. The Data At

       Issue is either (i) keyed by a pseudonymous identifier unique to each private browsing

       session (e.g. Biscotti, Zwieback) that is not linked to an identified user or device during

       the session, and is not linked to anything after the session is closed, (ii) keyed by a

       pseudonymous identifier unique to the website publisher (PPID-mapped Biscotti,

       Analytics UserID) that is not linked to activity on other websites and cannot be used to

       identify a user, or (iii) not keyed to any identifier at all. See infra § III.A.2.

   ❖ Third, Google’s privacy-preserving technical barriers and policies prevent the

       identification of users from signed-out private browsing data. See infra § III.A.3.

       2.      Opinion 2: Mr. Hochman’s Opinions On Interception, Notice, And Deletion

Of Private Browsing Information (# 4, 5, 6, 26, 31) Are Contrary To Industry Guidelines

On Private Browsing. Mr. Hochman contends that Google could have (i) redesigned Chrome

or Google’s “tracking beacons” to “limit Google’s collection of private browsing information”

(Hochman # 4); (ii) notified users, at the time of collection, that it was collecting private

                                                   1
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 10 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

browsing information (Hochman # 5); and could have notified websites when it received private

browsing information (Hochman # 6). Mr. Hochman asserts that Google “uniformly attempted

to intercept all private browsing communications with non-Google websites that have a Google

tracking beacon” (Hochman # 26). Finally, Mr. Hochman claims that “Google could delete from

its systems records of Chrome Incognito browsing communications” (Hochman # 31). All five

opinions are misguided because Mr. Hochman failed to consider industry guidelines on private

browsing, including by one of the key standard-setting organizations, the W3C Technical

Architecture Group (“TAG”) Observations on Private Browsing Mode, which set forth in 2019

that: (i) “the Web should be accessible in private and normal browsing modes,” and (ii) “the use

of private browsing mode should not be detectable by websites.” Mr. Hochman fails to

recognize that Google’s practice is consistent with these design principles. Providing a notice to

websites at the time of collection or redesigning Chrome or Google scripts (Mr. Hochman’s

“tracking beacons”) to “limit Google’s collection of private browsing information” would

violate these fundamental principles. See infra § III.B.

       3.      Opinion 3: Mr. Hochman’s Opinions On “Private Browsing Profiles,”

Server-Side Processes, And Data Joinability (# 10, 18, 19, 20) Are Inaccurate.

​Mr. Hochman opines that: (1) “Google, throughout the class period, created detailed profiles …

based on the private browsing information it collected” (Hochman # 10); (2) private browsing

information could be linked to information tied to the user’s Google account (Hochman # 18)

and/or the user’s account with non-Google websites (Hochman # 19) but for Google’s deletion

of the data (Hochman # 20). All of these opinions are inaccurate, for at least the following

reasons. See infra § III.C.

   ❖ First, what Mr. Hochman calls “private browsing profiles” are interest segments and




                                                 2
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 11 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       verticals based on orphaned and unidentified data limited to single private browsing

       sessions, that are not joined across sessions, not joined with Google Account profiles,

       and not the “cradle-to-grave” profiles Plaintiffs have alleged. The activity in these

       so-called “profiles” is limited to discrete private browsing session activity that does not

       identify the user and is not linked to the user or her device after the session is closed. See

       infra § III.C.1.

   ❖ Second, Google’s retention, deletion, and anonymization of certain data from private

       browsing mode sessions align with industry best practices for data security and further

       prevent the creation of “cradle-to-grave” profiles. Mr. Hochman’s assertion that Google

       should retain private browsing mode data indefinitely in order to “[aid] the process of

       linking (or joining) a user’s private browsing information to that user’s account” would

       conflict with these best practices and increase the risk of fingerprinting by bad actors.

       See infra § III.C.2.

   ❖ Third, although Mr. Hochman cites to DBL                  data associated with Biscotti IDs

       extracted from IDE cookies or mapped from PPIDs to claim that Google maintains

       detailed user profiles, the DBL      data itself shows that the purported profile is keyed to

       pseudonymous identifiers unique to each discrete private browsing session or unique to

       the website publisher. See infra § III.C.1.

       4.      Accordingly, it is my opinion that, for the private browsing mode sessions at

issue (where a user does not sign into a Google account), Google stores data from private

browsing sessions keyed at most to pseudonymous identifiers unique to each private browsing

session or website publisher—and sometimes to no identifier at all—subject to Google’s data

retention policy. Such discrete data sets do not remotely resemble “cradle-to-grave” user




                                                 3
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 12 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

profiles Plaintiffs alleged in their Complaint.​​

        5.      Opinion 4: Mr. Hochman’s Assertion That Google Used Private Browsing

Information To Measure Conversions (# 14) Is Misleading. Mr. Hochman contends that

“[t]hrough Google’s server-side processes such as . . .               (linking a user’s signed-out

Biscotti IDs across different sessions) . . . Google creates ‘a single-view of the user in all

Display products’ for ad targeting and measurement purposes.” In my opinion, these assertions

are misleading because they create the impression that Google maps the Biscotti ID from one of

the signed-out private browsing sessions at issue in this case to the Biscotti ID from a different

signed-out private browsing session. However, based on my review of documents and

deposition testimony, there is no such mapping because                    can only map a signed-in

cookie (Google Accounts and ID Administration ID (“GAIA ID”)) to a signed-out cookie (e.g.,

Biscotti) if they are in the same cookie jar. That never happens for putative class members

because private browsing mode creates a new (empty) cookie jar, and Plaintiffs allege that the

Class members never signed in to their Google Accounts while browsing in private mode.

Accordingly, Class members could never have a signed-in and signed-out cookie in the same

cookie jar, and therefore there could be no mapping. See infra § III.D.

        6.      Opinion 5: Mr. Hochman’s Description Of Entropy (# 18) Is Incorrect.

Mr. Hochman takes a categorical approach to defining PII, and describes entropy as a “metric

for user identifiability … measured in number of bits of data needed to uniquely identify a

person” to aid his conclusion that “IP address and User Agent ‘carries 29.8 bits’ of entropy,

which is more than sufficient to uniquely identify individuals in the United States.” In my

opinion, Mr. Hochman’s description is incorrect and shows a profound misunderstanding of

information entropy. To support my opinions, I have provided a detailed technical discussion in




                                                    4
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 13 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

Appendix E. In summary, there are three errors in Mr. Hochman’s opinion. See infra § III.E.

   ❖ First, contrary to Mr. Hochman’s description, entropy is not a “metric for user

       identifiability” but rather a measure of the uncertainty of the outcome of a process.

       Therefore, entropy does not—and cannot be used to—establish what specific

       information is necessary to uniquely identify any specific person, or how many bits of

       data are “more than sufficient to identify a person.” See infra § III.E.

   ❖ Second, whether IP address and User Agent (IP + UA) carry 29.8 bits, or 20 bits, or 40

       bits has no bearing on user identification in this case because there is no reliable

       mapping from an IP + UA to an individual. Because an IP + UA pair: (i) may

       correspond to multiple devices and change dynamically, see infra § III.G.1, and (ii) may

       be shared by multiple users, see infra § III.G.1 and § III.J, there is no reliable mapping

       from an IP + UA pair to an individual. Therefore, an IP + UA pair will not reliably

       identify the person who is using the browser regardless of the entropy bits of the

       identifier. See infra § III.E.

   ❖ Third, entropy is an average-case metric that can provide insight into a system, but not

       individuals. ​See infra § III.E.

       7.      Opinion 6: Mr. Hochman’s Assertions On Fingerprinting (# 9, 18) Are

Misleading And Unfounded. In his Opinion 18, Mr. Hochman opines “that Google throughout

the class period and across the two classes systematically collected and stored detailed private

browsing data that constitutes what is commonly understood to be sensitive fingerprinting data,

which can be used to identify users and join data.” Mr. Hochman does not describe a method to

distinguish “fingerprinting data” from “sensitive fingerprinting data” and, in my experience,

there is no common understanding of what fingerprinting data is “sensitive.” In his Opinion 9,




                                                 5
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 14 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

Mr. Hochman claims that “‘pseudonymous’ cookies such as Zwieback and Biscotti cookies for

signed-out mode … in fact, can be linked to users through fingerprinting information Google

collects in its logs, such as IP address, user agents, websites visited, and more).” ​In my opinion,

Mr. Hochman’s assertions on fingerprinting are misleading and unfounded for the following

reasons:

   ❖ First, Mr. Hochman does not directly address whether Google is engaged in

       fingerprinting but leaves the reader with the impression that Google may be engaged in

       fingerprinting. See infra § III.F.1.

   ❖ Second, Mr. Hochman fails to mention that Google’s internal policies, including policies

       cited by Mr. Hochman, expressly prohibit fingerprinting. See infra § III.F.2.

   ❖ Third, Mr. Hochman neglects to discuss the technical barriers Google has constructed

       within its systems to prevent fingerprinting. See infra § III.F.3.

       8.      Opinion 7: Mr. Hochman’s Proposal to Identify Class I (Chrome Class) (#

22) Is Unreasonable and Unreliable.

   ❖ First, Mr. Hochman proposes using the combination of IP address and User Agent (IP +

       UA) to identify class members. In short, he proposes to engage in the very fingerprinting

       analysis that he and Plaintiffs condemn. Even if engaging in fingerprinting were

       appropriate—particularly in a privacy case—this method cannot reliably identify class

       members because (i) it is rarely the case that a device has a unique, static IP address, and

       (ii) the User Agent string (UA), which contains information about the type of the

       browser (e.g. Chrome, Edge, Mozilla, Safari), the version of the browser, and the

       operating system over which the browser is running (e.g. Windows, macOS, iOS,

       Linux), is likely to be shared by many users. In fact, the top 10 most popular UAs




                                                 6
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 15 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       correspond to 26 percent of daily traffic. Therefore, the identical combination of IP

       address and UA may be shared by multiple class members, and by other individuals,

       some of whom are in the class and some of whom are not. See infra § III.G.1.

   ❖ Second, Mr. Hochman proposes using pseudonymous identifiers to identify class

       members. This method cannot reliably identify class members because (i) only a subset

       of users will even be assigned a pseudonymous identifier (i.e., if they opt-in to Chrome

       metrics for UMA ID or if they visit websites that use PPID and/or User ID and the user

       signs-in to their account on those websites); (ii) UMA data is designed for aggregate

       analysis and is not joined with authenticated identifiers; and (iii) PPID and/or User ID

       are assigned by websites, purposely processed before they are sent to Google to ensure

       they do not contain personal identifying information, and will have the same value for

       users who share an account for a given website. See infra § III.G.2.

   ❖ Third, Mr. Hochman proposes using Biscotti IDs from signed-in private browsing

       activity to identify signed-out private browsing activity by the same user. Signed-in

       private browsing mode sessions cannot be joined with signed-out private browsing mode

       sessions via Mr. Hochman’s proposed method because (i) the Biscotti ID for signed-in

       activity will be different than the Biscotti ID for signed-out activity; and (ii) Mr.

       Hochman does not propose a way to otherwise link these two sessions together. See

       infra § III.G.2.c.

       9.      Opinion 8: Mr. Hochman’s Opinion That “maybe_chrome_incognito” Bit

Reliably Identifies Incognito Traffic (# 23) Is Incorrect. Mr. Hochman proposes using the

“maybe_chrome_incognito” bit to identify web traffic by proposed class members. This method

cannot reliably identify Incognito web traffic because the “maybe_chrome_incognito” bit relies




                                               7
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 16 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

on the absence of the X-Client-Data header. But the X-Client-Data header may be absent for

any number of reasons that have nothing to do with whether the browser was in Incognito

mode. See infra § III.H.

        10.     Opinion 9: Mr. Hochman’s Proposal To Identify Class II (# 22) Is

Unreasonable And Unreliable. Mr. Hochman proposes identifying members of Class II

(Google account holders who used private browsing modes in Safari or Internet Explorer) by

notifying all Google account holders based on the flawed assumption that “most” Google

account holders have used a private browsing mode. Then, Mr. Hochman intends to rely on (i)

self-reporting, (ii) disclosure or identification through Google records of IP address plus User

Agent, and/or (iii) using Biscotti IDs from signed-in private browsing activity to identify

signed-out private browsing activity by the same user. None of these methods is reliable, for at

least three reasons. See infra § III.I.

    ❖ First, because private browsing modes do not save browsing history to a user’s browser,

        self-reporting would rely solely on the user’s memory of what websites she visited in

        private browsing mode on one of the browsers at issue, which is obviously unreliable.

        See infra § III.I.2.

    ❖ Second, for the reasons stated in my Opinion 7, neither (i) IP address plus User Agent

        nor (ii) attempted mapping of Biscotti IDs from signed-in private browsing mode

        sessions to Biscotti IDs from signed-out private browsing mode sessions method can

        reliably identify class members. See infra § III.G.

    ❖ Third, further highlighting the unreliability of Mr. Hochman’s method, named Plaintiffs’

        data shows that each potential class member’s Google account may be associated with

        multiple combinations of IP address plus User Agent. See infra § III.I.2.




                                                 8
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 17 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       11.     Opinion 10: Mr. Hochman’s Proposed Methods For Identifying Class

Members (# 22) Do Not—And Cannot—Account For Shared Devices. Even if

Mr. Hochman’s proposed methods for class member identification could reliably link the private

browsing activity at issue to a specific device or account identifier (and as I explain in my

Opinions 7 through 9, it cannot), the method would still not be able to identify class members

because it does not address the issue of device and Google account sharing.

   ❖ First, there is a significant body of research (including research by one of Plaintiffs’

       other experts, Mr. Schneier) showing that sharing of devices is common, and likely even

       more common among private browsing users because Incognito mode and other private

       browsing modes’ primary use case is to provide on-device privacy for shared devices.

       See infra § III.J.1.

   ❖ Second, users may share Google accounts and accounts for non-Google websites, such

       as for websites that require a paid subscription. See infra § III.J.2.

   ❖ Third, in conjunction with Mr. Hochman’s proposal to send email notifications based on

       device or account, his failure to address shared devices and accounts may put those

       private browsing users who seek to keep that activity private from users who share those

       devices and/or accounts at risk (e.g., an abused spouse or child doing research on how to

       find help). See infra § III.J.

       12.     Opinion 11: Mr. Schneier’s Assertion That “Browsing Information Is

Unique For Each User” Is Unsupported and Misleading. Mr. Schneier purports to support

his opinion with studies and documents that do not actually support his opinion because they do

not conclude that browsing information is in fact unique for each user, as Mr. Schneier claims.

His opinions are particularly misleading for the Data At Issue because the studies and




                                                 9
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 18 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

documents Mr. Schneier cites rely on data and methodologies that are inapplicable to the data in

this case. See infra § IV.A.

       13.     Opinion 12: Mr. Schneier’s Claim That “Personal Data Is Difficult to

Anonymize and Easy to De-anonymize” Is Unsupported And Is Incorrect For The Data At

Issue. As explained further below, Mr. Schneier’s assertion is unsupported by the sources he

cites and incorrect for the Data At Issue for the following reasons:

   ❖ First, the examples Mr. Schneier cites as examples of purported difficulties associated

       with anonymization analyze data that is readily distinguishable from the Data at

       Issue—for example, surveillance camera footage of Israeli assassins, birth dates, ZIP

       codes, and voter registration databases. See infra § IV.B.

   ❖ Second, the Google documents that Mr. Schneier characterizes as “admissions” do not

       support his conclusion that “Google can connect individuals to private browsing

       sessions.” See infra § IV.B.

   ❖ Third, Mr. Schneier’s assertion that “data is difficult to anonymize and easy to

       de-anonymize” is incorrect for the Data At Issue because my review of Google

       documents and testimony produced in this case confirms that Google has been

       successful in its efforts to anonymize the Data At Issue and prevent its re-identification.

       See infra § IV.B.

       14.     Opinion 13: Mr. Schneier’s Assertion That Google Has Not Taken Steps To

Ensure That A User’s Choice To Sign Out Of A Google Account Will Prevent Google

From Associating The User’s Signed-Out Activity With Any Signed-In Data Is Incorrect.

In short, Mr. Schneier’s opinion is incorrect for the following reasons:

   ❖ First, the documents that Mr. Schneier cites do not support his conclusion that Google




                                                10
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 19 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       “has not taken steps to ensure that a user’s choice to sign out of a Google account will

       prevent Google from associating the user’s signed-out activity with any signed-in data;”

       in fact, they support the opposite conclusion because they outline the extensive steps

       Google takes to maintain strict separation between signed-in and signed-out data. See

       infra § IV.C.1.

   ❖ Second, additional documents and testimony in this case further demonstrate the steps

       that Google has taken to ensure that a user’s choice to sign out of a Google account will

       prevent Google from associating the user’s signed-out activity with any signed-in data.

       See infra § IV.C.2.

   ❖ Finally, upon review of Google’s security and pseudonymization policies and practices,

       they closely align with best practices for research involving user data and with best

       practices in the network security industry. See infra § IV.C.3.

       15.    For an overview of my opinions, please refer to Appendix B. Table Of Opinions.

For tables mapping Mr. Hochman’s opinions to my report and my report to his opinions, please

see Appendix C. Hochman to Psounis Mapping and Appendix D. Psounis To Hochman

Mapping.


II. INTRODUCTION
       A. Personal Background And Qualifications

       16.    I am a Professor and Associate Chair of Electrical and Computer Engineering

and Professor of Computer Science at the University of Southern California. I joined the

University of Southern California in 2003, after completing my PhD at Stanford University as a

Stanford Graduate Fellow.




                                               11
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 20 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       17.    My professional career has spanned more than 20 years. As set forth in Appendix

A. Curriculum Vitae, I have extensive experience in the field of networked distributed systems,

including the Internet and the world wide web, content-delivery networks, data centers and

cloud computing, and wireless mobile networking systems.

       18.    I have published more than 100 technical papers in these fields, which have been

cited tens of thousands of times. I have also been awarded numerous grants and significant

funding from the government and industry leaders to advance these fields. As a result, I have

been named an Institute of Electrical and Electronics Engineers (IEEE) Fellow, the highest

grade of membership, and a Distinguished Member of the Association of Computing Machinery

(ACM) for my contributions to the theory and practice of networked, distributed systems.

       19.    Throughout my career, I have analyzed, designed, and developed efficient,

privacy-preserving networked distributed systems for the Internet and the Web, content-delivery

networks, data centers and cloud systems, and wireless mobile networking systems. As such, I

have acquired extensive expertise in the analysis and development of those systems and

associated products.

       20.    I have extensive experience with and made contributions specifically towards

designing efficient, privacy-preserving networked distributed systems, as established by my

funding and publication record. Over the last decade, I have received multiple awards from the

National Science Foundation (NSF), the leading governmental agency for funding computer

engineering and computer science research, to work on privacy-preserving architectures for

networked distributed systems, including the world wide web, mobile systems, and spectrum

sharing systems. For example, I am a lead Principal Investigator (PI) of the NSF Secure and

Trustworthy Cyberspace Frontiers (SaTC Frontiers) grant on Protecting Personal Data Flow on




                                              12
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 21 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

the Internet and the sole lead PI of the NSF grant on Spectrum Sharing Systems for Wireless

Networks: Performance and Privacy Challenges. During my professional career of more than 20

years I have also received multiple awards from NSF and industry leaders, to work on network

routing, for example, I was the sole lead PI on the NSF grant on Efficient Routing in Delay

Tolerant Networking.

       21.     I have published several papers in selective academic journals and conferences

on protecting the privacy of user and system data. Recent work of mine in the area of

privacy-preserving distributed systems concerns the protection of the privacy of personal data

during web browsing and during usage of popular applications and systems, touching upon

implications of cookies and fingerprinting.1 In addition, I have a large body of publications in

the most selective academic journals and conferences related to network routing and IP

addresses.2 I have also been the faculty in charge of the entire networking curriculum at the

Electrical and Computer Engineering department at USC for more than a decade and teach

networking classes as well as probability theory classes which cover entropy and other related

concepts to graduate students yearly.

       22.     I also have extensive practical experience with networked distributed systems

designed and developed to operate in the World Wide Web deployed over the Internet. For

example, I was the Technology Architect for Fineground Networks (later acquired by Cisco
1
  See, e.g., M. Clark and K. Psounis,“Optimizing Primary User Privacy in Spectrum Sharing
Systems,”              IEEE/ACM               Transactions            on            Networking,
https://ieeexplore.ieee.org/document/8985324 (Apr. 2020); J. Zhang, K. Psounis, M. Zaroon,
and Z. Shafiq, “HARPO: Learning to Subvert Online Behavioral Advertising,” NDSS,
https://web.cs.ucdavis.edu/~zubair/files/harpo-ndss2022.pdf (Apr. 2022).
2
  See, e.g., T. Spyropoulos, K. Psounis, and C. Raghavendra, “Efficient Routing in Intermittently
Connected Mobile Networks: The Multiple-copy Case, ”IEEE/ACM Transactions on
Networking, https://cpb-us-e1.wpmucdn.com/sites.usc.edu/dist/b/364/files/2019/05/multiton.pdf
(Feb. 2008); T. Spyropoulos, K. Psounis, and C. Raghavendra, “Efficient Routing in
Intermittently Connected Mobile Networks: The Single-Copy Case,” IEEE/ACM Transactions
on Networking, https://ee.usc.edu/netpd/assets/001/51984.pdf (Feb. 2008).

                                               13
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 22 of 215

                      CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

Systems), where I designed and developed systems to accelerate the delivery of content over the

World Wide Web via web proxy caches and content delivery networks. Also, I was a co-founder

of SpaceMUX (whose IP was later acquired by Quantenna Communications), where I designed

and developed systems to increase the speed of wireless networked systems. In addition, for

over 20 years both at Stanford University and at the University of Southern California I have

designed and implemented efficient algorithms, protocols and systems for web caching, web

farms, and web browsing, and I have consulted for industrial leaders, and produced prototype

systems. I have also applied for and been granted numerous patents, e.g. “Method and System

for Class-based Management of Dynamic Content in a Networked Environment”3 about

dynamic web content, owned by Cisco Systems.

         23.     In sum, I have extensive experience in and familiarity with the fields of

networked distributed systems including the Internet and the world wide web, content-delivery

networks, data centers and cloud computing, and wireless mobile networking systems, and

extensive experience and contributions towards the analysis, design and implementation of

efficient routing and privacy-preserving architecture for such systems.

         24.     My C.V. is attached as Appendix A. Curriculum Vitae.

         25.     I am being compensated at the rate of $600 per hour for my work on this case.

My compensation is not contingent upon my findings, the testimony I may give, or the outcome

of this litigation.

         B. Summary Of Plaintiffs’ Allegations

         26.     I understand that Plaintiffs, Chasom Brown, William Byatt, Jeremy Davis,

Christopher Castillo, and Monique Trujillo, allege that Google violated various statutes and



3
    U.S. Patent No. 7,603,483B2 (issued Oct. 13, 2009).

                                                14
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 23 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

privacy laws since June 1, 2016 (the “Class Period”).4 Specifically, Plaintiffs allege that Google

improperly received or collected data from browsers when (i) a Google Account holder not

signed into their Google Account, (ii) uses a browser in private browsing mode, (iii) to visit a

non-Google website containing “Google tracking or advertising code.”5 The Data At Issue

includes the following:

    ● “The ‘GET request’ sent from the user’s computer to the website;”
    ● “The IP address of the user’s connection to the internet;”
    ● “Information identifying the browser software that the user is using, including any
       ‘fingerprinting’ data;”
    ● “Any ‘User-ID’ issued by the website to the user, if available;”
    ● “Geolocation of the user, if available;” and
    ● “Information contained in ‘Google cookies,’ which were saved by the user’s web
       browser on the user’s device at any prior time.”6
       27.     Plaintiffs allege that Google uses “fingerprinting”7 techniques to (i) intercept and

collect the Data At Issue8 and (ii) build “its profile of users (including Plaintiffs and class

members).”9 In their Third Amended Complaint, Plaintiffs claim that “Google Identifies You

with ‘Fingerprinting’ Techniques.”10 Plaintiffs further allege “Google Ad Manager is set up to

automatically retarget a user based on information that Google has previously collected”




4
  Third Amended Class Action Complaint, Chasom Brown, et al., v. Google LLC, United States
District Court Northern District of California, Febr. 3, 2022, Dkt. 395-2 (“Complaint”) ¶ 2.
5
  Id. ¶ 192.
6
  Id. ¶ 63.
7
  In the context of browser communications, fingerprinting refers to the combination of various
bits of information to probabilistically identify a browser. Probabilistic identification of a
browser through fingerprinting is different from the deterministic identification of an individual
through an account log-in. For more on fingerprinting see infra § III.F, § III.G.1, Appendix E.
8
  Complaint ¶ 8.
9
  Id. ¶ 100.
10
   Id. at 31.

                                                15
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 24 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

through “Google’s fingerprinting.”11 Plaintiffs allege that Google engages in “[c]oncurrent

retargeting of ads by matching private browsing user data with other user data.”12

        28.     Plaintiffs allege that Google “gained a complete, cradle-to-grave profile of users”

by correlating and aggregating data associated with:

     ● Analytics User-ID. (“Google is able to associate the data collected from users in
       “private browsing mode” with specific and unique user profiles through Google
       Analytics User-ID.”)

     ● Google Cookies. (“Information collected from Google Cookies, which includes
       identifying information regarding the user from private browsing sessions and
       non-private browsing sessions, across multiple sessions[.]”)

     ● Fingerprinting Data. (“Identifying information regarding the consumer from various
       Google fingerprinting technologies that uniquely identify the device, such as
       X-Client-Data Header, GStatic, and Approved Pixels[.]”)

     ● Geolocation Data. (“Geolocation data that Google collects from concurrent Google
       processes and system information, such as from the Android Operating System[.]”)

     ● IP Address. (“The IP address information, which is transmitted to Google’s servers
       during the private and non-private browsing sessions. Google correlates and aggregates
       all of this information to create profiles on the consumers.”)13

        29.     Plaintiffs propose two classes:

     ● Class 1 – “All Chrome browser users with a Google account who accessed a
       non-Google website containing Google tracking or advertising code using such a
       browser and who were (a) in ‘Incognito mode’ on that browser and (b) were not logged
       into their Google account on that browser, but whose communications, including
       identifying information and online browsing history, Google nevertheless intercepted,
       received, or collected from June 1, 2016 through the present (the ‘Class Period’).”14
     ● Class 2 – “All non-Chrome browser users with a Google account who accessed a
       non-Google website containing Google tracking or advertising code using any such
       browser and who were (a) in ‘private browsing mode’ on that browser, and (b) were not
       logged into their Google account on that browser, but whose communications, including


11
   Id. ¶ 81.
12
   Id. at 25.
13
   Id. ¶ 93.
14
   Id. ¶ 192.


                                                  16
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 25 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

        identifying information and online browsing history, Google nevertheless intercepted,
        received, or collected from June 1, 2016 through the present (the ‘Class Period’).”15
        C. Assignment

        30.    I have been engaged in this matter by counsel for Google LLC (“Google”) to

evaluate the April 15, 2022 Expert Report of Jonathan E. Hochman (“Hochman Report”)16 and

the April 15, 2022 Expert Report of Bruce Schneier (“Schneier Report”). 17

        31.    In particular, counsel has asked me to analyze and respond to the following

Opinions in the Hochman report.

     ● A. “Google Interception: Throughout the class period, Google intentionally intercepted
       private browsing communications between users and non-Google websites while those
       communications were in transit.” (Hochman ¶¶ 78-133.)
     ● B. “User Notification & Choice: Throughout the class period, Google collected this
       private browsing information without notifying users or offering a choice at the time of
       or in connection with any of the interceptions.” (Hochman ¶¶ 134-135).
     ● C. “Website Notification & Choice: Throughout the class period, Google collected this
       private browsing information without notifying websites at the time of or in connection
       with any of the interceptions or providing websites with a choice.” (Hochman
       ¶¶ 136-137).
     ● D. “Google Storage: Throughout the class period, Google stored private browsing
       information in many Google data sources, sometimes permanently.” (Hochman
       ¶¶ 138-165).
     ● E. “Google Use: Throughout the class period, Google exploited private browsing
       information to generate revenue for Google by creating profiles, serving ads, tracking
       conversions, and in other ways that benefited Google.” (Hochman ¶¶ 166-222).
     ● F. “Google Joinability: Throughout the class period, Google collected and stored private
       browsing information in ways that can be joined to other Google user information, but
       Google withheld and destroyed data that would be relevant to further assessing and
       demonstrating that joinability.” (Hochman ¶¶ 223-258).



15
   Id. ¶ 192.
16
   Apr. 15, 2022 Expert Report of Jonathan E. Hochman and Appendices and Exhibits Attached
     Thereto.
17
    Apr. 15, 2022 Expert Report of Bruce Schneier and Appendices and Exhibits Attached
     Thereto.


                                               17
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 26 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


     ● H. “Class Member Identification: Throughout the class period, Google collected private
       browsing information in ways that can be used to identify class members, though
       Google also withheld and destroyed data relevant to that identification.” (Hochman
       ¶¶ 262-307).
     ● I. “Attempt: Google’s attempted interception and collection uniformly impacted all class
       members.” (Hochman ¶¶ 308-317).
        32.    Counsel has also asked me to analyze and respond to the following specific

statements in the Schneier Report:

     ● “Browsing Information Is Unique For Each User.”18
     ● “Personal Data Is Difficult to Anonymize and Easy to De-anonymize.” 19
     ● “Google has not taken steps to ensure that a user’s choice to sign out of a Google
       account will prevent Google from associating the user’s signed-out activity with any
       signed-in data.”20

        D. Facts And Data Considered

        33.    I have reviewed the Hochman Report, exhibits, and appendices, and sources

relied on, as well as the Schneier Report. I have also requested and reviewed Google log data

provided pursuant to the Special Master process, Google documents and discovery responses

produced in this case, including regarding Google’s logging policies and infrastructure, its

anti-fingerprinting policies and infrastructure, all transcripts of Google deposition witnesses in

this case discussing Google’s logging policies and infrastructure, issues surrounding

fingerprinting and IP addresses, publicly available data and reports, and existing technical and

academic research. The sources I considered in forming my opinions are identified in this

report, the accompanying exhibits, and are listed in Appendix H. Sources Considered.

        34.    Should additional relevant documents or information be made available to me, I

reserve the right to supplement my opinions as appropriate.


18
   Schneier at 27.
19
   Schneier at 41.
20
   Schneier ¶ 205.

                                               18
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 27 of 215

                      CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


III. REBUTTAL TO MR. HOCHMAN

A. Opinion 1: Mr. Hochman’s Opinion That Users Can Readily Be Identified From The
              Data At Issue (# 18) Is Incorrect
         35.     I disagree with Mr. Hochman’s “opinion that Google can readily use the data at

issue in this lawsuit (collected from private browsing during the class period) to identify users

and their devices.”21 In my opinion, Google cannot readily use the collected site activity data

from (i) browsers in private browsing mode, (ii) with no user logged in to a Google Account,

(iii) visiting a non-Google website that uses Google web services (the “Data At Issue”), to

identify users or their devices for the following reasons:

      ❖ First, the Data At Issue is not associated with a Google Account. Google receives the

         data in an unidentified state, without any Google Account information. See infra

         § III.A.1.

      ❖ Second, the Data At Issue is stored in an orphaned and unidentified state. The Data At

         Issue is either (i) keyed by a pseudonymous identifier unique to each private browsing

         session (Biscotti, Zwieback), (ii) keyed by a pseudonymous identifier unique to the

         website publisher (PPID-mapped Biscotti, Analytics UserID), or (iii) not keyed to any

         identifier. See infra § III.A.2.

      ❖ Third, Google’s privacy-preserving technical barriers and policies prevent the

         identification of users from signed-out private browsing data. See infra § III.A.3.


         1.      The Data At Issue Is Not Associated With A Google Account
         36.     Mr. Hochman recognizes that, according to Plaintiffs’ Class definition, Class

members are not signed-in to Google Accounts when Google receives the data. He states that

“for the private browsing information at issue in this case . . . class members are not signed into
21
     Hochman ¶ 227.

                                                 19
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 28 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

any Google account”22 and “[w]hen a user starts a new private browsing session, they are

automatically signed-out of any signed-in Google account.”23 In addition, he states that “Google

distinguishes between signed-in and signed-out modes by using different cookies.”24 Finally,

Mr. Hochman states that “Google stores . . . data in different logs depending on the signed-in vs.

signed-out mode.”25 Yet, despite these acknowledgments, he goes on to conclude that “Google

can readily use the data at issue in this lawsuit (collected from private browsing during the class

period) to identify users and their devices.”26

       37.     Based on my experience researching browser communications, review of

documents upon which Mr. Hochman relied, review of deposition testimony and data produced

in this litigation, I conclude that Mr. Hochman’s opinion is incorrect. That the Data At Issue is

not associated with a Google Account is easily illustrated:

        38.    This empty jar represents a browser’s local cookie

 storage on a brand new browser.




22
   Hochman ¶ 156.
23
   Hochman ¶ 161.
24
   Hochman ¶ 160 (“Google uses GAIA cookies for signed-in mode and what Google calls
‘pseudonymous’ cookies such as Zwieback and Biscotti cookies for signed-out mode.”).
25
   Id. (“[I]n signed-out mode, Google logs data to Biscotti logs (B logs) for display ads data and
Zwieback logs for search ads data.”).
26
   Hochman ¶ 227.


                                                  20
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 29 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 30 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 31 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 32 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 33 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 34 of 215
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 35 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       56.     As a consequence of the interaction shown above, when Google receives the

Data At Issue with a Biscotti ID or a Zwieback ID, that ID is unique to the specific private

browsing session and the Data At Issue is stored in an orphaned state.

       57.     As former Google employee Rory McClelland explained at his deposition:

       For example, [if] a user who launched an Incognito window . . . navigated to
       Google.com and undertook a search, the Google.com web service in this instance would
       create a new cookie for that user, that user presenting as a whole new user that has never
       been seen before due to the nature of Incognito mode. They are given a new cookie that
       holds the unique identifier for that profile. That cookie is held in memory on the user’s
       computer because it’s in Incognito mode. For the duration of that search, session data is
       logged against the ID that represents that profile on the server. When the user closes the
       last Incognito tab or window, locally, that cookie is erased from memory . . . That
       profile, with its corresponding data will become–best way of explaining, orphaned, so it
       will continue to exist, but it would never be supplemented with any additional data.
       McClelland Feb. 18, 2022 Tr. 80:12-81:11.38

       58.     Based on my experience in the industry and review of data and documents for

this case, I agree with Mr. McClelland’s description. When a user does not sign into a Google

account in Incognito mode (or private browsing mode on Safari, Internet Explorer, or Edge),

any cookies (and the identifiers contained therein) that are set will be unauthenticated (i.e., not

associated with a specific user’s identity by Google). When the private browsing session is

terminated, the cookies are deleted from the browser.

       59.     Google can also receive the Data At Issue with a pseudonymous first-party ID

called PPID.39 Notably, Mr. Hochman has proposed in published research that the use of “local

patient identifiers (LPIDs) that can be used to identify the medical records of a given patient

within the context of a single health care provider” provides an effective way to facilitate




38
  See also Berntson June 16, 2021 Tr. 279:1-11.
39
      Google     Ad    Manager      Help,    “About     publisher        provided     identifiers,”
https://perma.cc/H8L4-FYTM, (last visited June 6, 2022).


                                                27
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 36 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

sharing of medical records for research purposes while protecting patients’ privacy.40 This LPID

is “obtained from a patient’s PII via a one-way cryptographic function . . . [that] prevents the

local identifier from being reverse engineered to obtain PII.”41 PPIDs function in the same way

as Mr. Hochman’s proposed LPIDs. The PPID is a “[p]ublisher provided identifier [that] allows

publishers to send Google Ad Manager an identifier for use in frequency capping, audience

segmentation and targeting, sequential ad rotation and other audience-based ad delivery controls

across devices.”42 The PPID is set by publishers and Google requires publishers to send the

PPID in a form to Google that does not contain any identifying information: “This identifier

[PPID] . . . must be hashed, anonymous, and must not contain any personal information,

third-party identifiers or device IDs.”43

       60.     Google does not link PPIDs to other identifiers and does not use PPIDs for

Google’s own purposes.44 They are controlled by the publisher and are specific to individual

publishers and their websites.45 Because publishers are in full control, not all publishers use
40
    M. Fischer, J. Hochman, and D. Boffa, “Privacy-Preserving Data Sharing for Medical
Research,” International Symposium on Stabilization, Safety, and Security of Distributed
Systems, https://cpsc.yale.edu/sites/default/files/files/TR1558.pdf (November 17–20, 2021), at
5.
41
   Id.
42
   GOOG-CABR-00021811, at -811.
43
   Id.
44
   Berntson Mar. 18, 2022 Tr. 119:17-23 (“In addition, from an implementation perspective, for
the PPID, it's never ever linked to any other ID. [Its] representation changes externally and then
internally, but it’s all only ever one ID that is never joined to any other ID in any business
case.”); id. at 123:24-124:15 (“PPID doesn’t help with conversions because the ID only exists
on the publisher’s site. And once a user has, say, clicked on an ad and gone to an advertiser site,
the PPID is not relevant anymore. And in fact, I’ll make a linkage here. One of the uses of
modeled conversions is specifically when we don’t have an ID that spans cross-site. And in
those cases, PPID is a good example. We can’t measure conversions using a PPID because it
only exists on the publisher’s site, not on the advertiser’s site. And when PPID is the ID that is
used, it’s -- for example, if -- if a user has disabled third-party cookies, there is no Biscotti.
And in those cases, there is no cross-site identifier that can be used to infer conversions.”).
45
   Id. at 167:3-14 (“So [a] design attribute to our products is to put the publisher in control of the
data that they want used in their system. That’s different than the controls we have relating to
the e-privacy directive, because for that, even if the data is present, we wouldn’t use it. The

                                                 28
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 37 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

PPIDs,46 and different publishers may provide Google a hashed PPID value that is the same for

the same user.47

       61.     When Google receives a PPID value from a publisher, Google hashes it further,48

and then uses a table to map it to a random ID.49 The random ID is called a PPID-mapped

Biscotti ID because “‘Biscotti’ was originally named for the internal system [Google] use[s] to

generate random numbers.”50 It is not the same Biscotti ID as stored in a cookie on the user’s

browser.51 The mapping table records the double-hashed PPID value, and the hashing is

one-way so there is no way to retrieve the original PPID input.52

       62.     For the Data At Issue, the PPID-mapped Biscotti ID is only written to logs that

are not associated with a Google Account. For cases when a user is signed into their Google

Account and the publisher provides a PPID to Google, the PPID-mapped Biscotti ID is stored in

an encrypted format to prevent logged-out private browsing traffic from being joined with a

user’s Google Account. 53


second set of controls is a publisher saying, ‘I don’t want you to introduce that data’ or ‘I'm not
going to provide it to you.’ So those are two different pathways where there could be limitations
or restrictions placed on whether or not we have access to data.”).
46
   Id. at 166:16-20 (“[I]f a publisher chooses to not use PPID, they wouldn’t provide PPID, and
so therefore there would be no PPID. And so, it is a publisher choice as to whether the PPID
[is] available in the first place for our systems”).
47
   Id. at 121:20-24 (“[I]f two different publishers have the same e-mail address and they happen
to use the same hashing function, it is possible that two different publishers can pass us what --
a PPID value that’s the same for the same user.”).
48
   Id. at 120:12-13 (“when we receive this [PPID] value, we hash it”).
49
    Id. at 120:22-121:1 (“And when this comes in the first time, we generate a new random
number, and we associate that random number -- which is an integer -- and we store it alongside
what we get from the publisher.”).
50
   Id. at 122:11-15.
51
   Id. at 122:15-24 (“And that internal system that generated a random integer is also what we
happen to call the cookie that we publish client-side. . . . That mapped Biscotti ID is never
present external to our systems.”).
52
   Id. at 121:8-11 (“[T]hey hash it into, say, another string, which is an opaque reputation with a
one-way mapping from the prior string.”).
53
   GOOG-CABR-00058751, at -756.

                                                29
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 38 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       63.     Similarly, Google Analytics User-ID is also a first-party ID generated, assigned,

and used by Google Analytics customers.54 A publisher who is a Google Analytics customer can

provide a hash of their signed-in User ID to Google; that signed-in User ID is called an

Analytics User-ID.55 Because publishers have full control of Analytics User-ID, not all

publishers choose to use Analytics User-ID (some publishers do not have a signed-in user base

and thus cannot use Analytics User-ID56), and different publishers may provide Google a hashed

Analytics value that is the same for the same user.

       64.     In my opinion, Google can not readily use the Data At Issue to identify users

because the Data is stored in an orphaned and unidentified state.




54
    Google Analytics Help, “About User-ID views,” https://perma.cc/9MGV-G8XP (last visited
June 6, 2022).
55
   Berntson June 16, 2021 Tr. 235:16-236:2 (“If a publisher has a signed-in user base, they can
provide a hash of say their signed-in User ID, which means that when they’re using Google
Analytics to look at a user’s activity on a mobile device and on a desktop, et cetera, because the
publisher is providing a stable identifier across those devices, they can have the view of all the
activity associated with one user across devices.”).
56
   Id. at 240:12-13 (“Many publishers don’t have a signed-in user base”); Chung Mar. 10, 2022
Tr. 132:14-17 (“[T]he customer would have to implement the user ID feature, which is in the --
the large minority of Google Analytics’ customers and sites use user ID and send event data in
with user ID.”).

                                               30
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 39 of 215
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 40 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         66.   Additional policies preventing re-identification include Google’s policies against

fingerprinting are discussed in § III.F.2. Google also performs “cookie scrubbing,” which is a

process where
                                                                                            57




         67.   Additional relevant technical barriers to re-identification include

architecture and encryption (infra § III.F.3), UMA timestamps (infra § III.G.2.a), PPID hashing

and encryption (supra § III.A.2), and Google’s data deletion practices (infra § III.C.2).




57
     GOOG-BRWN-00029002, at -002-003.


                                                32
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 41 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       68.     In my opinion, Google’s logging practices and server-side architecture for the

Data at Issue, which is keyed by a pseudonymous identifier and stored in an orphaned state,

renders Mr. Hochman’s proposal for identifying purported class members technically and

practically impossible. See infra § III.G.


B. Opinion 2: Mr. Hochman’s Opinions On Interception, Notice, And Deletion Of Private
              Browsing Information (# 4, 5, 6, 26, 31) Are Contrary To Industry
              Guidelines On Private Browsing
       69.     Mr. Hochman contends that Google could have (i) redesigned Chrome or

Google’s “tracking beacons” to “limit Google’s collection of private browsing information”

(Hochman # 4) and (ii) notified users, at the time of collection, that it was collecting private

browsing information (Hochman # 5). He opines that Google could have notified websites when

it received private browsing information (Hochman # 6). Mr. Hochman asserts that Google

“uniformly attempted to intercept all private browsing communications with non-Google

websites that have a Google tracking beacon” (Hochman # 26). Finally, Mr. Hochman claims

that “Google could delete from its systems records of Chrome Incognito browsing

communications” (Hochman # 31). In my opinion, these five opinions are not credible because

Mr. Hochman failed to consider the impact of the industry guideline that a website should not

be able to detect whether a website visitor is in private browsing mode.

       70.     In my opinion, Mr. Hochman’s opinions on what Google could or should have

done regarding private browsing (# 4, 5, 6, 26, 31) are marred by his failure to consider whether

Apple, Firefox, Google and Edge are and should continue to intentionally take steps—in

compliance with W3C TAG guidelines—to ensure that (i) the web remains accessible in private

and normal browsing modes and (ii) the use of private browsing mode is not detectable by

websites.



                                               33
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 42 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

        71.    Although Mr. Hochman refers to a number of different standards issued by

Standard-Setting Organizations (“SSOs”),58 he fails to acknowledge the industry guidelines

most relevant to the allegations at issue: The W3C Technical Architecture Group (“TAG”)

Observations on Private Browsing Mode. The World Wide Web Consortium (W3C) is the main

international standards organization for the World Wide Web (WWW).59 It was founded in 1994

by Tim Berners-Lee, the inventor of the WWW. The Technical Architecture Group (TAG) of

W3C60 consists of full-time W3C staff and representatives from industry leaders in web

browsers and WWW, including Apple, Google, Microsoft, and Samsung.

        72.    In particular, Mr. Hochman fails to address the W3C TAG Observations on

Private Browsing Modes published on July 5, 2019, which set forth the following guidelines on

private browsing mode:

     ● “The Web should be accessible in private and normal browsing modes[.]”61

     ● “[T]he use of private browsing mode should not be detectable by websites[.]”62




58
   See, e.g., Hochman ¶ 49 (“Google, other search engines, and website publishers have together
adopted the Robot Exclusion Standard that prevents data from being harvested from websites by
search engine robots, such as Google’s Googlebot, when a publisher opts out.”); ¶ 50 (“A
specific example of Google failing to work with other browser vendors to establish privacy
standards is the universal Do Not Track (‘DNT’) signal, which was first proposed in 2009.”).
59
   W3C, https://www.w3.org (last visited June 3, 2022).
60
   W3C, “W3C Tag,” https://tag.w3.org (last visited June 3, 2022).
61
    W3C, “W3C TAG Observations on Private Browsing Modes,” W3C TAG Finding,
https://www.w3.org/2001/tag/doc/private-browsing-modes/ (July 5, 2019) (“When the
differences in browser behavior between privacy and standard browsing modes can be detected
because of standardization or implementation details, websites might choose to degrade
browsing experience (for example, not displaying content) when they detect the users in private
browsing modes. This is undesirable.”).
62
   Id. (“[B]rowser vendors should work towards achieving private browsing mode work in a way
indistinguishable [ ]from the normal mode, to respect the users’ privacy in choosing it.”).

                                              34
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 43 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       73.       Mr. Hochman writes that Google designed Incognito mode on Chrome “so that

no system like ads or Google Analytics can know whether or not you’re in incognito mode,”63

but he fails to recognize that Google’s practice is consistent with the design principle set forth in

the W3C TAG guidelines. In my opinion, providing a notice to websites at the time of collection

(Hochman # 6) or redesigning Chrome or Google scripts (Mr. Hochman’s “tracking beacons”)

to “limit Google’s collection of private browsing information” (Hochman # 4) would violate the

W3C TAG principle that “the use of private browsing mode should not be detectable by

websites[.]”64

       74.       Similarly, Mr. Hochman appears to either have ignored or not have been aware of

the W3C TAG guidelines when he suggested in Opinion 5 that “Google could have included

either a pop-up notification or a choice to users at the time [of] collection [of information by

Google services on third party websites], but it did not.”65 As documents Google produced

show, configuring Google scripts on third party websites to provide such a notification only to

users in private browsing modes would require either (i) configuring the browser to send

information flagging the user’s use of private browsing mode;66 or (ii) configuring the

embedded Google services to detect the use of Incognito mode.67 In my opinion, both of these

options would violate the W3C TAG guidelines discussed above and facilitate websites

detecting the use of private browsing mode.


63
   Hochman ¶ 117 (quoting Berntson June 16, 2021 Tr. 282:11-15 (“Incognito mode was
designed so that no system like ads or Google Analytics can know whether or not you’re in
incognito mode . . .”)).
64
    W3C, “W3C TAG Observations on Private Browsing Modes,” W3C TAG Finding,
https://www.w3.org/2001/tag/doc/private-browsing-modes/ (July 5, 2019).
65
   Hochman ¶ 135.
66
   GOOG-BRWN-00554317, at -319; Adhya Nov. 19, 2021 Tr. 185:9-185:10; McClelland Feb.
18, 2022 Tr. 255:14-257:16.
67
   GOOG-BRWN-00554317, at -319; GOOG-CABR-03646925, at -927; Berntson, Mar. 18,
2022 Tr. 141:5-143:14.

                                                 35
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 44 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       75.     Third-party discovery indicates that web browser developers including

Microsoft, Mozilla, and Apple are operating private browsing modes on Edge, Firefox, and

Safari to comply with this W3C TAG guideline. In response to a subpoena Plaintiffs issued in

this case requesting “ALL DOCUMENTS sufficient to IDENTIFY all individuals who have

used InPrivate Browsing mode in Microsoft IE/Edge from June 1, 2016 to the present,”

Microsoft responded that it “does not have documents responsive to the Request.”68 In response

to a subpoena Plaintiffs issued requesting “ALL DOCUMENTS sufficient to IDENTIFY all

individuals who have used a Private Window or Private Browsing mode in Firefox from June 1,

2016 to the present,” Mozilla responded that it “does not possess documents or information

sufficient to ascertain the identity of individuals who have used a Private Window or Private

Browsing mode in Firefox.”69 And in response to a subpoena seeking “ALL DOCUMENTS

sufficient to IDENTIFY all individuals who have used a Private Window or Private Browsing

mode in Safari,” Apple responded that it is “not in possession of the requested records.” 70

       76.     Mr. Hochman also asserts that Google uniformly attempted to intercept and

collect data from all private browsing communications (Hochman # 26),71 and seems to suggest

that Google could have avoided collecting data from private browsing communications. But

browser vendors, following the W3C TAG guidelines, do not send an explicit signal from a

browser instance to websites to detect whether a visitor is in private browsing mode. When

Google receives the Data At Issue through its web-services (i.e., Analytics, Ad Manager) from a

Safari or Edge browser, then Google does not know whether the data it received came from a




68
   Microsoft’s Response to Brown Plaintiffs’ Subpoena (Aug. 27, 2021), at 4.
69
   Mozilla’s Response to Brown Plaintiffs’ Subpoena (Aug. 27, 2021), at 4.
70
   Apple’s Response to Brown Plaintiffs’ Subpoena (Sept. 20, 2021).
71
   Hochman ¶ 308.

                                                36
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 45 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

browser in private browsing mode.72 Similarly, when Google receives the Data At Issue through

its web-services from a Chrome browser the data does not arrive with an explicit signal

designating it as coming from a browser in private browsing mode.73

 C. Opinion 3: Mr. Hochman’s Opinions On “Private Browsing Profiles,” Server-Side
               Processes, And Data Joinability (# 10, 18, 19, 20) Are Inaccurate
       77.     I disagree with Mr. Hochman’s opinions that: (1) “Google, throughout the class

period, created detailed profiles … based on the private browsing information it collected”

(Hochman # 10);74 (2) private browsing information could be linked to information tied to the

same user’s Google account (Hochman # 18) and the same user’s account with non-Google

websites (Hochman # 19), but for Google’s deletion of the data (Hochman # 20).

       1.      Orphaned And Unidentified Interest Segments Are Not Cradle-To-Grave
               Profiles
       78.     I understand that Plaintiffs in this case have alleged that “[b]y tracking,

collecting and intercepting users’ (including Plaintiffs’ and Class members’) personal

communications indiscriminately—regardless of whether users attempted to avoid such tracking

pursuant to Google’s instructions—Google has gained a complete, cradle-to-grave profile of

users.”75 This is incorrect. “Cradle-to-grave” means ​”from the beginning to end of life.”76 Given

the brief and isolated nature of the Data At Issue, it clearly does not meet this definition. Indeed,

Mr. Hochman’s report concedes, at various points, that Google does not in fact combine data

from regular browsing with the Data At Issue to create the “cradle-to-grave” profile Plaintiffs


72
     See infra § III.H. for my rebuttal regarding Mr. Hochman’s opinion that the
maybe_Chrome_incognito boolean field reliably detects Incognito mode.
73
   Id.
74
   Hochman ¶ 11.
75
   Complaint ¶ 93.
76
       Merriam-Websters.com Dictionary, ““From (the) cradle to (the) grave.”
https://www.merriam-webster.com/dictionary/from%20%28the%29%20cradle%20to%20%28th
e%29%20grave (last visited June 6, 2022).


                                                 37
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 46 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

have alleged.77 Mr. Hochman does not show that the information contained in these profiles,

which he concedes are limited to discrete Incognito browsing sessions, is combined with a

user’s signed-in or signed-out profile consisting of information from browsing that takes place

outside of Incognito mode (or outside of other browsers’ private browsing modes).78 Notably,

Mr. Hochman has used Chrome’s Incognito mode in the past in other litigation to highlight this

profile separation, while criticizing other experts for failing to do so.79

        79.     Mr. Hochman cites to DBL          data associated with Biscotti IDs extracted from

IDE cookies or mapped from PPIDs provided by the named Plaintiffs to claim that Google

maintains detailed user profiles.80 But as the DBL         data shows, the purported “profiles” are

inferred interest segments keyed to pseudonymous identifiers unique to each discrete private

browsing session or unique to the website publisher. Mr. Hochman opines that “[t]here may be

several Google user profiles associated with a user, including GAIA-keyed user data and

Biscotti-keyed user data.”81 It is true that there may be multiple so-called user profiles


77
   See, e.g., Hochman ¶ 181 (“during the time-span of one incognito session personalization can
happen based on the activities happening in that incognito session” (quoting Mardini Nov. 24,
2021 Tr. [294:4-8])); ¶ 187 (“[F]or purposes of Chrome Incognito, cookies such as Biscotti are
specific to a particular session”).
78
   See, e.g., Hochman ¶ 176 (stating that “[t]he stored user profile information from Incognito
sessions contains similar content as user profile information from non-Incognito sessions based
on my review of Plaintiffs’ data” without contending that these profiles are linked or contain the
same information).
79
   See, e.g., Declaration of Jonathan E. Hochman, Telebrands Corp., v. Tinnus Enterprises, LLC,
Case No. PGR2015-00018 (USPTO 2015) ¶ 27 (“Amazon personalizes search results. In
testing, I used the incognito feature of the Chrome browser to hide my identity from Amazon so
that they would not personalize my search results based on my past search history.”); Expert
Report of Jonathan E. Hochman, Rockwood Select Asset Fund XI, (6)-1, LLC v. Devine,
Millimet & Branch, P.A., Case No. 1:14-cv-00303-LM, 2016 WL 4260622 (D.N.H. Jan. 29,
2016) at ¶ 8 (“Google personalizes search results based on a user's location and past search
history. Mr. Levine's report does not indicate that he took any steps (such as using a Chrome
Incognito window) to limit the personalization of the search results that he found.”).
80
   Hochman ¶¶ 174-75, Appendix H.
81
   Hochman ¶ 169 (“There may be several Google user profiles associated with a user, including
GAIA-keyed user data and Biscotti-keyed user data.”).

                                                  38
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 47 of 215
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 48 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       81.     Mr Hochman’s opinion is wrong for several reasons. First, Mr. Hochman

suggests, but conspicuously stops short of saying, that the Data is associated with different

cookie values from different private browsing sessions. It is not. As Mr. Hochman’s table

shows, the creation timestamp for these cookies are exactly the same:                      which can

be translated to human-readable time January 31, 2022 8:43:14 AM PT.85 These four IDE

cookies are simply re-encrypted versions of the same Biscotti ID unique to this one private

browsing session.86 Google resets the cookie value to prevent third-parties from using the IDE

cookie value for tracking purposes.87

       82.     Second, Google also produced DBL           data associated with other Biscotti IDs

extracted    from    other   IDE    cookies    provided    by   Plaintiff    Brown,        see,     e.g.,

                               but Mr. Hochman does not even attempt to show that Google or

anyone could link these two datasets to the same user. The data proves the opposite. For

example,     based     on    the    produced      DBL            data       stored    in      column

                                                     on the same day associated with the two

different Biscotti IDs, the user associated with Biscotti ID



                                               while the user associated with Biscotti ID



                                                          . In my opinion, one cannot infer from

the data that these two data sets keyed to different Biscotti IDs are associated with the same

user. See Appendix G. “Profile” Data.


85
       Epoch   Converter,    “Epoch        &     Unix     Timestamp          Conversion           Tools”
https://www.epochconverter.com/ (last visited June 6, 2022).
86
   GOOG-CABR-04206179 at -185.
87
   Id.

                                                40
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 49 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       83.     Further, the DBL       data was pulled using Biscotti IDs decrypted from IDE

cookies provided to Google by Plaintiff Brown under the Special Master process, which were

copied from his browser before he closed the private browsing session (when the cookies would

be deleted from the browser). But for Plaintiffs’ representation that these cookies were pulled

from his browser while in an Incognito session, Google does not know the identity of the user,

or whether the data is private browsing data.

       2.      Mr. Hochman’s Claims Regarding Google’s Retention Policies Show That
               These Policies Prevent The Creation Of Such Profiles
       84.     Mr. Hochman also states that “it is my opinion that Google’s deletion of certain

data … hinders the process of linking (or joining) a user’s private browsing information to that

user’s Google account, and in some cases may make it impossible to do so where it would have

been possible but for Google’s deletion of the data.”88 As discussed infra at § IV.C.4, Google’s

retention, deletion, and anonymization of certain private browsing data aligns with best

practices for data retention as outlined in CSC No. 3.89 In my opinion, retaining data in

perpetuity in order to “[aid] the process of linking (or joining) a user’s private browsing

information to that user’s Google account,” as Mr. Hochman appears to propose, would

(i) conflict with CSC No. 3’s guidance that “[d]ata retention must include both minimum and

maximum timelines”;90 and (ii) increase the risk of fingerprinting by a bad actor. It is also my

opinion that Google’s deletion and anonymization of certain private browsing data undermines

any claim that Google maintains “cradle-to-grave” profiles that track a user’s private browsing

mode activity for all time because, in addition to the session-based limitations that

88
   Hochman ¶ 21.
89
   “CSC No. 3” refers to Critical Security Control No. 3 from Version 8 of the Center for
Internet Security’s (“CIS”) Critical Security Controls, which are recommendations for network
security best practices issued by CIS. See infra § IV.C.4.
90
    Center for Internet Security, “CIS Critical Security Controls Version 8”
https://www.cisecurity.org/controls/v8 (last visited June 3, 2022), at -16.

                                                41
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 50 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

Mr. Hochman concedes, any tracking is expressly time-limited (rather than indefinite) by virtue

of Google’s standard retention periods.

         85.   Based on my experience in the industry and the documents and testimony I have

reviewed in this case, it is my opinion that the “private browsing profiles” on which

Mr. Hochman opines are unidentified and orphaned, and not “cradle-to-grave” profiles.

D. Opinion 4: Mr. Hochman’s Assertion That Google Used Private Browsing Information
              To Measure Conversions (# 14) Is Misleading
         86.   Mr. Hochman contends that “Google, throughout the class period, used private

browsing information to measure and model conversions” (Hochman # 14).91 In particular, he

asserts that “[t]hrough Google’s server-side processes such as . . .             (linking a user’s

signed-out Biscotti IDs across different sessions) . . . Google creates ‘a single-view of the user

in all Display products’ for ad targeting and measurement purposes.” 92

         87.   In my opinion, these assertions are misleading because they create the

impression that Google maps the Biscotti ID from one of the signed-out private browsing

sessions at issue in this case to the Biscotti ID from a different signed-out private browsing

session at issue in this case. Based on my review of documents and deposition testimony, there

is no such mapping because the private browsing Biscotti IDs in this case are never in the same

cookie jar as a GAIA ID.




91
     Hochman ¶ 15.
92
     Hochman ¶ 184 (citing GOOG-CABR-03652751).

                                                42
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 51 of 215
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 52 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

E. Opinion 5: Mr. Hochman’s Description Of Entropy (# 18) Is Incorrect

       90.     Mr. Hochman describes entropy as a “metric for user identifiability . . . measured

in number of bits of data needed to uniquely identify a person.”94 He states that “[w]ith around

330 million people in the United States, 29 bits of data is more than sufficient to identify a

person (2^29 = 537 million).”95 He states that “IP address and User Agent ‘carries 29.8 bits’ of

entropy, which is more than sufficient to uniquely identify individuals in the United States.”96

       91.     In my opinion, Mr. Hochman’s description is incorrect and shows a profound

misunderstanding of information entropy. Computing entropy bits and interpreting them

correctly requires familiarity with probability and information theory.97 To support my opinions,

I have provided a detailed technical description of the relevant theory and formulas in

Appendix E. For readers without a background in probability and information theory, I explain

the primary errors in Mr. Hochman’s approach using general terms below.

       92.     First, contrary to Mr. Hochman’s description, entropy is not a “metric for user

identifiability.”98 Entropy is a measure of the uncertainty of the outcome of a process.99 Entropy

with the incognito browser instance so there's no way of creating that mapping from an
incognito session.”).
94
   Hochman ¶ 231.
95
   Id.
96
   Hochman ¶ 233 (citing GOOG-CABR-04635379 at -380); see also Hochman ¶ 231 (asserting
that “Google engineers measure that IP address alone contributes to 26.5 bits of entropy” (citing
GOOG-BRWN-00601937)).
97
    Patrick Billingsley, “Probability and Measure,” Wiley, (3rd ed. 1995); Sheldon Ross,
“Introduction           to        Probability        Models,”          Academic            Press,
https://www.academia.edu/17872355/Introduction_to_Probability_Models_Tenth_Edition (10th
ed. 2014); T.M. Cover and J.A. Thomas, “Elements of Information Theory,” Wiley,
https://www.academia.edu/25024538/Elements_of_Information_Theory_2nd_ed_T_Cover_J_T
homas_Wiley_2006_WW (2nd ed. 2006).
98
   Hochman ¶ 231.
99
    For a detailed technical explanation, see Appendix E. Entropy Bits and Fingerprint-ability:
Formal Exposition, § V.E.2; see also T.M. Cover and J.A. Thomas, “Elements of Information
Theory,”                                                                                  Wiley,
https://www.academia.edu/25024538/Elements_of_Information_Theory_2nd_ed_T_Cover_J_T
homas_Wiley_2006_WW (2nd ed. 2006).

                                                44
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 53 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

does not—and cannot be used to—establish what specific information is necessary to uniquely

identify any specific person, or how many bits of data are “more than sufficient to identify a

person.”100 See infra § V.E.2-3.

        93.    Second, whether IP address and User Agent (IP + UA) carry 29.8 bits, or 20 bits,

or 40 bits has no bearing on user identification in this case because there is no reliable mapping

relating IP + UA to an individual.101 Because an IP + UA pair: (i) may correspond to multiple

devices and change dynamically, see infra § III.G.1, and (ii) may be shared by multiple users,

see infra § III.G.1 and § III.J, there is no reliable mapping from an IP + UA pair to an

individual. Therefore, an IP + UA pair will not reliably identify the person who is using the

browser regardless of the entropy bits of the identifier. Mr. Hochman explained this basic

relationship of identifier to an individual in a recent publication:

               “An identifier by itself is meaningless and is just a code. For example, any
               random combination of nine numbers very well may be a social security number,
               but without identifying information, there is no relevance, utility or vulnerability.
               . . . Identifying information alone is not overly relevant, because it simply notes
               the existence of a person, without any detail of that person . . . sensitive
               information that cannot be linked to a specific person poses no risk to privacy
               and is the principal [sic] that allows large databases to exist for medical
               research.”102




100
    Hochman ¶ 231.
101
    See Appendix E, § V.E.3 for a discussion on the necessity of a reliable mapping and § V.E.7
for an example.
102
    M. Fischer, J. Hochman, and D. Boffa, “Privacy-Preserving Data Sharing for Medical
Research,” International Symposium on Stabilization, Safety, and Security of Distributed
Systems, https://cpsc.yale.edu/sites/default/files/files/TR1558.pdf (Nov. 17–20, 2021)
(“Hochman Paper”) at 2-3 (emphasis added).

                                                 45
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 54 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

        94.    Third, entropy is an average-case metric.103 It can provide insight into a system

but not individuals. This limitation of entropy was explained by Martin Thomson, Distinguished

Engineer at Mozilla, in a recent post:

               “Information entropy remains useful as a means of understanding the overall
               utility of the information that a system provides. Understanding key statistics as
               part of a design is valuable. However, for entropy measures in particular, this is
               only useful from a perspective that seeks to reduce overall utility; entropy
               provides almost no information about the experience of individuals.”104
Think of information entropy as analogous to average household income in the United States.

Just like the single metric of average household income does not provide useful information

regarding the actual finances of any specific household, entropy can provide insight to a system

but not into any individual experience in it.

F. Opinion 6: Mr. Hochman’s Assertions On Fingerprinting (# 9, 18) Are Misleading And
              Unfounded
        95.    In his Opinion 18, Mr. Hochman opines “that Google throughout the class period

and across the two classes systematically collected and stored detailed private browsing data

that constitutes what is commonly understood to be sensitive fingerprinting data, which can be

used to identify users and join data.”105 Mr. Hochman does not describe a method to distinguish

“fingerprinting data” from “sensitive fingerprinting data” and, in my experience, there is no

common understanding of what fingerprinting data is “sensitive.” In his Opinion 9,

Mr. Hochman claims that “‘pseudonymous’ cookies such as Zwieback and Biscotti cookies for




103
    Specifically, it is calculated as the average information conveyed by an outcome, averaged
over all possible outcomes by weighting the information conveyed by an outcome with the
likelihood of this outcome, see Appendix E, Equation (2) in § V.E.2 and associated discussion in
§ V.E.3.
104
    “Entropy and Privacy Analysis,” Low Entropy, https://lowentropy.net/posts/entropy-privacy/
(last visited June 3, 2022) (emphasis added).
105
    Hochman ¶ 223 (emphasis added).

                                                46
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 55 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

signed-out mode … in fact, can be linked to users through fingerprinting information Google

collects in its logs, such as IP address, user agents, websites visited, and more).” 106

         96.    In my opinion, Mr. Hochman’s assertions on fingerprinting107 are misleading for

the following reasons:

      ❖ First, Mr. Hochman does not directly address whether Google is engaged in

         fingerprinting thereby leaving the reader with the impression that Google may be

         engaged in fingerprinting. See infra § III.F.1.

      ❖ Second, Mr. Hochman fails to acknowledge that Google’s internal policies, including

         policies cited by Mr. Hochman, expressly prohibit fingerprinting. See infra § III.F.2.

      ❖ Third, Mr. Hochman fails to discuss or take into account the technical barriers that

         prevent fingerprinting. See infra § III.F.3.


         1.     Google Does Not Engage In Fingerprinting
         97.    In the context of browser communications, fingerprinting refers to the

combination of various bits of information to probabilistically identify a browser. Probabilistic

identification of a browser through fingerprinting is different from the deterministic

106
   Hochman ¶ 160 (emphasis added).
107
    In the context of browser communications, fingerprinting refers to the combination of
various bits of information to probabilistically identify a browser. Probabilistic identification of
a browser through fingerprinting is different from the deterministic identification of an
individual through an account log-in. Actors attempting fingerprinting most commonly use
network-related information such as an IP address and web browser-related information such as
the type and version of the browser (i.e., User Agent). Other popular sources for fingerprinting
attempts include presentation-related information (font sizes and screen resolution),
hardware-related information (GPU characteristics), and applications-related information
(installed browser extensions). See P. Laperdrix, W. Rudametkin, and B. Baudry, “Beauty and
the Beast: Diverting Modern Web Browsers to Build Unique Browser Fingerprints,” IEEE
Symposium           on        Security       and         Privacy,       San         Jose        CA,
https://ieeexplore.ieee.org/abstract/document/7546540 (2016); Y. Cao, S. Li, and E. Wijmans,
“(Cross-)Browser Fingerprinting via OS and Hardware Level Features,” NDSS, San Diego CA,
https://www.ndss-symposium.org/wp-content/uploads/2017/09/ndss2017_02B-3_Cao_paper.pdf
(2017).

                                                  47
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 56 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

identification of an individual through an account log-in. Actors attempting fingerprinting most

commonly use network-related information such as an IP address and web browser-related

information such as the type and version of the browser (i.e. User Agent). Other popular sources

for fingerprinting attempts include presentation-related information (font sizes and screen

resolution), hardware-related information (GPU characteristics), and applications-related

information (installed browser extensions).108

        98.    In my opinion, Mr. Hochman’s statements on fingerprinting are misleading

because they create the impression that Google may be engaged in fingerprinting to identify

users. Plaintiffs allege that “Google also builds its profile of users (including Plaintiffs and

Class members) by ‘fingerprinting’ techniques.”109 Plaintiffs also allege that “Google

accomplishes its surreptitious interception and data collection through means that include

Google Analytics, Google ‘fingerprinting’ techniques, concurrent Google applications and

processes on a consumer’s device, and Google’s Ad Manager.”110 Mr. Hochman’s report does

not address Plaintiffs’ bold and completely unsupported assertions of fingerprinting.

        99.    Mr. Hochman does not show that Google actually engages in fingerprinting.

Instead, he merely states that “Google receives a myriad of fingerprinting information.”111 There

is a profound difference between engaging in fingerprinting and “receiv[ing] . . . fingerprinting

information.” The former requires a recipient of “fingerprinting information” to use such


108
    See P. Laperdrix, W. Rudametkin, and B. Baudry, “Beauty and the Beast: Diverting Modern
Web Browsers to Build Unique Browser Fingerprints,” IEEE Symposium on Security and
Privacy, San Jose CA, https://ieeexplore.ieee.org/abstract/document/7546540 (2016); Y. Cao, S.
Li, and E. Wijmans, “(Cross-)Browser Fingerprinting via OS and Hardware Level Features,”
NDSS,                           San                          Diego                       CA,
https://www.ndss-symposium.org/wp-content/uploads/2017/09/ndss2017_02B-3_Cao_paper.pdf
(2017).
109
    Complaint ¶ 100.
110
    Id. ¶ 8.
111
    Hochman ¶ 107 (emphasis added).

                                                 48
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 57 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

information to attempt to probabilistically identify a particular user or device. In my opinion,

Google does not engage in fingerprinting as Plaintiffs allege in their complaint,112 and

Mr. Hochman’s failure to directly address whether Google engages in fingerprinting is

misleading.

         2.     Google’s Internal Policies Expressly Prohibit Fingerprinting
         100.   Mr. Hochman fails to acknowledge that Google has long-standing internal

policies that expressly prohibit Googlers from engaging in (i) the fingerprinting that Plaintiffs

alleged and (ii) the fingerprinting that Mr. Hochman is proposing Google engages in an attempt

to identify class members. See infra § III.G.1.

         101.   Google has a number of policies and guidelines concerning the collection,

storage, usage and deletion of data. These policies and guidelines include, for example:

      ● the Device/App/Browser Fingerprinting and Immutable Identifiers Policy;113

      ● the User Data Access Policy; 114 and

      ● the User Data Retention and Deletion Policy.115

         102.   Google’s internal policies expressly prohibit fingerprinting unless it is to prevent

spam, abuse, fraud, or other such user-beneficial usages completely unrelated to Plaintiffs’




112
    Complaint ¶¶ 8, 100.
113
    GOOG-BRWN-00029326.
114
    GOOG-CABR-05455683.
115
    GOOG-CABR-00073922.

                                                  49
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 58 of 215
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 59 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       3.      Google’s System Architecture Supports Google’s Anti-Fingerprinting Policy
       103.    Google has implemented a server architecture referred to as the

              ,120 which is a single service that handles all raw user identity and privacy signals

(in order to, inter alia, reduce the risk of re-identification of pseudonymous data121), enabling

the rest of the Display Ads stack to become user identifier-agnostic.

       104.    Because only         has access to sensitive information that is required to engage

in the fingerprinting that Plaintiffs allege in their complaint, this architecture reduces the risk of

mistaken violations of the anti-fingerprinting policy, and makes it hard for a bad actor (i.e., a

rogue employee) to fingerprint.




fingerprinting and all -- all user identifiable data that is collected should be by direct user
consent or signing into a Google account.”); Monsees Apr. 9, 2021 Tr. 314:23-315:3 (“Q. So
why is it Google’s policy that you must not fingerprint users for the purpose of associating a
user’s activity over time or across contexts tracking? A. That would violate our policies and, I
think, statements to our users and regulators.”); Shelton Mar. 2, 2022 Tr. 141:10-16 (“Q. When
you were working at Google, to your knowledge, was Google engaged in fingerprinting? . . .
[A.] I'm not aware of Google doing what I have characterized here as fingerprinting.”).
120
    GOOG-BRWN-00160342; GOOG-CABR-04715843.
121
    GOOG-CABR-00058557, at -585-586; GOOG-CABR-00058926, at -963.


                                                 51
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 60 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

        105.          uses encryption to ensure that GAIA and Biscotti-keyed data is

segregated:122




        106.     The encryption keys for GAIA and Biscottis stored in these logs are stored

separately, which reduces the risk of re-identification of unauthenticated data.123

        107.         processing takes place “offline,” which refers to automated processes that

occur without direct human involvement.124 This further reduces the risk of joining of signed-in




122
     GOOG-CABR-05466323, at -333; see also Berntson June 16, 2021 Tr. 121:13-122:9
(“[W]hat           does is it extracts all user identifiers, device identifiers, et cetera, and it
partitions them, so that within a given ad request you -- you really are only going to be able to
use one identifier, and all the downstream systems have sort of additional combinations of
identifiers made unavailable. And we designed this system because we have a number of
internal policies at Google that say you can’t reidentify users, you can’t combine logged-in
users and non-logged-in users, and that goes with what we call a data minimization philosophy
that we design our systems very explicitly to make available only the information that's
necessary to run the business, because at the end of the day, we believe it's important to protect
user privacy.”).
123
    Berntson June 16, 2021 Tr. 121:10-122:9.
124
    Id. at 126:4-11; GOOG-CABR-03841628; GOOG-CABR-04721001.

                                                52
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 61 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

and signed-out data by, for example, preventing engineers working on               from directly

accessing the data that     processes.

        108.   Based on my experience in the industry and the reports, documents and

testimony I have reviewed in this case, I have not seen any evidence of Google engaging in

fingerprinting. In my opinion, Google’s policies prohibit and practices prevent it from engaging

in the fingerprinting Plaintiffs alleged and Mr. Hochman is proposing Google use to identify

Class I. My conclusion is consistent with Google’s anti-fingerprinting policies and testimony

from Google employees (discussed above at ¶¶ 100-102). Certainly Mr. Hochman has not

pointed to any evidence that Google engages in fingerprinting.


G. Opinion 7: Mr. Hochman’s Proposal To Identify Class I (Chrome Class) (# 22) Is
            Unreasonable and Unreliable
        109.   Mr. Hochman’s proposal to identify class members for Class I (Chrome Class)125

consists of the following steps:

        a.     Query Google’s logs to “find instances of users browsing within Incognito on [a]
               non-Google website while signed out of Google.”126
        b.     Extract information (IP Address, User Agent, PPID, Analytics User ID, UMA
               ID) from log data associated with a user browsing within Incognito on a
               non-Google website.127
        c.     Run the extracted information (IP Address, User Agent, PPID, Analytics User
               ID, UMA ID) over logs that are written when a user is signed in to Google. 128


125
     Complaint ¶ 192 (“All Chrome browser users with a Google account who accessed a
non-Google website containing Google tracking or advertising code using such a browser and
who were (a) in ‘Incognito mode’ on that browser and (b) were not logged into their Google
account on that browser, but whose communications, including identifying information and
online browsing history, Google nevertheless intercepted, received, or collected from June 1,
2016 through the present (the ‘Class Period’).”).
126
    Hochman ¶ 288.
127
    Hochman ¶ 293.
128
    Id.

                                               53
       Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 62 of 215

                       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

            d.     If the extracted information (IP Address, User Agent, PPID, Analytics User ID,
                   UMA ID) from step b exists in logs associated with Google Accounts, then pull
                   the associated account information and include the account holder in the class.129
            110.   In my opinion, this would be a highly unreliable method for identifying class

members and would result in widespread mis-identification for the following reasons:

      ❖ First, As I explain in my Opinion 2 there is no explicit signal sent from the Chrome

            browser to Google’s web-services to detect Incognito traffic, see supra § III.B. As I

            explain in my Opinion 8, Google’s web-services can not reliably detect Incognito traffic

            in Google’s logs due to false positives associated with the “maybe_chrome_incognito”

            bit. See infra § III.H. Therefore, since the first step in Mr. Hochman’s proposal to

            identify Class I requires the accurate detection of Incognito traffic, and Google can not

            reliably detect Incognito traffic, his method will not accurately identify class members.

      ❖ Second, while combining IP address + User Agent can, in some cases, result in

            sufficiently unique information to distinguish between distinct devices, it cannot be used

            to reliably identify the specific device from which data was received or the individual

            that was browsing. And the process of trying to do so definitely cannot be replicated to

            identify millions of potential devices used in private browsing and the purported class

            members (composed of individuals) who did the private browsing. See infra § III.G.1.

      ❖ Third, the pseudonymous identifiers Mr. Hochman proposes for joining logged-out

            Incognito traffic with the user’s Google Account (e.g., UMA ID, PPID, Analytics User

            ID, Biscotti ID) will not reliably identify class members. See infra § III.G.2.




129
      Id.


                                                     54
       Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 63 of 215

                       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

          1.      Hochman’s IP + UA Fingerprinting Method Will Not Work
          111.    I disagree with Mr. Hochman’s opinion that “an IP address, especially when

combined with a user-agent string, constitutes personally identifiable information (‘PII’)

because this data can be used to uniquely identify a user with a high probability of success.”130

The combination of IP address and User Agent that Mr. Hochman proposes for identifying class

members via his proposed fingerprinting methodology is not sufficiently unique to identify class

members because there are many situations where more than one user will have an identical IP

address and user agent. Specifically, I will explain that neither the IP address, nor the User

Agent, nor their combination is a reliable method to identify class members because there is no

reliable one to one mapping from IP + UA to an individual class member.

                  a.     IP Addresses Are Neither Unique Nor Static

          112.    An IPv4 address is a set of four numbers, each ranging from 0 to 255, assigned to

an internet-connected device or devices. Each address consists of 32 bits, yielding a total of

2^32 possible addresses. With the increase of the number of devices per person and the people

using the Internet, these IP addresses were not enough and a newer version of the IP protocol,

IPv6, defined new IP addresses each consisting of 128 bits. Adoption of IPv6 worldwide is still

less than 40 percent and currently at 46.74 percent in US,131 and thus at least 50 percent of the

IP addresses in the US are IPv4 addresses. Unless otherwise stated, I use the term IP address to

refer to both IPv4 and 1Pv6 addresses.

          113.    It is rarely the case that a device has a unique, static IP address. For example,

devices inside the home of a family of four who own a total of eight devices combined will all

share the same external IP address, which is then internally translated to eight distinct local IP


130
      Hochman ¶ 105.
131
      GoogleIPv6, https://www.google.com/intl/en/ipv6/statistics.html (last visited June 3, 2022).

                                                  55
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 64 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

addresses using the so-called NAT (Network Address Translation) protocol.132 There is no way

to tell which of the eight devices is the one that accesses a website, if all one has as an identifier

is the external IP address of the device.

        114.    As another example, employees of a large company who are working from home

are connected to their company via what is called a VPN (Virtual Private Network). For the vast

majority of VPN services, if any of these employees access a website, the external IP address

will be the same for each employee and will equal the IP address of the VPN server.133 Again,

there is no way to know which of the hundreds of potential devices connected to the VPN server

is the one that accessed the website, if the only identifier is the external IP address.

        115.    As one more example, consider a company which assigns dynamic rather than

static IP addresses to devices inside the company’s network, using the so-called DHCP

(Dynamic Host Configuration) Protocol.134 Note that due to the flexibility of DHCP over static

IP addresses, it is the preferred method to assign IP addresses to end-user devices across large

organizations.135 Identifying a device by its IP address when DHCP is used is very unreliable

because one cannot know for sure which device has a specific dynamic IP among the possible

set of IP addresses at any given time, since the assignment of IP addresses to devices changes

dynamically. For example, in a company with 200 devices and 256 IP addresses, any device
132
    J.F. Kurose & K.W. Ross, Computer Networking: A Top-Down Approach, Ch. 4 (8th ed.
2020).
133
    Some VPN service providers offer, for an additional cost, the option of a dedicated IP
address. In this case, the client IP address will still be hidden, but the client’s internet traffic will
not show the shared VPN server IP address but rather this dedicated IP address. See, e.g.,
NordVPN, https://nordvpn.com/features/dedicated-ip/ (last visited June 3, 2022). This feature
does not target institutional clients of VPN services like employers, but rather individual clients
who want to avoid the so-called “bad neighbor” effect.
134
    J.F. Kurose & K.W. Ross, Computer Networking: A Top-Down Approach Ch. 4 (8th ed.
2020).
135
    Microsoft, "Dynamic Host Configuration Protocol (DHCP)," https://perma.cc/7N5L-QKCQ
(July 29, 2021); J.F. Kurose & K.W. Ross, Computer Networking: A Top-Down Approach Ch. 4
(8th ed. 2020).

                                                   56
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 65 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

may have any of the 256 IP addresses at any given time. There is no way to know for sure

which of the 200 devices is the one that accesses a website, if the only identifier is the external

IP address of the device that accesses the website.

        116.   One more reason why a device may not have a unique, static IP address is the

use of Onion Routing, known to most as Tor.136 Tor directs internet traffic through an overlay

network consisting of thousands of relays and uses a series of layered nodes to hide the IP

address of a device. In practice, a device that uses Tor to access a website cannot be identified

by the observed IP address, which is the IP address of the so-called exit node.

        117.   Because the number of possible IPv6 addresses is so vast, there is a

misconception that an IPv6 address always identifies a single device. This is a gross

misconception. First, VPN services that support IPv6, hide both IPv4 and IPv6 device addresses

in a seamless fashion.137 Second, IPv6 NAT products (see, for example, IPv6 NAT functionality

within Junos OS of Juniper Networks) not only support address translation between IPv4 and

IPv6 addresses, but also between IPv6 hosts. In particular, NAT between IPv6 hosts is done in a

similar manner as IPv4 NAT, and, in this case, a single, public IPv6 address may correspond to a

large number of private IPv6 addresses. In addition, to address privacy concerns with dynamic

IPv6 addresses assigned by DHCPv6, privacy extensions allow clients to use random lower

64bit IIDs.138 For the upper 64bit IID, providers employ prefix rotation via what is known as

temporary mode DHCPv6,139 made possible thanks to the sheer number of IPv6 addresses which


136
    Tor Project, https://www.torproject.org/about/history/ (last visited June 3, 2022).
137
     NordVPN, https://nordvpn.com/features/hide-ip/ (last visited June 3, 2022); Surfshark,
https://surfshark.com/use-cases (last visited June 3, 2022).
138
     T. Narten, R. Draves, and S. Krishnan, “Privacy Extensions for Stateless Address
Autoconfiguration          in       IPv6,”        RFC         4941          (Draft      Standard),
https://www.rfc-editor.org/rfc/pdfrfc/rfc4941.txt.pdf (Sept. 2007).
139
    Tomek Mrugalski, et al., “Dynamic Host Configuration Protocol for IPv6 (DHCPv6),” RFC
8415 (Proposed Standard), https://www.rfc-editor.org/rfc/pdfrfc/rfc8415.txt.pdf (Nov. 2018).

                                                57
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 66 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

has resulted in single residential customers often having more IPv6 addresses assigned than the

entire IPv4 address space.140 The combined result of the above random selection of IPv6 address

bits, together with the large IPv6 address space, has resulted in many IPv6 addresses being used

only once, see, for example, data from a large CDN141 which found that more than 90 percent of

IPv6 addresses appear only once in a long-running data collection campaign.142 Last, Tor has

recently added support for IPv6 addresses.143

        118.    Additionally, Google applies



         :144




140
    E. Rye, R. Beverly, and K. Claffy, “Follow the Scent: Defeating IPv6 Prefix Rotation
Privacy,”     Proceedings      of     ACM      Internet   Measurement        Conference     (IMC),
https://arxiv.org/pdf/2102.00542.pdf (Nov. 2-4, 2021).
141
    D. Plonka and A. Berger, “Temporal and Spatial Classification of Active IPv6 Addresses,”
Proceedings        of       ACM         Internet      Measurement          Conference       (IMC),
https://www.akamai.com/site/en/documents/research-paper/temporal-and-spatial-classification-
of-active-ipv6-addresses-technical-publication.pdf (Oct. 28-30, 2015).
142
    While the use of one-time IPv6 addresses is prevalent among non-mobile devices, cellular
providers may assign static IPv6 addresses to their clients.
143
         The       State       of      IPv6       support     on        the      Tor      Network,
https://blog.torproject.org/state-of-ipv6-support-tor-network/ (last visited June 3, 2022).
144
    GOOG-BRWN-00029002, at -002.

                                                58
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 67 of 215
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 68 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

behind the same VPN or served by the same DHCP server), show common IP addresses for two

different Plaintiffs.

                b.      User Agent Strings Are Neither Unique Nor Static

        121.    A User Agent string (UA) contains information about the type of the browser

(e.g. Chrome, Edge, Mozilla, Safari), the version of the browser, and the operating system over

which the browser is running (e.g. Windows, macOS, iOS, Linux).146 It is used to identify the

type and version of the browser and the operating system such that the behavior and content of

web browsing can be customized accordingly. It should be evident even to a layman that

millions of users share the same UA. What is more, it should be equally evident that some UAs

are more common than others, for example, recent versions of popular web browsers running on

top of popular operating systems are very common across devices. In fact, a recent study, which

collected UAs from an Internet measurement company over the course of two years, found that

the top 10 most popular UAs correspond to 26 percent of daily traffic.147 With about 50 billion

total HTTP requests per day in the collected data, this implies that more than one billion daily

HTTP requests correspond to the same UA.148 If a device makes on average 10-100 HTTP

requests during a day, this would imply that tens of millions of devices from which data have

been collected share the same UA.

        122.    The fact that a UA is usually shared by many devices is also evident by merely

looking into the data submitted by the Plaintiffs. Out of the 1,237 unique UAs across all HTTP
146
                     MDN                   Plus,                                “User-Agent,”
https://developer.mozilla.org/en-US/docs/Web/HTTP/Headers/User-Agent (last visited June 3,
2022);              Chrome             Developers,           “User-Agent               Strings,”
https://developer.chrome.com/docs/multidevice/user-agent/ (updated Nov. 9, 2021).
147
    J. Kline, P. Barford, A. Cahn, and G. Sommers, “On the structure and characteristics of user
agent                        strings”,                   ACM                         Sigcomm,
https://conferences.sigcomm.org/imc/2017/papers/imc17-final253.pdf (Nov. 1-3, 2017).
148
    26 percent of the 50B HTTP requests is more than 12.5B HTTP requests. Hence, on average,
each of the 10 most popular UAs corresponds to more than 1.25B HTTP requests.

                                              60
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 69 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

requests of the five Plaintiffs, 113 of these UAs have multiple GAIAs associated with them,

and, more telling, 73 of these UAs are common among multiple Plaintiffs. For example, three of

these UAs are common among four out of the five Plaintiffs, namely “Mozilla/5.0 (Windows

NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/95.0.4638.69

Safari/537.36,gzip(gfe)”    and     “Mozilla/5.0     (Windows      NT     10.0;    Win64;     x64)

AppleWebKit/537.36 (KHTML, like Gecko) Chrome/96.0.4664.45 Safari/537.36,gzip(gfe),”

and “Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko)

Chrome/98.0.4758.102 Safari/537.36,gzip(gfe),gzip(gfe).”149 As another example from the data

shared by the Plaintiffs, Mr. Hochman’s Appendix H contains 17 data entries corresponding to

the five Plaintiffs, and even in this small data set of merely 17 entries of five people, three (60

percent) of them share the same UA.150

        123.   Additionally, as Mr. Hochman has recognized in public statements, UA is not

static and can be changed by the user via the use of, e.g., a “user agent switcher” plugin.151 Mr.

Hochman does not account for the ability of users to change their UA through the use of such

tools. In situations where an IP address is shared by multiple users, the use of such tools could

lead to false positives and render Mr. Hochman’s proposed class member identification

methodology over-inclusive. Consider, for example, a shared Wifi connection where one user

changes his or her user agent (the “Switcher”) to a user agent string that matches another user
149
    See Appendix F. IP Address + User Agent Data Analysis .
150
    See Hochman Appendix H ¶¶ 13, 27, 31 (Plaintiffs Brown, Byatt, and Davis share the same
UA: “Mozilla/5.0 (Macintosh; Intel Mac OS X 10_15_7) AppleWebKit/537.36 (KHTML, like
Gecko) Chrome/97.0.4692.99 Safari/537.36”).
151
     Twitter, https://twitter.com/Jehochman/status/1153277584542711808 (last visited June 3,
2022) (citing Lawrence Abrams, “How to Switch Back to the Old Twitter Layout,” Bleeping
Computer,
https://www.bleepingcomputer.com/news/technology/how-to-switch-back-to-the-old-twitter-lay
out/ (July 16, 2019)) (“A method that continues to work is to change the browser's user agent
string to the one used by Internet Explorer 11 when using Twitter. As Twitter's new layout does
not support Internet Explorer 11, they switch you to [the old] layout.”).

                                                61
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 70 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

connected to the same Wifi who has never used private browsing mode (the “Regular Browsing

User”). The IP address and user agent of the Switcher using private browsing mode would

match the IP address and user agent of the Regular Browsing User, which could lead to the

Regular Browsing User’s (incorrect) inclusion in the class because searching for the Switcher’s

IP address and user agent will return results for the Regular Browsing User.

               c.     The Combination Of An IP Address And A User Agent String Is
                      Neither Unique Nor Static
        124.   Mr. Hochman argues that the combination of an IP address and the UA may be

used to identify class members. However, this method is unreliable. First, it is evident that

devices which have the same IP address may also have the same UA. As a matter of fact, it is

more likely for two devices to have the same UA when they have the same IP address, than

when they do not. To see this, consider, for example, a virtual private network (VPN) used by a

business organization for 100 remote workers.152 All devices connected to the VPN will show an

identical external IP address. Because IT departments often maintain and upgrade company

devices in batches, browser types and versions as well as operating systems will likely match


152
    VPNs are also used by individual users for a number of reasons, including to specifically
mask a device’s IP address in order to access content or services that are not available in the
state or country where a device is physically located. See, e.g., Arjun Ruparelia, “Best
DraftKings Sportsbook VPN in 2022: Unblock DraftKings From Anywhere With a VPN,”
Cloudwards, https://www.cloudwards.net/draftkings-sportsbook-vpn/ (Apr. 27, 2022)
(“Planning a quick trip to a state where DraftKings is inaccessible? You’ll need a DraftKings
Sportsbook VPN to get your daily dose of sports betting. If you’re confused about which VPN
to choose, we give you the five best ones that can access DraftKings from anywhere.”); Osman
Husain,     “How     to watch ESPN              anywhere with a VPN,” Comparitech,
https://www.comparitech.com/blog/vpn-privacy/best-vpn-espn/ (Jan. 19, 2022) (“Unfortunately,
ESPN isn’t available everywhere. This can cause problems, for instance, if you’re trying to
watch your favorite team play while on vacation abroad (outside of the US). Even assuming you
can stream ESPN where you are, there’s a good chance that some sports are subject to regional
restrictions (sometimes called blackouts) . . . On the plus side, it’s fairly easy to stream ESPN
live online with the right VPN. Short for Virtual Private Network, a VPN connection masks
your real location so that you can browse safely and regain access to your usual services while
traveling.”).

                                               62
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 71 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

across company devices, resulting in the same UA. Therefore, assuming the organization

provides its employees with identical laptops with Chrome (or any other browser) as the default

browser (and automatic updates enabled), the user agent and IP address will be identical for all

100 employees’ laptops.

        125.   Consider, as another example, a wifi connection on a commercial passenger jet.

If the wifi is configured to use one external public IP address with NAT configured to translate

all local IP addresses to that same public IP address, then everyone using the jet’s wifi router

will have the same IP address. If for example, there are 100 passengers connected to the same

router, and ten of them are using the most recent version of the Safari browser on the same

model of iPhone,153 all ten of those users will have an identical user agent and IP address.

        126.   Because IT departments often maintain and upgrade company devices in batches,

browser types and versions as well as operating systems will likely match across company

devices, resulting in the same UA. With potentially thousands of devices sharing a single VPN

IP address,154 hundreds of millions of devices connecting to the Internet via a VPN services in
153
    This scenario is not implausible in light of (i) the popularity of certain models of handheld
devices, see M.. Levin and J. Lowitz, “iPhone 13 Models Have Biggest Share in Years,”
Consumer                 Intelligence            Research               Partners             LLC,
https://files.constantcontact.com/150f9af2201/06eda1e6-cb00-4462-836f-73aa0120e439.pdf?rdr
=true (Apr. 21, 2022) (“Among all individual models, the iPhone 13 had the largest [market]
share of any single model [in Q1 2022], with 38%, which was the largest share for any single
model in many quarters. In the year-ago March 2021 quarter, the year-old iPhone 11 had the
largest share, at 24%, while the iPhone 12, comparable to the current iPhone 13, had 22% of
sales. The iPhone 13 share of 38% in this quarter nearly doubles last year’s iPhone 12 share.”);
and (ii) broad enabling of automatic updates on such devices, see S. O’Dea, “App-updating
habits      of    smartphone       users   in     the     United     States     2016,”    Statista,
https://www.statista.com/statistics/747569/united-states-survey-smartphone-users-app-update-fr
equency/#statisticContainer (Feb. 28, 2020) (2016 survey results showing 32 percent of users
enabled automatic updates on their smartphone).
154
    There is no limit on how many connections may be served under the same VPN IP address,
as VPN services use load-balancing among multiple servers clustered together to scale the
number of supported connections. See, e.g., Microsoft, “High Availability,”
https://docs.microsoft.com/en-us/windows-server/remote/remote-access/vpn/always-on-vpn/dep
loy/always-on-vpn-adv-options#high-availability (last visited June 3, 2022).

                                                63
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 72 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

the United States,155 and within the general population of users/devices, the 10 most popular

UAs corresponding to at least a quarter of the total traffic/devices,156 it is evident that the

combination of an IP address and a UA is not unique since it may correspond to many different

users. Moreover, since IP addresses are not static, for example, due to DHCP, and UAs are not

static either, for example, because every browser update will change the UA, the combination of

an IP address and a UA is not static either. For these reasons, the combination of an IP address

and a UA cannot reliably identify devices, much less class members.

        127.   In sum, neither IPv4 nor IPv6 addresses can be used on their own right to

consistently identify devices with high enough probability of success to reliably identify class

members, and, for the reasons explained above, neither type of IP address in combination with

UA may be used to reliably identify class members.

        2.     Pseudonymous IDs Can Not Be Used To Reliably Identify Individuals
        128.   The second step in Mr. Hochman’s proposal is to extract information (IP

Address, User Agent, PPID, Analytics User ID, UMA ID) from log data associated with a user

browsing within Incognito on a non-Google website. I disagree with his opinion that these can

be used to identify individuals, and I take each in turn below.

               a.      UMA ID

        129.   Mr. Hochman describes the process as follows for using UMA ID:

        “Even if a user can no longer locate their UMA ID in an old device that they no longer
        possess or if the user factory resets a device, it is possible for Google to find a user’s
        UMA ID by correlating the user’s Gaia logs and UMA logs with search actions and
        timestamps. Knowing that detailed event level data are stored with timestamps, IP


155
     Aleksandar Kochovski, “The Top 25 VPN Statistics, Facts & Trends for 2022,”
https://www.cloudwards.net/vpn-statistics/ (Mar. 18, 2022).
156
    J. Kline, P. Barford, A. Cahn, and G. Sommers, “On the structure and characteristics of user
agent                        strings,”                   ACM                         Sigcomm,
https://conferences.sigcomm.org/imc/2017/papers/imc17-final253.pdf (Nov. 1-3, 2017).

                                                64
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 73 of 215
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 74 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

               subset of users’ UMA data), and it is not sufficiently reliable or accurate to use to

               identify class members.159

        c.     UMA data is designed for aggregate analysis and not for identifying specific

               users.160

        d.      ​UMA data is not joined with authenticated identifiers. 161




159
    See GOOG-CABR-00057895, at -895 (“[E]xtrapolating [UMA metrics across all users]
should only be used to give a ballpark estimate, as there are subtle biases in the UMA/UKM
populations.”); GOOG-CABR-00057779, at -779 (“UMA data is only collected for users who
have UMA enabled. This is controlled by a checkbox presented at installation, and through
advanced Settings. After M55, UMA became opt-out on all platforms for new users, and Stable
channel of Android and Windows Chrome further reduce the population, by randomly sampling
a subset of clients.”).
160
    See Monsees Apr. 9, 2021 Tr. 212:10-16 (“[T]he user metrics analysis, my understanding is
that for a signal like Chrome sync, which is a feature, right, within the -- the Chrome app itself,
a [verbatim] engineer could configure UMA to say, ‘Pull me some aggregate statistics so I know
how many Chrome device installs have sync enabled.’”); Svitkine Oct. 4, 2021 Tr. 159:15-17
(“UMA is not meant to compare like two specific Chrome instances. It is meant to look at
aggregated data across many, many instances.”).
161
    See Svitkine Tr. 44:20-22 (“[T]ak[ing] the existing UMA data and somehow join[ing] it with
Gaia . . . there's many reasons why that can't be done.”); id. at 53:5-10 (“To be clear, the UMA
system is not associated with a specific Gaia account with a specific user account in Chrome. It
is a separate system that, as we previously discussed, cannot be joined with a user's e-mail
address or their Gaia ID.”); Apr. 21, 2022 Hrg. Tr. 205:3-5 (“205:3-5 (Ms. Sadowski: “There
isn’t a way to directly join UMA data with Google account information. We do not have a
mapping from UMA Client ID’s to Google user names.”); id. at 205:23-25 (“Q. In your
understanding as a Chrome engineer, can these bits found in these identified search logs be
mapped to UMA data? A. No, they cannot.”); id. at 208:24-25 (“There’s no key that you can
join UMA with another data set that is a . . . User ID based data set.”); see also
GOOG-CABR-00057918, at -918 (“[T]he primary metrics data sources for Chrome usage
statistics (UMA and UKM) are not keyed by Gaia ID, and so are not joinable with other data
about specific users (e.g. data from             ). Furthermore, these two data sources are not
joinable with each other. If we started keying UMA by Gaia ID, then the metrics would no
longer be ‘anonymous’, which could mean that all previously acquired user consents for its
collection would be invalid . . . This restriction means that anyone wanting to perform an
analysis which joins, say, UMA data with some other data source is currently out of luck.”);
GOOG-CABR-00056264, at -264 (“[T]he Chrome Data team is not planning on enabling
gaia-keyed logging.” (emphasis in original)).

                                                66
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 75 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

        131.   Nor does the process of using activity and “timestamps” in conjunction with

UMA data that Mr. Hochman references work to identify class members.162 Publicly available

Chromium source code163 describes the process by which timestamps are created:

        // The timestamp for the event, in seconds.
        // This value comes from Chromium's TimeTicks::Now(),
        which is an abstract
        // time value that is guaranteed to always be
        non-decreasing (regardless of
        // Daylight Saving Time or any other changes to the
        system clock).
        // These numbers are only comparable within a session.
        To sequence events
        // across sessions, order by the |session_id| from the
        // ChromeUserMetricsExtension message.

        132.   Publicly available Chromium source code further explains that:164

        // `TimeTicks` and `ThreadTicks` represent an abstract
        time that is most of the
        // time incrementing, for use in measuring time
        durations. Internally, they are
        // represented in microseconds. They cannot be
        converted to a human-readable
        // time, but are guaranteed not to decrease (unlike
        the `Time` class). Note
        // that `TimeTicks` may "stand still" (e.g., if the
        computer is suspended), and
        // `ThreadTicks` will "stand still" whenever the
        thread has been de-scheduled
        // by the operating system.




162
    Hochman ¶ 258.
163
    Chromium Code Search, “user_action_event.proto,”
“https://source.chromium.org/chromium/chromium/src/+/main:third_party/metrics_proto/user_a
ction_event.proto;l=21-27?q=time_sec (last visited June 3, 2022).
164
    Chromium Code Search, “time.h,”
https://source.chromium.org/chromium/chromium/src/+/main:base/time/time.h;l=16-22?q=Time
Ticks (last visited June 3, 2022).

                                              67
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 76 of 215

                       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

        133.      Mr. Hochman states that “[k]nowing that detailed event level data are stored with

timestamps, IP address and user agent in these logs, it is my opinion that UMA can be joined

with ads event logs.”165

        134.      In my opinion, the timestamps Mr. Hochman references are not recorded in a

way that can facilitate joining of UMA data with ads event logs. That is because the timestamp

value “comes from Chromium’s TimeTicks,” which publicly-available Chromium source code

shows are abstract values that cannot be compared across sessions. Thus, they are not, for

example, a universal GMT time record that will apply across data sources, but are instead an

abstract value that “cannot be converted to a human-readable time”166 and not joined with

universal time. Therefore, in my opinion, these records are not suitable for joining UMA and

ads event logs.

                  b.     PPID-Mapped Biscotti ID & Analytics User-ID

        135.      First, as discussed above (¶¶ 60-64), PPIDs and Analytics User-IDs are hashed

first-party IDs generated, assigned, and used by some publisher websites. Google cannot readily

use PPID-Mapped Biscotti IDs or Analytics User-IDs to identify class members for a number of

reasons, including: (i) they are controlled by the publisher and are provided to Google by the

publishers in an encrypted form that does not contain PII; (ii) not all publishers use PPIDs or

Analytics User-IDs; (iii) different publishers may provide the same hashed value for the same

user.

        136.      Second, based on my review of documents and data produced in this case, the

PPID-mapped Biscottis and Analytics User-IDs are only keyed to a user’s activity on the


165
   Hochman ¶ 258.
166
   Chromium Code Search, “time.h,”
https://source.chromium.org/chromium/chromium/src/+/main:base/time/time.h;l=16-22?q=Time
Ticks (last visited June 3, 2022).

                                                 68
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 77 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

specific website that has elected to use PPID or User-ID. Therefore, even if Mr. Hochman’s

method located the PPID-mapped Biscotti or Analytics User-ID of a purported class member,

the only private browsing data associated with that ID would be from when that class member

logged into the specific website that uses PPID or User-ID.

        137.   Third, Mr. Hochman also does not account for the prevalence of account-sharing

in his claims regarding PPID-Mapped Biscotti IDs and Analytics User IDs. Sharing of accounts

on third-party websites is a well-documented phenomenon that renders his methodology for

identifying class members via PPIDs and Analytics User ID over-inclusive in certain common

scenarios.167 Consider, for example, a situation where User 1 and User 2 share a NYTimes.com

account login and password in order to use features that require a user to log in to a

NYTimes.com account (e.g., to read articles that are protected by a paywall). Whenever User 1

or User 2 signs into NYTimes.com, the PPID will be the same for both users. If User 1 does not

log in to NYTimes.com in Incognito mode, but User 2 does, then the shared PPID’s presence in

logs of both User 1 and User 2’s activity will (incorrectly) point to User 1 as an Incognito mode

user. Mr. Hochman does not account for this scenario, which is likely a common occurrence in

light of the widespread prevalence of account-sharing. In my opinion, this failure would render

Mr. Hochman’s proposed use of PPIDs to identify class members as over-inclusive and

inaccurate.
167
    See, e.g., Alex Sherman, “Netflix estimates 100 million households are sharing passwords
and        suggests        a       global       crackdown        is       coming,”         CNBC,
https://www.cnbc.com/2022/04/19/netflix-warns-password-sharing-crackdown-is-coming.html
(Apr. 20, 2022); Matt Richtel, “Young, in Love and Sharing Everything, Including a Password,”
N.Y.                                                                                       Times,
https://www.nytimes.com/2012/01/18/us/teenagers-sharing-passwords-as-show-of-affection.htm
l (Jan. 17, 2012) (“In a 2011 telephone survey, the Pew Internet and American Life Project
found that 30 percent of teenagers who were regularly online had shared a password with a
friend, boyfriend or girlfriend. The survey, of 770 teenagers aged 12 to 17, found that girls were
almost twice as likely as boys to share. And in more than two dozen interviews, parents,
students and counselors said that the practice had become widespread.”).

                                               69
       Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 78 of 215

                      CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                 c.      Biscotti ID

          138.   Mr. Hochman proposes that “[i]f a user has signed into their Google Account in

private browsing mode within the past 90 days, then Google can also retrieve the user’s Biscotti

IDs from GAIA logs and use those Biscotti IDs to locate the user’s private browsing records

while they are not signed into Google from the Biscotti logs.”168

          139.   As an initial matter, a user who signs into a Google Account in private browsing

mode is, by definition, outside of the scope of the proposed classes because the class is limited

to users who “were not logged into their Google account.”169 Therefore, Mr. Hochman is

proposing identifying users who expressly fall outside of the class in the hope that they may

also have some activity that meets the class definition.

          140.   But Mr. Hochman’s proposal will not work to identify those potential class

members because the “Biscotti IDs from GAIA logs” that Mr. Hochman references will not be

the same across separate private browsing mode sessions (discussed supra at § III.A.2). Thus,

the Biscotti IDs from a “signed-in Incognito session” cannot be used to “locate the user’s

private browsing records” from a separate “signed-out Incognito session” because the Biscotti

to which data from the two sessions is keyed will not be the same. Mr. Hochman does not

explain how he would do so, and in my opinion, he cannot.

          141.   Additionally, Mr. Hochman’s proposed methodology does not account for device

or account sharing (discussed infra at § III.J) and suffers from the same defects identified above

related to PPID and User ID (at § III.G.2).




168
      Hochman ¶ 304.
169
      Complaint ¶ 192.

                                                70
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 79 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

H. Opinion 8: Mr. Hochman’s Opinion That The “maybe_chrome_incognito” Bit Reliably
             Detects Incognito Traffic (# 23) Is Incorrect
        142.   An important step in Mr. Hochman’s proposed method is to use the

maybe_chrome_incognito bit to query Google’s logs to “find instances of users browsing within

Incognito on [a] non-Google website while signed out of Google.”170 As explained above, the

industry guideline is for private browsing mode to not be detectable by websites. Google

Chrome’s Incognito mode aligns with these guidelines, as Google has intentionally designed

Chrome not to send an explicit signal to websites for the purpose of detecting Incognito

mode.171

        143.   The maybe_chrome_incognito bit is a boolean field that relies on the absence of

the X-Client-Data header to approximate and monitor traffic Google receives from Chrome

instances in Incognito mode.172 In my opinion, the absence of the X-Client-Data header cannot

170
    Hochman ¶ 288.
171
    See, e.g., GOOG-CABR-00059864, at -864 (“Today, some sites use an unintended loophole
to detect when people are browsing in Incognito Mode. Chrome’s FileSystem API is disabled in
Incognito Mode to avoid leaving traces of activity on someone’s device. Sites can check for the
availability of the FileSystem API and, if they receive an error message, determine that a private
session is occurring and give the user a different experience. With the release of Chrome 76
scheduled for July 30, the behavior of the FileSystem API will be modified to remedy this
method of Incognito Mode detection. Chrome will likewise work to remedy any other current or
future means of Incognito Mode detection.”); Adhya Tr. 188:18-21 (“Chrome does its best to
make sure that -- and -- and it’s a principle around all the work they do around this space to
make sure servers can’t detect Incognito Mode.”); Barb Palser, “Protecting private browsing in
Chrome,”                                                                                  Google,
https://www.blog.google/outreach-initiatives/google-news-initiative/protecting-private-browsin
g-chrome/ (Jul. 18, 2019) (Chrome blogpost announcement disabling FileSystem API, which
was used as a loophole to detect Incognito Mode (citing W3C, “W3C TAG Observations on
Private                                     Browsing                                     Modes,”
https://w3ctag.github.io/private-browsing-modes/#features-supporting-private-browsing (Apr. 9,
2020)).
172
     GOOG-CABR-04470006, at -009 (“For Chrome, we have the x-client-data header in
addition as a signal. But again, this will be heuristics-based, and can never [be] 100% accurate.
The goal is to keep an eye on an envelop[e] of such traffic.”). Similarly, the
“is_chrome_incognito” and “is_chrome_non_incognito” bits also rely on the absence of the
X-Client-Data header. See Sadowski Tr. 76:5-16 (explaining that the value of the
“is_chrome_non_incognito” bit is determined by whether an “X-Client-Data header [is] in the

                                               71
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 80 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

be used to reliably detect Incognito traffic because there are a variety of cases in which the

X-Client-Data header is not sent by a Chrome browser when a user is using a browser in

non-Incognito mode (false positives).173 Scenarios that can lead to false positives include the

following:

               a.     User has opted out of Chrome experiments.174

               b.     New browser instances.175

               c.     Browser not used for 30 days or more.176

               d.     Number of variation IDs in X-Client-Data header is too large.177

               e.     Population of X-Client-Data Header is blocked by a firewall.178

       144.    Mr. Hochman contends that the false positives identified by Google witnesses

“range from merely theoretical to exceedingly rare.”179 Mr. Hochman does not explain how he

arrived at this conclusion or make any attempt to quantify how often these scenarios occur.180 As


request that is sent” and “that is all that it looks for.”); id. 77:20–78:2 (stating the
“is_chrome_incognito” bit “is not derived through some other mechanism than presence or
absence of X-Client-Data header, and suffers from the same limitations.”).
173
    See Berntson June 16, 2021 Tr. 374:12-376:11.
174
    GOOG-BRWN-00847297, at -298 (“However, Chrome doesn't send this header in Incognito
mode (privacy concern) or the user opted-out in Chrome.”).
175
    Berntson June 16, 2021 Tr. 374:24-375:7 (“For the first case where there are instances where
the X-Client-Data header is empty and it’s not in incognito browsing, there -- there are quite a
few different ways that that can happen. One is if it’s a new browser instance, no X-client
header is present in any call out from the browser.”).
176
    Id. at 375:8-12 (“[I]f you haven’t used your browser for 30 days or more, the X-client header
data is considered to be stale and just purged and no X-Client-Data header is passed.”).
177
    Id. at 375:13-19 (“Another case is if the variation IDs that are carried in the X-Client-Data
header, if too many are returned to Chrome to prevent the requests coming from Chrome from
being too large, they just delete them all and so you’d see no X-Client-Data header.”).
178
    Id. at 375:20-376:11 (“Yet another permutation is the presence of a firewall can also prevent
Chrome, the browser, from getting the variation IDs that are used to populate the X-Client-Data
header, and this is because the variation IDs are basically instructions as to what new features
are enabled in the browser, and so Chrome, after it starts out, will make an asynchronous call to
retrieve these data from the server, and if that server endpoint is blocked by a firewall, no
X-Client-Data header is provided, none of the variation IDs. So that’s another case where you
can have an empty X-Client-Data header.”).

                                               72
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 81 of 215
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 82 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

        145.   Based on my experience in the industry and review of the documents and

testimony provided by Google in this case,182 there is no way to identify and exclude the false

positives in logs (and exclude logs associated with false positives from the logs used to identify

the class) because the reason for false positives is not “observable from a server perspective.”183

As such, it is my opinion that the maybe_chrome_incognito field can not be used to reliably

detect Incognito traffic, let alone identify purported members of Class I.


I. Opinion 9: Mr. Hochman’s Proposal To Identify Class II (# 22) Is Unreasonable And
              Unreliable184
        146.   Mr. Hochman’s proposal to identify class members for Class II (Non-Chrome

Class)185 consists of the following steps:

               a.      Identifying the email addresses of all Google account holders.186

               b.      Sending an email notification “limited to email accounts associated with

                       people in the United States, based on Google’s own records”187 that, if


182
    See, e.g., GOOG-CABR-04470006, at -009 (“For Chrome, we have the x-client-data header
in addition as a signal. But again, this will be heuristics-based, and can never [be] 100%
accurate. The goal is to keep an eye on an envelop[e] of such traffic.”); McClelland Tr.
166:11-19 (“Q. Wouldn't the absence of the X-Client Data Header indicate a user is in Incognito
mode? A. No, not necessarily. It’s not a strong enough signal to be confident that the user is in
Incognito mode.”); Berntson June 16, 2021 Tr. 373:22-376:11.
183
    See Berntson June 16, 2021 Tr. 384:23-24.
184
    To the extent Mr. Hochman proposes using this methodology for identifying members of
Class I (Chrome Class), I also disagree for the same reasons discussed in this section.
185
    Complaint ¶ 192 (“All non-Chrome browser users with a Google account who accessed a
non-Google website containing Google tracking or advertising code using any such browser and
who were (a) in “private browsing mode” on that browser, and (b) were not logged into their
Google account on that browser, but whose communications, including identifying information
and online browsing history, Google nevertheless intercepted, received, or collected from June
1, 2016 through the present (the “Class Period”).”).
186
    Hochman ¶ 296.
187
     Id. Mr. Hochman contends that “given the broad usage of the private browsing modes
throughout the class period, it is [his] opinion that most of those people would be class
members. If required, it would also be possible to use Google data to further limit email
notification to accounts associated with some private browsing behavior.” Id.

                                                74
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 83 of 215

                      CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                        required before notification, would purportedly be limited to “accounts

                        associated with some private browsing behavior” via Mr. Hochman’s

                        proposed fingerprinting methods.188

                 c.     After notification, users who seek to become class members could

                        “provide additional information regarding their private browsing during

                        the class period, or those users could provide certain identifying

                        information to be used to search for records in Google’s data sources”

                        that could purportedly “readily be used to verify whether that user was a

                        Google Account holder during the class period and otherwise assess any

                        response to any notifications.”189 This “additional information” provided

                        by users would include (i) an identification of non-Google websites they

                        visited during the class period along with any available IP address and

                        user agent information; (ii) if the IP address and user agent are not

                        available to the user, this would be “obtained from Google’s own GAIA

                        records” and then used to identify private browsing data via Mr.

                        Hochman’s proposed fingerprinting methodology.190

                 d.     “If a user has signed into their Google Account in private browsing mode

                        within the past 90 days, then Google can also retrieve the user’s Biscotti

                        IDs from GAIA logs and use those Biscotti IDs to locate the user’s

                        private browsing records while they are not signed into Google from the

                        Biscotti logs.”191


188
    Id.
189
    Id. ¶ 300.
190
    Id. ¶ 302.
191
    Id. ¶ 304.

                                                75
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 84 of 215

                      CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                 e.     Alternatively, tasking users with extracting cookies from the browser192 or

                        non-Google sign-in IDs from third party websites193 “with the help of

                        technology professionals” while browsing in private mode and then using

                        those cookies or identifiers to identify private browsing data in Google

                        logs.

                 f.     As another alternative, configuring Google code on third party websites

                        to provide a notification to users when they visit a page in private

                        browsing mode.194

         147.    In my opinion, this proposed method is unreasonable, unreliable, and will result

in widespread mis-identification for the following reasons:

      ❖ First, sending an email notification to all Google account holders would be overly broad

         because, even if it were limited to account holders in the United States, that notification

         would be sent to many non-class members, and Mr. Hochman does not propose a

         methodology for limiting the notification to class members. See infra § III.I.1.

      ❖ Second, the steps that Mr. Hochman proposes for limiting Class II to private browsing

         mode users “after notification” would not reliably identify users of private browsing

         modes on non-Chrome browsers. See infra § III.I.2.

         1.      Mr. Hochman’s Proposed Email Notification To All Google Account Holders
                 Is Overly Broad And He Does Not Propose A Workable Methodology For
                 Limiting The Notification To Class Members
         148.    Mr. Hochman’s proposed email notification is overly broad, and he does not

propose a method for limiting the scope of such a notification.



192
    Id. ¶ 305.
193
    Id. ¶ 306.
194
    Id. ¶ 298.

                                                 76
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 85 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

        149.    First, the proposed first step would be overly broad because a record of all

Google account holders would include many accounts associated with users, entities, and other

organizations that are not members of the class (where, for example, the user or entity

associated with the account never used private browsing mode in the United States to visit a site

using Google web-services). Sending an email notification to all Google account holders would

be overly broad because only a minority of the recipients of such a notification would be

eligible for membership in the class.

        150.   Second, Mr. Hochman’s proposed second step attempts to address this

overbreadth by limiting the list of Google account holders to “email accounts associated with

people in the United States.”195 Mr. Hochman indicates that he believes this limitation would be

sufficient because “given the broad usage of the private browsing modes throughout the class

period, it is [his] opinion that most of those people would be class members.”196 As such, he

appears to be assuming that “most” Google account holders who have used a non-Chrome

browser have used that browser in private browsing mode. But he does not provide any support

for this assumption, and user research shows that (i) most users do not use private browsing

modes;197 and (ii) at least for Chrome, a significant portion of users are not even aware of

private browsing modes’ existence. 198

        151.   Third, Mr. Hochman concedes that both of the proposed classes “are necessarily

limited to individuals,”199 and he states that the “notification could be limited to email accounts


195
    Hochman ¶ 296.
196
    Id.
197
    See, e.g., GOOG-CABR-03751927, at -931 (only 35 percent of respondents indicated that
they use private browsing mode).
198
    See, e.g., GOOG-CABR-00422906, at -921 (20.3 percent of Chrome users surveyed reported
that they never use Incognito mode and 11.7 percent were not even aware of Incognito mode at
all).
199
    Hochman ¶ 295.

                                                77
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 86 of 215
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 87 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         2.     Mr. Hochman’s Proposed Methodology For Limiting Class II To Private
                Browsing Mode Users After Notification Is Unreliable
         153.   As to the steps that Mr. Hochman proposes for limiting Class II to private

browsing mode users “after notification,” these methods are also unreliable and unreasonable.

For example, Mr. Hochman proposes that “individuals could provide additional information

regarding their private browsing during the class period, or those users could provide certain

identifying information to be used to search for records in Google’s data sources.”205 As to the

“additional information regarding their private browsing during the class period,” Mr. Hochman

proposes that potential members of Class II would identify “any non-Google websites they

visited during the class period” and provide “any available IP address and user agent

information.” As discussed supra (at § III.G.1.), attempting to identify records of signed-out

private browsing via the use of IP address and user agent is not reliable because (i) the

combination of IP address and user agent is not sufficient to identify an individual user (and in

many cases will not even identify an individual device); and (ii) this proposed fingerprinting

methodology would lead to false positives in light of widespread sharing of devices.

Additionally, Mr. Hochman does not propose a methodology for users to confirm the

non-Google websites that they visited in private browsing mode during the class period (if any),

which cannot be determined by, e.g., reviewing browsing history saved on a client because such

histories are deleted when a private browsing session ends (by, for example, closing the only

open private browsing window).

         154.   Mr. Hochman further proposes that “[i]f the IP address and user agent are not

available, this information may be obtained from Google’s own GAIA records.”206 Google’s

“GAIA records” show IP addresses and UAs associated with Google Account sign-ins, which

205
      Hochman ¶ 300.
206
      Hochman ¶ 302.

                                               79
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 88 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

could be, for example, an IP address and UA from a public library computer shared by hundreds

of people. Therefore, this approach is not sufficiently reliable for the same reasons as Mr.

Hochman’s proposed method based on a user-supplied IP address and UA, discussed in Section

III.G.1. In addition, Mr. Hochman’s proposed method does not account for the many different IP

addresses and user agents that may be associated with a particular GAIA. Consider, for

example, the 8,965 unique IP address and UA combinations associated with the seven GAIA

IDs for the five named Plaintiffs from just the retained records that do not contain third-party

confidential data.207 Mr. Hochman’s proposed methodology would call for Google to search

potentially billions of “orphaned” log entries for hundreds of different IP addresses and UAs for

each Google account. And because the combination of IP address and UA is not sufficiently

reliable to identify orphaned logs that correspond to the GAIA account holder, it would lead to

over-inclusiveness and misidentification (where, e.g., the IP address and UA from the GAIA

records match the IP address and UA from logs of a different user’s private browsing on a

shared device).

        155.   I understand that pursuant to the Special Master process, Plaintiffs requested

searches of 19 IPv4 + User Agent pairs and eight IPv6 + UserAgent pairs.208 The Special Master

denied Plaintiffs’ request for IPv4 + User Agent searches but allowed iterative searches using

IPv6 + User Agent pairs, provided that Plaintiffs provide attestation that they are the only

individuals who used the devices as indicated in their provided User Agent strings at the

provided IPv6 addresses on a certain specific date and time.209 Plaintiffs then provided the
207
    Appendix F. IP Address + User Agent Data Analysis .
208
    Consolidated 2022-04-08 3rd Round Search and Identifiers v2.
209
    Apr. 14, 2022 Special Master Hrg. Tr. 83:22-84:24 (“IP addresses are not the named
plaintiffs. It’s the individuals themselves that we have to map to these actions. And if we can
show that, that gives us the degree of confidence that allows us to move forward to, if there’s a
search result with that IPv6, with that user agent string, on that date and time, and we decrypt
any of the IDs that are the result of that, it’s improbable that it’s anybody else other than the

                                               80
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 89 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

required attestations for three new IPv6 + User Agent pairs they claim were copied from their

devices.210 Notably, none of the three IPv6 + User Agent pairs appears in the preserved data

associated with seven GAIA IDs provided by the five named Plaintiffs that I reviewed, which

contains 8,965 unique IP addresses + User Agent combinations.211 In my opinion, this indicates

that Mr. Hochman’s proposed IP + UA identification method is not viable.

       156.    Mr. Hochman also proposes using information from a user who “has signed into

their Google Account in private browsing mode within the past 90 days” to “retrieve the user’s

Biscotti IDs from GAIA logs and use those Biscotti IDs to locate the user’s private browsing

records while they are not signed into Google from the Biscotti logs.”212 This proposed method

would not reliably identify members of Class II for the same reasons it would not reliably

identify members of Class I, which is discussed supra § III.G.2.c. This proposal (i) would

require decrypting Biscotti IDs that are always encrypted when stored with GAIA IDs

(discussed supra § III.A.2); and (ii) ignores the fact that each signed-out private browsing mode

session will have a new Biscotti ID that will not match a Biscotti ID from a separate signed-out

browsing session (and will not be stored in any GAIA logs if the user does not sign into a

Google account). Because these signed-out private browsing mode Biscotti IDs will be distinct

from any signed-in Biscotti IDs, it is not possible to “use those [signed-in] Biscotti IDs to locate

the user’s private browsing records while they are not signed into Google.”213


named plaintiff. … So it’s -- if we can narrow down on the IPv6s, because it’s associated with
the device, and show me confidence for each one of those sessions that are listed, you know, for
the IP address UA -- what was that? Like about 27, 28? Yeah, that is, hey, Mr. Brown was the
one doing it from that IPv6 address on this device, then we have some confidence that it’s the
person, not the machine.”).
210
     2022-05-09 - Plaintiff Brown Attestation; 2022-05-09 - Plaintiff Castillo Attestation;
2022-05-09 - Plaintiff Trujillo Attestation.
211
    Appendix F. IP Address + User Agent Data Analysis .
212
    Hochman ¶ 304.
213
    Id.

                                                81
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 90 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         157.   Alternatively, Mr. Hochman proposes that “from any private browsing session

(Incognito in Chrome or private browsing mode in other browsers), a user can (with the help of

technology professionals) extract cookies from their browsers in private browsing mode (e.g.,

Biscotti cookies, GFP cookies and _ga cookies containing Analytics CIDs).”214 According to

Mr. Hochman, “[t]hese cookies are unique to that private browsing session and can be used to

identify the user’s browsing activities in that session,” and, “[u]pon receiving these cookies, it is

possible to locate the user’s private browsing data in Google logs and identify every website

visited during that session that Google tracks.215

         158.   As explained above (§ III.A.2), unauthenticated identifiers set in a signed-out

private browsing mode session are specific to a single session and are deleted once that session

ends. In my opinion, this renders Mr. Hochman’s proposal unreasonable and unreliable for a

number of reasons:

         a.     First, Mr. Hochman’s proposed methodology could not be used to retrieve any

                identifiers from private browsing mode sessions that have already ended because

                those identifiers have already been deleted. Instead, he proposes that users could

                initiate a new private browsing session under the supervision of technology

                professionals and then use the results of this supervised session to establish

                membership in the class.

         b.     Second, attempting to employ this methodology at scale (i.e., for potentially

                millions of users) would not be feasible because it would require millions of

                individual users to each engage unspecified “technology professionals” and

                re-enact the testing that Mr. Hochman conducted for the named Plaintiffs.


214
      Hochman ¶ 305.
215
      Id.

                                                 82
       Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 91 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

          159.   As another alternative, Mr. Hochman proposes that “Google could require

non-Google websites to provide pop-up notification whenever users visit websites for which

Google will collect private browsing information.”216 In my opinion, if Google were to require

non-Google websites to provide such a pop-up notification, it would violate the W3C TAG

guidelines discussed supra § III.B, and it would not identify prior private browsing activity.

          160.   As another alternative, Mr. Hochman proposes that “a user can extract their

non-Google sign-in IDs (with the help of technology professionals) from websites that they visit

in private browsing mode, including PPID, Analytics User ID and Google Ads User ID. Upon

receiving these IDs, Google can locate the user’s private browsing data from those websites in

logs.”217

          161.   In my opinion, Mr. Hochman’s proposed use of signed-in identifiers on

non-Google websites to identify class members is unreliable for the reasons discussed supra

§ III.G.2 and § III.A.2. Additionally, as discussed infra § III.G.2, Mr. Hochman’s proposed use

of third party publisher sign-in IDs fails to account for shared accounts.


J. Opinion 10: Mr. Hochman’s Proposed Methods For Identifying Class Members (# 22)
               Do Not–And Cannot–Account For Shared Devices Or Accounts
          1.     Mr. Hochman’s Proposed Methods Do Not Account For Shared Devices
          162.   As explained further below, Mr. Hochman’s proposed methods for identifying

both classes do not account for shared devices, which renders his proposed methods

over-inclusive for the following reasons:

       ❖ First, there is a significant body of research (including a published paper by

          Mr. Schneier, whom Plaintiffs have retained as an expert in this case) showing that



216
      Hochman ¶ 298.
217
      Hochman ¶ 306.

                                                83
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 92 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         sharing of devices is common. However, Mr. Hochman’s methodology improperly

         assumes that identifying web browsing information from a device is sufficient to also

         identify the user of that device.

      ❖ Second, Incognito mode and other private browsing modes are specifically designed to

         provide on-device privacy for shared devices.

      ❖ Third, the failure to account for shared devices will lead to misidentification of class

         members based on the browsing activity of other users on these shared devices.


         163.   First, there is a significant body of research demonstrating that sharing of

devices by more than one user is commonplace.218 In fact, each of the named Plaintiffs testified




218
    See, e.g., Tara Matthews, et. al., “‘She’ll just grab any device that’s closer’: A Study of
Everyday Device and Account Sharing in Households,” Proceedings of the ACM Conference
on           Human            Factors        in          Computing          Systems,         ACM,
https://dl.acm.org/doi/pdf/10.1145/2858036.2858051 (2016), at 2 (“Among our key findings are
that device and account sharing is common, and that mobile phones were shared as much as
computers and more often than tablets.”); K. Levy and B. Schneier, “Privacy threats in intimate
relationships,”                      Journal                    of                   Cybersecurity,
https://academic.oup.com/cybersecurity/article/6/1/tyaa006/5849222           (2020),      at     10
(“[H]ouseholds are not units; devices are not personal; the purchaser of a product is not its only
user.”); id. (criticizing the “assumption . . . that devices considered ‘personal’ are used by only
one person” because “abundant research demonstrates that this is often not the case”); A. Brush
and K. Inkpen, “Yours, Mine and Ours? Sharing and Use of Technology in Domestic
Environments,” Proceedings of the 9th International Conference on Ubiquitous Computing,
https://www.microsoft.com/en-us/research/wp-content/uploads/2007/09/brushinkpenyoursmine
ours.pdf (2007); B. Busse and M. Fuchs, “Prevalence of Cell Phone Sharing,” Survey Methods:
Insights from the Field, https://surveyinsights.org/?p=1019 (2013); H. Muller, J. Gove, and J.
Webb, “Understanding Tablet Use: A Multi-Method Exploration,” Proceedings of the 14th
international conference on Human-computer interaction with mobile devices and services,
https://static.googleusercontent.com/media/research.google.com/en//pubs/archive/38135.pdf
(2012).

                                                84
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 93 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

that they share their devices with others.219 But Mr. Hochman does not propose a method for

accounting for shared devices. Instead, his proposed methodology for identifying class members

incorrectly assumes that there is a one-to-one ratio between devices and users.220

        164.   Publicly-available studies conducted by Google employees and other researchers

confirm that users often share devices. For example, a 2016 research study found that “[m]any

technologies rely on the assumption that they will be used by a single person,” but the

“‘single-user’ assumption may not consider the many account and device sharing situations that

arise during everyday life.”221 Based on a study of U.S.-based households, the authors

determined that “device and account sharing is common, and that mobile phones were shared as

much as computers and more often than tablets—even though participants typically perceived

phones as personal devices and did not realize how often they were shared until participating in

our diary study.”222


219
    See, e.g., Brown Tr. 89:16-23 (Q. Does anyone else ever use any of your devices? A. From
time to time . . . like my business partner might hop on my laptop or my brother or my girlfriend
may hop on my phone.”); Trujillo Tr. 121:5-122-6 (“Okay. Do you share any of those devices
you just mentioned with other people? A. Yes, I do, all three . . . It’s work computer, one -- one
PC that’s used often, another PC that’s used not as often, and my mobile phone . . . Q. Okay.
Has anyone ever used any of those devices to browse the internet? A. Yes.); Byatt Tr.
239:25-240:4 (Q. Does anybody else have access to that laptop? A. Same as with the phone,
where other people have certainly used it, but not -- not regularly.”); Davis Tr. 79:12-15 (“Q.
And do -- do any other family members or friends ever use any of your devices? A. On very
rare occasions. Like, if someone needs to get online to do something, I might let them.”);
Castillo Tr. 260:17-22 (“Q. And your fiancé was upset at you because she learned of the – A. I
remember her being specifically annoyed that her surprise, her wedding engagement surprise
was sitting on my computer and in her face every time she logged on to the computer.”).
220
    See, e.g., Hochman ¶ 293 (“[T]he IP addresses and User Agent strings can be used to join a
user’s private browsing activities on non-Google websites with the user’s Google account
identity, and Google could then notify the class member via the email address associated with
that Google account.”).
221
     Tara Matthews, et. al., “‘She’ll just grab any device that’s closer’: A Study of Everyday
Device and Account Sharing in Households,” Proceedings of the ACM Conference on Human
Factors in Computing Systems, ACM, https://dl.acm.org/doi/pdf/10.1145/2858036.2858051
(2016) (“Device Sharing Study”) at 5921.
222
    Id. at 5922.

                                               85
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 94 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

        165.     Their research yielded the following figures:223




        166.     The same study further determined that “‘personal’ devices are often shared; and

sharing occurs in multiple ways and for a variety of reasons beyond the most obvious or

visible.”224

        167.     Research surveys further confirm that device sharing is common. For example,

in a 2015 study by the White House Council of Economic Advisers, “26 percent [of

respondents] complain[ed] about having to share a computer with too many people in their

household.”225

        168.     Other research on the prevalence of device sharing has reached similar

conclusions, including a research paper authored by Plaintiffs’ expert Bruce Schneier.226

Mr. Schneier’s research notes that “People living in the same household may share computers,



223
    Id. at 5925.
224
    Id. at 5930.
225
     Rick Paulus, “The Digital Divide Is About Much More Than Access,” Pacific Standard,
https://psmag.com/environment/digital-divide-more-complicated-than-access (June 14, 2017).
226
     See K. Levy and B. Schneier, “Privacy threats in intimate relationships,” Journal of
Cybersecurity, https://academic.oup.com/cybersecurity/article/6/1/tyaa006/5849222 (2020), at
1 (“[P]rivacy invasions by intimates are pervasive and deserving of focused study.”); id. at 2
(“In abusive partner situations, [technological privacy invasions by the abusive partner] can be a
precursor to physical, emotional, and sexual abuse.”); id. (“People living in the same household
may share computers, phones, and other connected devices.”).


                                                 86
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 95 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 96 of 215
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 97 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

               b.      GOOG-BRWN-00742713 at -887:




        172.   Google’s internal initiatives also recognize that




                                                 .233 A number of social work organizations who

provide resources for victims of domestic violence recommend the use of private browsing

modes to limit an abuser’s ability to view their partner’s browsing history on a shared device.234

233
   See GOOG-CABR-05468204.
234
    See, e.g., Day One Services, “Maintaining Privacy When You Browse The Internet,”
http://dayoneservices.org/be-safe/ (last visited June 3, 2022) (recommending use of private
browsing to prevent local saving of browsing history); Sahara Cares, “Protect Yourself Online,”
https://saharacares.org/protect-yourself-online/ (last visited June 3, 2022) (“If you are concerned
about internet and browser safety, you have two options . . . Erase your browsing history after

                                                89
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 98 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       173.    Third, Mr. Hochman’s failure to account for shared devices will lead to

misidentification of class members based on the browsing activity of other users on these shared

devices. Mr. Hochman’s methodology for identifying members of Class I and Class II does not

account for shared devices because it assumes that, by identifying a device, you have also

conclusively identified the Google account holder who used that device in Incognito or other

private browsing modes.235 Indeed, Mr. Hochman does not propose a methodology for

identifying a single user based on an IP address and user agent that will be identical when

multiple users share a single device. In my opinion, this necessarily makes Mr. Hochman’s

proposed methodology over-inclusive and inaccurate.

       174.    Mr. Hochman’s proposed method for linking signed-out Incognito browsing

activity to signed-in identifiers also does not account for shared devices.236 Consider, for

visiting this site [or] Use private browsing or incognito mode to browse this site so the visit is
not logged in your history.”); WNY Postpartum Connection, Inc., “Domestic Abuse Support,”
https://www.wnypostpartum.com/domestic-violence-assistance (last visited June 3, 2022) (“If
you are in danger and believe someone could possibly be tracking your Internet usage, we
highly recommend viewing this page in your browser’s incognito mode. You can do this by
right-clicking the browser icon and selecting ‘New Incognito Window.’ If not using incognito,
we recommend deleting your web history after viewing this page.”); Betty Griffin Center, “Safe
Browsing,” https://bettygriffincenter.org/help/ (last visited June 3, 2022) (“Your browser stores
and records the webpages you visit on your computer/device. This is called a web history or a
browser cache. You may want [to] conceal your activity online for safety reasons. There are a
few ways to accomplish this . . . [for example,] Use private browsing. Most browsers have a
privacy mode that allows you to visit websites without storing any record of your activity on
your computer or device.”).
235
    See, e.g., Hochman ¶ 291 (stating that “applying Google’s Incognito detection methodology
using X-Client-Data and user agent accurately identifies Incognito data from the Second
Iterative Search in the Special Masters process” without specifying how, in the case of a shared
device, this data would be attributed to a particular user); ¶ 293 (stating that “the combination of
IP address and User Agent” can be used to “attribute particular log entries to people” without
addressing the reality that IP address and user agent will be identical for multiple “people”
using the same browser on, e.g., a shared family computer).
236
    See, e.g., Hochman ¶ 295 (“IP addresses and User Agent strings can be used to join a user’s
private browsing activities on non-Google websites with the user’s Google account identity, and
Google could then notify the class member via the email address associated with that Google
account.”); ¶ 304 (“If a user has signed into their Google Account in private browsing mode
within the past 90 days, then Google can also retrieve the user’s Biscotti IDs from GAIA logs

                                                90
    Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 99 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

example, a desktop computer a family of four share. If (i) only one family member signs into a

Google account on this shared device (the “Lone Signed In User”); and (ii) the IP address and

user agent of the shared device is used to link private browsing information with the Lone

Signed In User’s account, any use of Incognito mode by the other three family members would

be attributed to the Lone Signed-In User and cause the Lone Signed-In User to be included in

the class (even if he or she never personally used Incognito mode on the shared device). The

proposed Chrome class is composed of users (not devices), but Mr. Hochman does not propose

any way to determine which of the four family members in this example actually used Incognito

mode on the shared family computer. In my opinion, the failure to account for shared devices

makes Mr. Hochman’s proposed methodology for linking signed-out Incognito browsing

activity to signed-in identifiers over-inclusive and inaccurate.

       175.    As another example, consider a publicly-available computer available for visitors

to use in, e.g., a public library. This shared device does not require users to log in to use the

computer (or log out when they are finished). Over the course of a day, one hundred users use

this machine at various points. If, for example, only one user uses Incognito mode (or another

private browsing mode) on the same day, Mr. Hochman does not propose any way to determine

which of these one hundred users actually used Incognito mode on this publicly-available

device (where all one hundred users will have the exact same user agent and IP address).

Indeed, if (i) a user logged into his or her Google account (the “Logged In User”) while using

the device (and did not use Incognito mode at all), and (ii) the next user (the “Subsequent

Incognito Mode User”) did not log into his or her own Google account, but proceeded to open

an Incognito mode window and browsed a non-Google website that uses Google Analytics or


and use those Biscotti IDs to locate the user’s private browsing records while they are not
signed into Google from the Biscotti logs.”).

                                                 91
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 100 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

Ad Manager code, then (iii) the proposed methodology would lead to a false positive because it

would incorrectly identify the Logged In User as a class member based on the Subsequent

Incognito Mode User’s browsing activity on the shared machine, as the Logged In User’s

activity keyed to his GAIA ID would contain the same IP address and user agent as the

Subsequent Incognito Mode User’s browsing activity keyed to an “orphaned” Biscotti ID. Mr.

Hochman’s proposed methodology does not account for this scenario, which is not

uncommon.237

         176.   Mr. Hochman’s methodology for identifying class members by sending

notifications to Google account holders, whose accounts are associated with some private

browsing activity, also fails to account for shared devices because it relies on browsing activity

on the same device (without providing any way to confirm that the browsing activity is actually

attributable to the same Google account holder, rather than a different individual who used the

device). Consider, for example, a laptop used by two different members of the same household.

One of the users of this shared device (call him User_1) signed into a Google account on the

shared machine once but never enabled private browsing. Another user of the shared device

(User_2) uses the device exclusively for private browsing and has never logged in to a Google

account on that shared device. Mr. Hochman’s proposed methodology would result in a

notification being sent to User_1, not the actual class member who browsed in private mode,

User_2. In the domestic violence use case of private browsing mode mentioned above, the

abuser may get notification based on the private browsing activities of the victim.



237
         See,     e.g.,    Google       Help      Page:      Sign     out     of     Chrome,
https://support.google.com/chrome/answer/9159867?hl=en&co=GENIE.Platform%3DDesktop
(last visited June 7, 2022) (“Sign out remotely . . . You can remove your account from one of
your devices, even if you don’t have that device with you. You’ll be signed out from any
computer you’ve used before, including the one you’re using now.”).

                                               92
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 101 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         177.   By failing to account for shared devices, Mr. Hochman’s proposed methods for

identifying members of both the Chrome Class and the non-Chrome Class are over-inclusive

because they identify individual users as class members based on other users’ browsing activity

on the same device (where their user agent and IP address will be the same). In my opinion, he

does not propose a methodology for excluding these cases, which, as discussed above, are quite

common.

         2.     Mr. Hochman’s Proposed Methods Do Not Account For Shared Accounts
         178.   Mr. Hochman’s proposed methodology for identifying class members does not

account for shared accounts, which is also common.238 Mr. Hochman’s proposed methodology

for using “Biscotti encryption keys” to “locate additional user’s [sic] signed-out private

browsing activities via their GAIA IDs for users who may have, on occasion, signed into their

Google account in a private browsing session”239 (i) does not account for the prevalence of

account sharing; and (ii) fails to propose a method for determining which user (or users) of a

shared account would be a class member in situations where a subset of users with access to the

shared account did not use private browsing modes during the class period. For example,

consider an account shared between two grandparents with limited technical ability and a




238
    See, e.g., K. Levy and B. Schneier, “Privacy threats in intimate relationships,” Journal of
Cybersecurity, https://academic.oup.com/cybersecurity/article/6/1/tyaa006/5849222 (2020), at
2 (“Intimates might share social media and email accounts–and even if they have separate
accounts, they may know one another’s passwords.”); C. Park, et al., “Share and share alike? An
exploration of secure behaviors in romantic relationships,” Fourteenth Symposium on Usable
Privacy                      and                      Security                       (SOUPS),
https://www.researchgate.net/publication/325608530_Share_and_Share_Alike_An_Exploration
_of_Secure_Behaviors_in_Romantic_Relationships (2018).
239
    Hochman ¶ 244.

                                              93
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 102 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

grandchild in their care who is more technically capable.240 The Google account in this scenario

is registered only to the grandfather, who has never used Incognito mode (and is in fact not

aware of the existence of this feature at all).241 If the grandchild used Incognito mode, and at

least once logged into the grandfather’s Google account in Incognito mode during the class

period, but the grandparents did not, Mr. Hochman’s proposed methodology would nonetheless

include the grandfather in the class by joining the grandchild’s private browsing mode activity

with the grandfather’s Google account identifier.

         179.   Similarly, Mr. Hochman’s proposed methodology for identifying class members

via PPIDs fails to account for sharing of accounts on third party websites. Third party websites

that use PPIDs may require or allow users to log into their site for a number of reasons,

including for example, to access “premium” content which is only made available to paid

subscribers (e.g., paywall-protected articles on NYTimes.com or washingtonpost.com). Sharing

of login and password information by more than one user to access premium content is

common.242 Like shared devices, Mr. Hochman does not attempt to account for this practice.

         180.   Mr. Hochman’s methodology also fails to account for GAIA IDs that are not

associated with a specific individual. Documents Google produced indicate that


240
    See, e.g., Juliette Garside, “Ofcom: six-year-olds understand digital technology better than
adults,”                                      The                                     Guardian,
https://www.theguardian.com/technology/2014/aug/07/ofcom-children-digital-technology-better
-than-adults (Aug. 6, 2014) (“[T]he average six-year-old child understands more about digital
technology than a 45-year-old adult.”); Laveh Waddel, “Will Today’s Kids Be Stumped by the
Technology               of           the           Future?,”            The           Atlantic,
https://www.theatlantic.com/technology/archive/2016/01/will-todays-kids-be-stumped-by-the-te
chnology-of-the-future/425082/ (Jan. 26, 2016).
241
    See GOOG-CABR-00422906, at -068 (20.3 percent of survey respondents reported that they
never use Incognito mode, and 11.7 percent were not aware of the feature).
242
    See, e.g., Alex Sherman, “Netflix estimates 100 million households are sharing passwords
and        suggests         a      global      crackdown        is       coming,”       CNBC,
https://www.cnbc.com/2022/04/19/netflix-warns-password-sharing-crackdown-is-coming.html
(Apr. 19, 2022).

                                               94
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 103 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




                                 ”243 Mr. Hochman does not propose a method for, e.g.,

(i) identifying these multi-user accounts; and (ii) limiting the inclusion of class members to

individual users of such accounts who actually used private browsing modes. Thus, if a single

user of such an account used private browsing mode on a device with the same IP address and

user agent as the multi-user account, applying Mr. Hochman’s methodology would include

“entire businesses, groups of users and even services” in the class. This failure to account for

multi-user accounts thereby renders Mr. Hochman’s proposed methodology over-inclusive.




243
      GOOG-CABR-00086881, at -882.

                                              95
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 104 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

IV. REBUTTAL TO MR. SCHNEIER
A. Opinion 11: Mr. Schneier’s Assertion That “Browsing Information Is Unique
               For Each User” Is Unsupported And Misleading
         181.   According to Mr. Schneier: “Browsing Information Is Unique For Each User.”244

         182.   In support of this claim, Mr. Schneier states that:

                a.     “American citizens are justified in taking measures to minimize access to
                       their browsing information, since it can be used to identify them. A 2013
                       study of 368,284 Internet users detected a unique browsing history for
                       69% of participants, and found that out of users for whom at least four
                       visited websites were detected, 97% could be uniquely identified by their
                       browsing history.”245
                b.     “This browsing information is a rich target for those online businesses
                       that deploy CSSbased detection techniques to collect it. (CSS is an
                       initialism for cascading style sheets, which are used to format web
                       pages.) An attacker can ascertain URLs visited by a target’s browser
                       through applying CSS styles that differentiate visited and unvisited links.
                       A study of results obtained from over a quarter-million web users found
                       that over 94% of Google Chrome users were vulnerable to CSS-based
                       browser history detection by sites they visited; a test of popular websites
                       detected an average of 62.6% visited locations per client.”246
                c.     “A 2015 research paper illustrated how third-party cookies can be used
                       by eavesdroppers— these are people who are not the owners of the
                       websites visited or the cookies issued and used— to track people on the
                       Internet. Simulating users browsing the web, the authors found that ‘the
                       adversary can reconstruct 62–73% of a typical user’s browsing
                       history.’”247




244
    Schneier at 27.
245
    Schneier ¶ 97 (citing L. Olejnik, C. Castelluccia and A. Janc, “Why Johnny can’t browse in
peace: On the uniqueness of web browsing history patterns,” Annals of Telecommunications
1-2, https://hal.inria.fr/file/index/docid/747841/filename/johnny2hotpet-finalcam.pdf (June
2013)).
246
    Schneier ¶ 98 (citing A. Janc and L. Olejnik, “Web browser history detection as a real-world
privacy threat,” ESORICS’10:Proceedings of the 15th European Conference on Research in
Computer        Security,     http://cds.cern.ch/record/1293097/files/LHCb-PROC-2010-036.pdf
(September 20, 2010)).
247
    Schneier ¶ 99 (citing S. Englehardt, et al., “Cookies that give you away: The surveillance
implications of web tracking,” WWW ‘15: Proceedings of the 24th International Conference on
World Wide Web, https://senglehardt.com/papers/www15_cookie_surveil.pdf (May 18, 2015)).

                                                 96
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 105 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         183.   As explained further below, Mr. Schneier’s assertion is unsupported and

particularly misleading for the Data At Issue for the following reasons:

      ❖ First, the study cited by Mr. Schneier (¶ 97) concluded that only 50 percent of the

         “Google profiles” that the authors analyzed when they limited their analysis to “sites on

         which [they] detected scripts from Google” were unique.248 As such, the remaining 50

         percent of “Google profiles” were not unique. This research also did not conclude that

         100 percent of any other browsing information was unique. Thus, Mr. Schneier’s

         assertion that “Browsing Information Is Unique For Each User” (i) is not supported by

         this study, which did not conclude that browsing information is in fact unique for each

         user because it did not determine that any set of browsing information or profiles were

         100 percent unique; and (ii) is particularly misleading for the Data At Issue because the

         authors of that study used different data (i.e., URLs provided to the researchers via an

         experimental system), and they determined that only half of the “profiles” they

         generated—using a different methodology and a different definition of “profiles” than

         any proposed by Plaintiffs—from visits to sites with embedded Google scripts were

         “unique.”

      ❖ Second, the security study cited by Mr. Schneier regarding potential vulnerabilities to

         “CSS-based browser history detection” (¶ 98) merely identifies a potential vulnerability

         and does not address whether or not particular browsing histories are “unique,” let alone

         show that each user has a unique browsing history.249


248
    Lukasz Olejnik, Claude Castelluccia and Artur Janc, “Why Johnny can’t browse in peace: On
the uniqueness of web browsing history patterns,” Annals of Telecommunications at 13
https://hal.inria.fr/file/index/docid/747841/filename/johnny2hotpet-finalcam.pdf (June 2013).
249
    S. Englehardt, et al., “Cookies that give you away: The surveillance implications of web
tracking,” WWW ‘15: Proceedings of the 24th International Conference on World Wide Web,
https://senglehardt.com/papers/www15_cookie_surveil.pdf (May 18, 2015).

                                                97
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 106 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

      ❖ Third, the research paper cited by Mr. Schneier (¶ 99) regarding third-party cookie

         “eavesdroppers” addresses potential vulnerabilities and modeling of potential

         reconstruction of browsing histories, rather than analyzing the uniqueness of actual

         histories.250

         184.    In my opinion, the study cited by Mr. Schneier regarding the relative uniqueness

of browsing histories does not support his claim that browsing information is “unique for each

user” because the authors did not find that 100% of the browsing profiles analyzed were unique

(i.e., the “only one” or “able to be distinguished from all others of its class or type”).251 And Mr.

Schneier’s characterization of this study as supporting his conclusion is particularly misleading

for the Data At Issue because (i) the authors of that study used different data collected via a

different methodology (i.e., URLs provided to the researchers via an experimental system); and

(ii) they determined that only half of the “profiles” they generated–using a different

methodology and a different definition of “profiles” than any proposed by Plaintiffs–from visits

to sites with embedded Google scripts were “unique.” Mr. Schneier does not account for these

methodological differences or address the authors’ conclusion that only 50 percent of the

“profile” histories from sites using Google scripts that they generated were unique.252




250
    Id.
251
    “Unique” means “the only one” or “able to be distinguished from all others of its class or
type.”                   Merriam-Websters.com                Dictionary,              “Unique,”
https://www.merriam-webster.com/dictionary/unique#:~:text=1%20%3A%20being%20the%20
only%20one%20of%20its%20kind%20Every%20snowflake,from%20Merriam%2DWebster%2
0on%20unique (last visited June 6, 2022).
252
     L. Olejnik, C. Castelluccia and A. Janc, “Why Johnny can’t browse in peace: On the
uniqueness of web browsing history patterns,” Annals of Telecommunications at 13
https://hal.inria.fr/file/index/docid/747841/filename/johnny2hotpet-finalcam.pdf (June 2013)).

                                                 98
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 107 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         185.   It is also my opinion that the study Mr. Schneier cites regarding CSS

vulnerabilities253 does not support his conclusion that browsing information is unique for each

individual user because the authors simply analyzed the susceptibility of certain users of

internet browsers to attacks designed to obtain their browsing histories, and they did not

evaluate the relative uniqueness of the histories. Whether or not a vulnerability could be

exploited to obtain browsing information is orthogonal to a determination of whether or not the

information that may be obtained by an attacker is unique for each user.

         186.   It is also my opinion that the study Mr. Schneier cites regarding potential

“eavesdropping” via accessing third party cookies254 does not support his conclusion that

browsing information is unique for each user because this research merely describes certain

techniques that might be used by bad actors to obtain cookie values and unencrypted PII.

Whether or not a certain attack might be suitable for a bad actor to obtain information is a

distinct question from a determination of whether or not browsing information is unique for

each user.

B. Opinion 12: Mr. Schneier’s Claim That “Personal Data Is Difficult To
               Anonymize And Easy To De-Anonymize” Is Unsupported And Is
               Incorrect For The Data At Issue
         187.   According to Mr. Schneier: “Personal Data Is Difficult to Anonymize and Easy

to De-anonymize.”255 In support, Mr. Schneier:

                a.     Claims that maintaining online anonymity is purportedly difficult “in the
                       face of a focused and determined investigation.” In support of this claim,
                       Mr. Schneier states that “[e]ven a team of highly trained Israeli assassins

253
    A. Janc and L. Olejnik, “Web browser history detection as a real-world privacy threat,”
ESORICS’10:Proceedings of the 15th European Conference on Research in Computer Security,
http://cds.cern.ch/record/1293097/files/LHCb-PROC-2010-036.pdf (September 20, 2010)).
254
    S. Englehardt, et al., “Cookies that give you away: The surveillance implications of web
tracking,” WWW ‘15: Proceedings of the 24th International Conference on World Wide Web,
https://senglehardt.com/papers/www15_cookie_surveil.pdf (May 18, 2015).
255
    Schneier at 41.

                                                 99
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 108 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                      was quickly identified in Dubai, based on surveillance camera footage
                      from around the city.”256
               b.     Asserts that “[m]ost techniques for anonymizing data don’t work, and
                      ostensibly anonymized data can be de-anonymized with surprisingly little
                      information.”257 In support of this claim, Mr. Schneier cites the following:
                      1.      A 1997 study and follow up research from 2000 and 2006 in
                              which the researcher deanonymized certain records by combining
                              zip codes with gender and birth date records from census data or
                              other data (e.g., healthcare records).258
                      2.      A 2006 study analyzing the effectiveness of attempted
                              anonymization of “three months of search data for 657,000 users:
                              20 million searches in all” released by American Online
                              (“AOL”).259
                      3.      A 2008 study of “10 million movie rankings by 500,000
                              anonymized customers” published by Netflix from which
                              researchers were able to determine the identity of certain



256
    Schneier ¶ 143 (citing Natasha Lomas, “France fines Google $120M and Amazon 42M for
dropping         tracking       cookies         without        consent,”       Tech       Crunch,
https://techcrunch.com/2020/12/10/france-fines-google-120m-and-amazon-42m-for-droppingtra
cking- cookies-without-consent (Dec. 10, 2020)).
257
    Schneier ¶ 144 (citing Paul Ohm, “Broken promises of privacy: Responding to the surprising
failure         of        anonymization,”            UCLA           Law        Review          57,
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=1450006 (August 13, 2009)).
258
    Schneier ¶ 145 (citing Latanya Sweeney, “Simple demographics often identify people
uniquely,”     Carnegie     Mellon     University      Data     Privacy Working Paper 3,
https://dataprivacylab.org/projects/identifiability/paper1.pdf (2000); Philippe Golle, “Revisiting
the uniqueness of simple demographics in the U.S. population,” 5th ACM Workshop on Privacy
in        the       Electronic       Society         (WPES’06),        Alexandria,       Virginia,
https://crypto.stanford.edu/~pgolle/papers/census.pdf (Oct. 30, 2006); L. Sweeney, A. Abu and
J. Winn, “Identifying participants in the Personal Genome Project by name (A re-identification
experiment),” arxiv.org, https://arxiv.org/abs/1304.7605 (2013); Latanya Sweeney, “Only you,
your      doctor, and many others may know,” Technology Science 2018,
https://techscience.org/a/2015092903 (September 28, 2015); Ji Su Yoo, et al., “Risks to patient
privacy: A re-identification of patients in Maine and Vermont statewide hospital data,”
Technology Science 2018, https://techscience.org/a/2018100901 (Oct. 8, 2018); Katherine E.
Boronow, et al., “Privacy risks of sharing data from environmental health studies,”
Environmental Health Perspectives 128, no. 1, https://ehp.niehs.nih.gov/doi/10.1289/EHP4817
(Jan. 2020)).
259
    Schneier ¶ 146 (citing M. Barbaro and T. Zeller Jr., “A face is exposed for AOL Search No.
4417749,” New York Times, http://www.nytimes.com/2006/08/09/technology/09aol.html (Aug.
9, 2006)).

                                               100
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 109 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                              individuals “by comparing rankings and time stamps with public
                              rankings and time stamps in the Internet Movie Database.”260
                       4.     A 2015 study analyzing the relative anonymity of certain credit
                              card data.261
                       5.     A 2019 study analyzing certain demographic data. 262
                       6.     A 2018 study analyzing the volume of data sent to Google’s
                              servers in connection with the use of certain Google web
                              applications (e.g., Gmail) and browsing on websites that use
                              Google Analytics. 263
                       7.     Studies analyzing attempts to deanonymize data sets by
                              combining them with location data or school records.264
                       8.     Mr. Schneier’s assertion that (i) telephone records could be
                              partially deanonymized by correlating them with a database of
                              telephone order information; and (ii) “Amazon’s online book
                              reviews could be the key to partially de-anonymizing a database
                              of credit card purchase details.”265
               c.      Claims that “Joinability is a risk whether or not data is actually being
                       joined,” and Google could purportedly use its “database of users’ Internet
                       searches . . . [to] de-anonymize a public database of Internet purchases, or




260
    Schneier ¶ 147 (citing A. Narayanan and V. Shmatikov, “Robust de-anonymization of large
sparse datasets,” 2008 IEEE Symposium on Security and Privacy, Oakland, California,
https://web.stanford.edu/class/cs245/win2020/readings/netflix-deanonymization.pdf            (May
18-20, 2008)).
261
    Schneier ¶ 148 (citing Yves-Alexandre de Montjoye, et al., “Unique in the shopping mall: On
the re-identifiability of        credit card metadata,” Science 347, no. 6221,
https://www.science.org/doi/full/10.1126/science.1256297 (Jan. 30, 2015)).
262
    Schneier ¶ 149 (citing L. Rocher, J. Jendrickx and Y. de Montjoye, “Estimating the success
of re-identifications in incomplete datasets using generative models,” Nature Communications
10, https://www.nature.com/articles/s41467-019-10933-3 (July 23, 2019)).
263
    Schneier ¶ 150 (citing Douglas C. Schmidt, et al., “Google data collection,” Vanderbilt
University,                                               https://digitalcontentnext.org/wpcontent/
uploads/2018/08/DCN-Google-Data-Collection-Paper.pdf (Aug. 15, 2018)).
264
    Schneier ¶ 151 (citing Dániel Kondor, et al., “Towards matching user mobility traces in
large-scale datasets,” arXiv:1709.05772, https://arxiv.org/pdf/1709.05772.pdf (Aug. 13, 2018);
Eli Yacobson, et al., “De-identification is insufficient to protect student privacy, or What can a
field      trip    reveal?”     Journal       of      Learning       Analytics     8,     no     2,
https://www.learning-analytics.info/index.php/JLA/article/view/7353 (2021)).
265
    Schneier ¶ 152.

                                               101
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 110 of 215

                      CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                        zero in on searches of medical terms to de-anonymize a public health
                        database.”266
                d.      Characterizes certain documents produced by Google as purportedly
                        containing admissions that the Data At Issue can be joined to signed-in
                        authenticated Google data that support Mr. Schneier’s opinion regarding
                        joinability.267
         188.   As explained further below, Mr. Schneier’s assertion is unsupported by the

sources he cites and incorrect for the Data At Issue for the following reasons:

      ❖ First, Mr. Schneier cite examples of purported difficulties associated with

         anonymization that do not address the Data At Issue, which is readily distinguishable

         from, e.g., surveillance camera footage of Israeli assassins, birth dates, ZIP codes, voter

         registration databases, AOL Search data, Netflix movie rankings, publicly-posted IMDB

         ratings, credit card numbers, “user location data . . . combined with anonymized credit

         card data,” “telephone records . . correlat[ed] . . . with a catalog merchant’s telephone

         order database,” Amazon online book reviews, and “Google[’s] database of users’

         Internet searches.”

      ❖ Second, the Google documents that Mr. Schneier characterizes as “admissions” do not

         support his contentions because, inter alia, (i) they involve discussions of theoretical

         possibilities in a hypothetical world without Google’s policies and server-side

         architecture that prevent deanonymization of the Data At Issue; and (ii) these statements

         do not support his conclusion that “Google can connect individuals to private browsing

         sessions.”



266
    Schneier ¶ 153 (citing Pern Hui Chia, et al., “KHyperLogLog: Estimating reidentifiability
and joinability of large data at scale,” Proceedings of the IEEE Symposium on Security and
Privacy, https://milinda-perera.com/pdf/CDPSLDWG19.pdf (2019)).
267
    Schneier ¶ 155 (citing GOOG-BRWN-00705010; GOOG-CABR-05270014; Mardini Nov.
24, 2021 Tr. 346-347).

                                                102
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 111 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

   ❖ Third, Google documents and testimony produced in this case show that Mr. Schneier’s

       assertion that “data is difficult to anonymize and easy to de-anonymize” is incorrect for

       the Data At Issue in light of Google’s successful efforts to anonymize the Data At Issue

       and prevent its re-identification.

       189.    In my opinion, the video surveillance story that Mr. Schneier cites does not

support any claim that the Data At Issue is “difficult to anonymize” and “easy to deanonymize”

because that is a wholly different type of data and analysis than the instant case (i.e.,

surveillance camera footage of a few Israeli agents analyzed to identify a match for facial

images in a database, rather than unauthenticated private browsing data that Plaintiffs claim can

be reliably tied to the identity of millions of individual users). The Data At Issue does not

include surveillance camera footage, nor does analysis of such data involve attempts to match

images of individuals with such footage.

       190.    It is also my opinion that the vast majority of the studies that Mr. Schneier cites

do not support his opinion in this case because they address categories of information that are

different from the Data At Issue. For example, the Data At Issue does not include (i) birth dates,

zip codes, or medical records; (ii) search requests that users input into Google’s search engine

(or other search engines that do not use Google services like Bing or DuckDuckGo); (iii)

Netflix movie rankings; (iv) credit card numbers; (v) demographic data (such as users’ age,

gender and marital status); (vi) school records tied to location data; (vii) telephone records; or

(viii) Amazon review and purchase histories. Importantly, the Data At Issue is also not merely

anonymized by, e.g., obscuring the identity of the individual user with whom the Data At Issue

is associated. By contrast, the Data At Issue is never “authenticated” or otherwise tied to a

specific user’s identity in the first place. See supra § III.A.1. And as discussed above, it cannot




                                               103
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 112 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

be reliably tied to a specific user via Plaintiffs’ proposed fingerprinting methodologies. See

supra §§ III.G.1; III.F.1.

         191.   As to the lone study regarding certain Google services that Mr. Schneier cites,268

it is also my opinion that this research does not support Mr. Schneier’s claim that the Data At

Issue is difficult to anonymize because the researchers tested the exact opposite scenario that is

at issue here: the researchers tested the potential for Google to associate data from a private

browsing mode session with a user’s identity when a user signs into a Google account or

service.269 In this situation, the authors determined that Google can use a signed-in identifier

received when a user logs into Google to associate signed-out activity with the user’s Google

account. For the Data At Issue, no such signed-in identifier will be sent to Google because

Plaintiffs allege that the putative class members have not signed into a Google account, and

thus the results of this test do not apply.

         192.   Additionally, the Google-produced documents that Mr. Schneier characterizes as

“admissions” do not support his claims regarding joinability for the following reasons:

                a.      GOOG-BRWN-00705010: Mr. Schneier contends that this document
                        shows that “Google employees have admitted that ‘it is possible for
                        Google to join regular and Incognito sessions,’” and Google “can
                        [therefore] connect individuals to private browsing sessions.”270 But the
                        document notes that “the promise not to do this is effectively already
                        being applied,” and the author of this email explained at his deposition
                        that such joining does not occur.271 This email also does not state that
268
      Douglas C. Schmidt, et al., “Google data collection,” Vanderbilt University,
https://digitalcontentnext.org/wpcontent/uploads/2018/08/DCN-Google-Data-Collection-Paper.
pdf (Aug. 15, 2018).
269
    Id. at 21-22 (“(“The experiment presented below assessed whether Google can connect such
identifiers (and hence information associated with them) with a user’s personal information.
This experiment involved the following ordered steps: 1. Opened a new (no saved cookies, e.g.
Private or Incognito) browser session (Chrome or other), 2. Visited a 3rd-party website that used
Google’s DoubleClick ad network, 3. Visited the website of a widely used Google service
(Gmail in this case), 4. Signed in to Gmail.”).
270
    Schneier ¶ 155.
271
    McClelland Feb. 18, 2022 Tr. 80:12-81:11.

                                               104
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 113 of 215
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 114 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         that data from a users’ private browsing will be joined with a user’s signed-in
         data.273
         195.   As explained further below, Mr. Schneier’s assertion is incorrect for the

following reasons:

      ❖ First, the documents that Mr. Schneier cites do not support his conclusion that Google

         “has not taken steps to ensure that a user’s choice to sign out of a Google account will

         prevent Google from associating the user’s signed-out activity with any signed-in data”

         and in many cases they show extensive steps to maintain strict separation between

         signed-in and signed-out data. See infra § IV.C.1.

      ❖ Second, additional documents and testimony produced in this case further demonstrate

         the steps that Google has taken to ensure that a user’s choice to sign out of a Google

         account will prevent Google from associating the user’s signed-out activity with any

         signed-in data. See infra § IV.C.2.

      ❖ Third, Google’s policy restrictions and pseudonymization procedures closely align with

         best practices for research involving user data. See infra § IV.C.3.

      ❖ Fourth, Google’s security practices closely align with best practices in the network

         security industry. See infra § IV.C.4.

         1.     The Documents Mr. Schneier Cites Do Not Support His Conclusion
         196.   In my opinion, none of the documents that Mr. Schneier cites supports his

conclusion that Google “has not taken steps to ensure that a user’s choice to sign out of a

Google account will prevent Google from associating the user’s signed-out activity with any

signed-in data.”


273
   Schneier ¶ 205               (citing GOOG-BRWN-00060463;              GOOG-CABR-00358713;
GOOG-BRWN-00386570;                   GOOG-BRWN-00613801;                GOOG-BRWN-00386402;
GOOG-CABR-00799341).

                                                  106
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 115 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         197.   GOOG-BRWN-00060463 is a draft of potential issues and discussion points

identified by a Google employee, and the discussion Mr. Schneier quotes is not directed to

Incognito mode. Indeed, the document undermines Mr. Schneier’s opinion because it states that

the use of Incognito mode is an effective way to prevent joining of signed-in and signed-out

browsing data, as it notes that



                                                                                             274



         198.   GOOG-CABR-00358713 identifies a potential risk of joining Incognito data

with signed-in data, but (i) does not say that any such joining takes place; and (ii) notes that



                                                                        275
                                                                              As discussed above

(supra § III.B), allowing Chrome to “tell Google (or all sites) that a user went Incognito”276

would conflict with the W3C Guidelines recommending that the use of private browsing mode

should not be detectable to websites. This discussion confirms that Google decided not to

pursue solutions that would require the Chrome browser to send a signal to Google or third

party websites that the browser was in incognito mode.

         199.   GOOG-BRWN-00386570 is an email discussing potential implementation of

Incognito mode in the Google Search App (i.e., a non-Browser app that is distinct from

Chrome), and an email in the thread notes that “aside from the potential linking to the user's

GAIA cookie ID in regular [mode] IF the IP is static, there is no way to link that

signed-out/incognito zwieback cookie to Gaia.”277 Again, this email discusses potential


274
    GOOG-BRWN-00060463, at -463 (emphasis added).
       275
           GOOG-CABR-00358713, at -713.
       276
           Id.
277
    GOOG-BRWN-00386570, at -570.

                                              107
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 116 of 215
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 117 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

affirmatively states that Google does not actually join such data. And as discussed above (supra

§ III.G.1.), static IPs are exceedingly rare, so the risk identified in this email does not appear to

be substantial.

          202.    These documents do not support Mr. Schneier’s conclusion that Google “has not

taken steps to ensure that a user’s choice to sign out of a Google account will prevent Google

from associating the user’s signed-out activity with any signed-in data.”280 Indeed, none of the

documents cited by Mr. Schneier (or any other documents or testimony I have reviewed) state

that joining of signed-in and signed-out user data actually takes place, which indicates that

Google’s myriad policies and technical restrictions (discussed further infra § IV.C.2.) have been

effective in preventing actual joining of signed-in and signed-out data. In my opinion, Google’s

implementation of (and adherence to) policies and technical restrictions to prevent joining of

signed-out and signed-in data shows that Google has “taken steps” to segregate signed-in from

signed-out data. And the documents Mr. Schneier cites indicate that Google employees

investigate joinability risks regularly and propose steps for mitigating those risks. This process

of self-evaluation, identification of risks, and introduction of mitigations is consistent with a

proactive compliance regime designed to prevent the joining of signed-in and signed-out data,

rather than evidence that such a regime has not been put into place. As discussed further below,

additional documents Google has produced in this case also support this conclusion.

          2.      Additional Documents And Testimony Contradict Mr. Schneier’s Claim
                  That Google Has Not Undertaken Steps To Prevent Joining of Signed-Out
                  And Signed-In Data
          203.    The efforts Google has undertaken to prevent joining of signed-out and signed-in

browsing data are further evidenced by additional documents produced in this action, including

the following examples:

280
      Schneier ¶ 205.

                                                109
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 118 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 119 of 215
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 120 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         204.     I have also reviewed deposition testimony from a third-party ex-Google product

manager (whose legal fees associated with the deposition were paid by Plaintiffs’ counsel281)

that further confirms that Google does not join private and non-private browsing mode

information to create “cradle-to-grave” profiles.282 Additional testimony from other Google

witnesses confirms that Google does not join signed-in and signed-out browsing mode

information.283

         205.     Assessments by independent auditors also describe the extensive steps Google

has undertaken to implement privacy controls related to user data.284

         3.       Google’s Policy Restrictions And Pseudonymization Procedures Closely
                  Align With Best Practices For Research Involving User Data
         206.     Throughout my professional career as an academic, and in particular during the

last handful of years that I have been working on efficient, privacy-preserving systems in the


281
    See McClelland Tr. 228:23-229:3 (“[Q.] [D]o you understand Mr. Bailey to be charging you
in connection with his representation of you at today's deposition? A. No, the costs are being
covered by the plaintiffs.”).
282
    See McClelland Tr. 290:10-24 (“Q. Specifically[,] [is] the allegation that Google creates a
cradle to grave profile that [combines] log[ged] out private browsing data with non-private
browsing data [accurate]? A. My understanding and my experience at Google would indicate
that that is not the case. From memory, tracking data after             is discarded, it's no longer
useful, so the longest profile is based upon           ' worth of data. Signed-in data is never --
there is no attempt to link signed in -- authenticate[d] user data with non-signed in data and
certainly Incognito sessions were not joined with regular sessions.”).
283
    See Berntson June 16, 2021 Tr. 199:1-8 (“Google has a set of, as -- as you noted, policies that
are meant to prevent reidentifiability, prevent joining of sort of sensitive IDs in terms of, say,
signed in and signed out. So the vast majority of the way all of our systems work, we maintain a
very strict separation.”); Berntson Mar. 18, 2022 Tr. 105:10-12 (“I'm not aware of an instance
where        is joining IDs together for the purpose of serving personalized ads.”); Jun Mar. 1,
2022 Tr. 146:10-19 (“[O]ne of the privacy principle[s] I learned during the project was we
wanted to honor civilians’ privacy and wanted to make sure it's not easy to map from device ID
or biscotti ID to GAIA ID because GAIA ID might be linked to Gmail account which Google
might be asked to retrieve the Gmail account contents through any government order, something
like that. So vice versa. So we wanted to prevent such ID joinability to protect civilians’
privacy.”).
284
    See, e.g., GOOG-BRWN-00526782; GOOG-BRWN-00468598; GOOG-BRWN-00041778;
GOOG-BRWN-00468530.

                                                112
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 121 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

context of three National Science Foundation (NSF) grants, I have been involved in a number of

research efforts that require collection of data related to human subjects.285 Both the National

Institute of Health (NIH) and NSF have policies that researchers need to follow to protect the

privacy rights of human subjects.286 These regulations make grantee institutions responsible for

setting up "Institutional Review Boards" (IRBs) to review research protocols and designs and

ensure the protection of the rights of human subjects including privacy rights. IRBs review

research protocols and designs and are charged with approving (or not) exceptions to ensure the

protection of the rights of human subjects including privacy rights in research institutions per

NSF/NIH regulations. Researchers collecting and working with sensitive data need to adhere to

university privacy policies. See, e.g., the University of Southern California’s (USC’s) policy287

and Stanford University’s policy.288

         207.   Like these IRBs, Google used an “Internal Privacy Policy Team” that (i)

maintains privacy, data access, and other associated policies; and (ii) maintains control over

those policies.289



285
    National Science Foundation, SaTC: Frontiers: Collaborative: Protecting Personal Data Flow
on the Internet, Award# (USC): 1956435; National Science Foundation, CNS Core: Medium:
Collaborative Research: Privacy-Preserving Mobile Crowdsourcing, Award# (USC): 1901488;
National Science Foundation, NeTS: Spectrum Sharing Systems for Wireless Networks:
Performance and Privacy Challenges.
286
             National          Science          Foundation,            “Human            Subjects,”
https://www.nsf.gov/bfa/dias/policy/human.jsp (last visited June 3, 2022); National Institutes of
Health,     "Protecting     Sensitive   Data     and Information Used              in Research,"
https://grants.nih.gov/grants/policy/nihgps/html5/section_2/2.3.12_protecting_sensitive_data_an
d_information_used_in_research.htm (updated Dec. 2021).
287
    Office for the Protection of Research Subjects, USC, https://oprs.usc.edu/policies/ (last
visited June 3, 2022); Office for the Protection of Research Subjects, USC, “Chapter 10:
Privacy,                     Confidentiality                     and                      HIPAA,”
https://oprs.usc.edu/policies/privacy-confidentiality-and-hipaa/ (last visited June 3, 2022).
288
      Research Compliance Office, Stanford University, HRPP Policy Manual.pdf,
https://researchcompliance.stanford.edu/panels/hs/policies (last visited June 3, 2022).
289
    GOOG-BRWN-00200355, at -361-65.

                                               113
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 122 of 215
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 123 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

information.”294 USC’s policy further specifies that researchers should “[e]ncrypt data” and use

“[e]ncryption for transmission.”295 Google’s users data access policy similarly states that “[u]ser

Data must be strongly encrypted at rest and in transit.”296

         211.    Anonymization of data is strongly encouraged and anonymization policies are

thoroughly tested. For example, Stanford’s policy states that “[the IRB] evaluates the proposed

anonymizing techniques, (e.g., de-identification, coding), storage plans, access restrictions, data

security methods (e.g., encryption) and other relevant factors in making its final determination

concerning the appropriateness and adequacy of confidentiality protections,”297 and the

corresponding Google’s policy states that “[a]ll User Data anonymization schemes should be

approved by the Privacy Working Group's Anonymization Team [because] [a]nonymizing data

is difficult to get right.”298

         4.      Google’s Security Practices Closely Align With Best Practices In The
                 Network Security Industry
         212.    As discussed further below, it is my opinion that Google’s information security

practices regarding the Data At Issue are aligned with best practices in the network security

industry.

         213.    There are a number of organizations that promulgate standards prescribing best

practices for information security. For example, the Center for Internet Security (CIS) issues

periodic “Criticial Security Controls” guidelines that have been cited by the California Attorney

294
        National     Institute     of    Health,    “NIH       Grants      Policy     Statement,”
https://grants.nih.gov/grants/policy/nihgps/html5/section_2/2.3.12_protecting_sensitive_data_an
d_information_used_in_research.htm (updated Dec. 2021).
295
    Office for the Protection of Research Subjects, USC, “Chapter 10: Privacy, Confidentiality
and HIPAA,” https://oprs.usc.edu/policies/privacy-confidentiality-and-hipaa/ (last visited June
3, 2022).
296
    GOOG-CABR-05455683, at -684.
297
      Research Compliance Office, Stanford Univ., HRPP Policy Manual.pdf,
https://researchcompliance.stanford.edu/panels/hs/policies (last visited June 2022), at 144.
298
    GOOG-CABR-05455683, at -684.

                                                115
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 124 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

General as “security measures with a high payoff . . . [that are] the priority actions that should

be taken as the starting point of a comprehensive program to provide reasonable security.”299

CIS recently released Version 8 of this standard, which consists of eighteen recommended

security measures.300 “The CIS Controls were developed starting in 2008 by an international,

grass-roots consortium bringing together companies, government agencies, institutions, and

individuals from every part of the ecosystem (cyber analysts, vulnerability-finders, solution

providers, users, consultants, policy-makers, executives, academia, auditors, etc.) who banded

together to create, adopt, and support the CIS Controls.”301 “The expert volunteers who develop

the Controls apply their first-hand experience to develop the most effective actions for cyber

defense.”302

         214.   A number of the CIS recommendations are particularly pertinent to the Data At

Issue:

                a.     CIS Critical Security Control 3 (“CSC No. 3”): Data Protection

                       (“Develop processes and technical controls to identify, classify, securely

                       handle, retain, and dispose of data.”)

                b.     CIS Critical Security Control 6 (“CSC No. 6”): Access Control

                       Management (“Use processes and tools to create, assign, manage, and

                       revoke access credentials and privileges for user, administrator, and

                       service accounts for enterprise assets and software.”)



299
      Kamala D. Harris, “California Data Breach Report,” Cal. Dept. of Justice,
https://oag.ca.gov/breachreport2016 (2016), at 31.
300
     Center For InternetSecurity, CIS Critical Security Controls Version 8 (“CIS Controls”),
https://www.cisecurity.org/controls/v8 (last visited June 6, 2022).
301
        Center for Internet Security, “CIS Critical Security Controls FAQ,:
https://www.cisecurity.org/controls/cis-controls-faq (last visited June 3, 2022).
302
    Id.

                                               116
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 125 of 215
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 126 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                c.     Pursuant to Google’s User Data Access Policy, “[a]ll User Data at Google

                       has a Data Owner.”309

                d.     Google’s User Data Access Policy also requires that “User Data must be

                       strongly encrypted at rest and in transit.”310

                e.     Google’s retention policies applicable to user data establish retention

                       periods applicable to user data in logs.311

         217.   CSC No. 6 states that “[t]here should be a process where privileges are granted

and revoked for user accounts . . ideally . . . based on enterprise role and need through

role-based access.”312 “Role-based access is a technique to define and manage access

requirements for each account based on: need to know, least privilege, privacy requirements,

and/or separation of duties.”313

         218.   In my opinion, Google’s policies and restrictions applicable to logs containing

user data align with CSC No. 6 for the following reasons:

                a.     Google’s policies establish “special rules” that, inter alia, govern

                       “[a]uthorization and access control,” “[a]ccessing data about users,”

                       “[r]e-identifying users from the data,” “[c]onducting multi-day analysis,”

                       “[s]haring this data with others,” and “[b]uilding tools that read or

                       analyze this data.”314




309
    GOOG-CABR-00073875, at -875.
310
    Id. at -876 (emphasis in original).
311
    See, e.g., GOOG-CABR-00051478; GOOG-CABR-04717190; GOOG-CABR-00057420.
312
    CIS Controls at 24.
313
    Id.
314
    GOOG-CABR-00892455, at -455.

                                                118
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 127 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                b.     These special rules are contained in a “User Data Access Policy,” and

                       “User Data Access Authorization Guidelines,” that “apply to logs

                       data.”315

                c.     Pursuant to Google’s User Data Access Policy, “User Data access is only

                       granted for authorized, valid Google business purposes,” “[a]ll User Data

                       access must be authorized by the appropriate User Data Delegate,” and

                       “[a]uthorized access to User Data for one purpose does not mean it can

                       be used for another purpose . . . [which means that you can] not access

                       User Data for anything other than the original authorized purpose without

                       seeking additional authorization.”316

                                               ***

         219.   The analyses and opinions in this report are based on the results of my research,

my review and analysis of the materials provided to me, my education and training, and my

experience on related topics. As additional materials and information become available or if the

scope of discovery or the causes of action change in any material way, I reserve the right to

amend, supplement, or update my analysis and conclusions.



Respectfully submitted by,




______________________
Dr. Konstantinos Psounis
Date: June 7, 2022

315
      Id.
316
      GOOG-CABR-00073875, at -875.

                                               119
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 128 of 215

                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

V. APPENDICES
A.      Curriculum Vitae


EDUCATION

STANFORD UNIVERSITY Stanford, CA
Department of Electrical Engineering     Jan. 1999 - Dec. 2002
Ph.D. degree in Electrical Engineering. Thesis title: “Probabilistic Methods for Web Caching
and Performance Prediction of IP Networks and Web Farms”, supervised by Prof. Balaji
Prabhakar.

STANFORD UNIVERSITY Stanford, CA
Department of Electrical Engineering      Sep. 1997 - Jan. 1999
M.S. degree in Electrical Engineering. GPA: 4.0/4.0. (Actual GPA 4.05/4.0.)

NATIONAL TECHNICAL UNIVERSITY OF ATHENS Athens, Greece
Electrical and Computer Engineering Department Sep. 1992 - June 1997
Diploma in Electrical and Computer Engineering. GPA: 9.74/10.0. (Graduated ranking 1st in
the class of ’97.)

WORK IN ACADEMIA

UNIVERSITY OF SOUTHERN CALIFORNIA Los Angeles, CA
Professor Nov. 2017 - now
Associate Chair of ECE department Jan. 2019 - Aug 2019
Associate Professor May. 2009 - Nov. 2017
Assistant Professor Sep. 2003 - Apr. 2009
Electrical and Computer Engineering (ECE) and (jointly) Computer Science departments
Research interests: Modeling, performance analysis, algorithm design, and system
implementation for efficient and privacy-preserving networked, distributed systems, including
the Internet and the web, data centers, CDNs and cloud systems, WiFi/cellular and spectrum
sharing systems, sensor and IoT systems, mobile ad hoc and delay tolerant networks, peer to
peer systems, and autonomous vehicles systems.

STANFORD UNIVERSITY Stanford, CA
Visiting Associate Professor Aug. 2009 - Dec. 2009
Electrical Engineering department.

STANFORD UNIVERSITY                  Stanford, CA
Postdoctoral Research Fellow        Jan. 2003 - Aug. 2003
Scheduling of Internet flows and multi-server systems.




                                            120
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 129 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER



WORK IN INDUSTRY

ADANT TECHNOLOGIES
Consultant    Jan. 2017 - May 2018
WiFi 802.11ax and smart antennas.

QUANTENNA COMMUNICATIONS
Consultant Jan. 2015 - 2016
Advanced MAC and PHY layer techniques applied to next generation wireless networks.

HONEYWELL
Consultant    Sep. 2013 - Jun. 2014
Sensor-network based fire alarm systems.

SPACEMUX, INC.
Co-founder and CEO May 2013 - Dec. 2014
Increasing wireless bandwidth and speed tenfold.

CISCO SYSTEMS San Jose, CA
Consultant    Sep. 2009 - Dec. 2009
Vehicular multi-technology wireless connectivity.

FINEGROUND NETWORKS INC. Cambell, CA
Technology Architect       Sep. 2000 - June 2001
Accelerating web downloads using delta encoding.

TEACHING EXPERIENCE

   ● Co-creator and instructor for the USC graduate class EE597: “Wireless Networks”.
     Content: Introduction to current and next generation wireless networking technologies,
     detailed exploration of fundamental architectural and design principles used at all layers.
   ● Instructor for the USC graduate class EE503: “Probability for Electrical and Computer
     Engineering”. Content: Probability, discrete and continuous time Markov chains, basic
     queueing theory.
   ● Instructor for the USC undergrad class EE465: “Probabilistic Methods in Computer
     Systems Modelling”. Content: Probability, Markov chains, simulations.

   ● Creator and instructor for the USC graduate class EE650: “Advance Topics in Computer
     Networks: Mathematical tools for analyzing wired and wireless networks”. Content:
     Applications to networking problems of probability, queueing, Lyapunov functions, fluid
     limits, bipartite matchings, stable marriages, random walks on graphs, deterministic and
     stochastic optimization, statistical analysis, information theory, game theory.




                                             121
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 130 of 215

                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




PHD STUDENT SUPERVISION

   ● Namo Asavisanu (Aug. 2021 - now)
   ● Sean Hackett (co-advised with Prof. Aleksandra Korolova, Aug. 2021 - now)
   ● Jiang Zhang (Aug. 2019 - now)
   ● Lillian Clark (co-advised with Prof. Bhaskar Krisnamachari, Sep. 2018 - now)
   ● Hang Qiu (co-advised with Prof. Ramesh Govindan, Jan. 2015 - June 2021, currently a
     Post Doctoral Fellow at Stanford University)
   ● Po-Han Huang (Sep. 2015 - Jan. 2020, currently at Facebook, California)
   ● Kaidong Wang (Sep. 2014 - Dec. 2019, currently at Qualcomm, California)
   ● Yonglong Zhang (Sep. 2013 - Dec. 2018, currently at Facebook, California)
   ● Matthew Clark (Sep. 2013 - Dec. 2017, currently at Aerospace Corporation, California)
   ● Weng Chon Ao (Sep. 2012 - Dec. 2017, currently at Qualcomm, California)
   ● Antonios Michaloliakos (Aug. 2010 - Sep. 2016, currently at Broadcom, California)
   ● Ranjan Pal (co-advised with Prof. Leana Golubchik, Jan. 2009 - Aug. 2014, currently
     Assistant Research Professor at the University of Michigan, Ann Arbor)
   ● Vlad Horia Balan (Sep. 2007 - Aug. 2013, currently at Google, California)
   ● Wei-Cherng Liao (Sep. 2004 - Dec. 2008, currently at MediaTek, Taiwan)
   ● Apoorva Jindal (Sep. 2003 - Dec. 2008, currently at Uber, California)
   ● Fragkiskos Papadopoulos (Sep. 2003 - Dec. 2007, currently Associate Professor at
     Cyprus University of Technology, Cyprus)

   ● Thrasyvoulos Spyropoulos (Sep. 2003 - Jun. 2006, currently Associate Professor at
     Eurecom, France)
PROPOSALS FUNDED

NSF SATC GRANT Oct. 2020 - Sep. 2025
National Science foundation (NSF) award under the Secure and Trustworthy Computing (SaTC)
call.
Proposal title: SaTC: Frontiers: Collaborative: Protecting Personal Data Flow on the Internet.

NSF CNS GRANT        Oct. 2020 - Sep. 2023



                                             122
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 131 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

National Science foundation (NSF) award under the Computer and Networked Systems (CNS)
call.
Proposal title: CNS Core: Medium: Network-Enabled Cooperative Perception for Future
Autonomous Vehicles.

NSF NETS GRANT Sep. 2019 - Aug. 2022
National Science foundation (NSF) award under the Networking Technology and Systems
(NeTS) call.
Proposal Title: CNS Core: Medium: Collaborative Research: Privacy-Preserving Mobile
Crowdsourcing.

CISCO SYSTEMS GRANT April 2019
Research grant from the Cisco University Research Program.
Proposal Title: Virtual and augmented reality over next generation WiFi.

CISCO SYSTEMS GRANT Dec. 2016
Research grant from the Cisco University Research Program. Proposal Title: Data-driven formal
optimization of data centers.

NSF NETS GRANT Sep. 2016 - Aug. 2020
National Science foundation (NSF) award under the Networking Technology and Systems
(NeTS) call.
Proposal Title: Spectrum Sharing Systems for Wireless Networks: Performance and Privacy
Challenges.

ADANT TECHNOLOGIES GRANT June 2016
Research grant from Adant Technologies.
Proposal Title: Using reconfigurable antenna systems with WiFi communication devices.

HUAWEI GRANT May 2016
Research grant from Huawei.
Proposal Title: Addressing wireless bandwidth demand via asynchronously coordinated
multi-cell deployments.

ADANT TECHNOLOGIES GRANT Dec. 2015
Research grant from Adant Technologies.
Proposal Title: Asynchronous coordination of WiFi transmitters equipped with smart
antennas for enhanced spectral efficiency.

NSF EARS GRANT Sep. 2014 - Aug. 2019
National Science foundation (NSF) award under the Enhancing Access to the Radio Spectrum
(EARS) crosscutting program.
Proposal Title: Future Wireless Broadband Access: Cross-Optimizing Hardware, Physical and
Network Layers.

CISCO SYSTEMS GRANT May 2014



                                              123
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 132 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

Research grant from the Cisco University Research Program.
Proposal Title: Rateless encoded UDP for error-resilient wireless links.

ARMY RESEARCH LABORATORY (ARL) GRANT Sep. 2009 - Aug. 2014
CTA: Communications and Networking Academic Research Center.
Proposal Title: QUANTA: Quality of Information-Aware Networks for Tactical Applications.

DOCOMO LABS GRANT Sep. 2011 - 2013
Research support from the DoCoMo Labs, US. Proposal Title: MIMO systems with TDD

CISCO SYSTEMS GRANT Sep. 2011 - 2013
Research grant from the Cisco University Research Program. Proposal Title: Efficient airtime
allocation in wireless networks.

MING HSIEH INSTITUTE (MHI) GRANT May 2011 - 2013
MHI grant to build a large scale software radio testbed and implement distributed MIMO,
interference alignment and massive MIMO systems, as well as perform channel sounding and
modelling.
Proposal Title: Large-Scale Software-Radio Testbed.

METRANS TRANSPORTATION CENTER GRANT Aug. 2009 - Aug. 2010
METRANS Transportation Center grant to conduct research on metropolitan transportation
issues.
Proposal title: End-to-end performance in vehicular networks with an emphasis on safety and
security applications.

CISCO SYSTEMS GRANT Sep. 2008
Research grant from the Cisco University Research Program.
Proposal Title: Neighborhood centric transport for home networking environments.

NSF NETS GRANT Aug. 2008 - Aug. 2011
National Science foundation (NSF) award under the Networking Technology and Systems
(NeTS) call.
Proposal title: Contention-Awareness in Mesh Transport: Theory and Practice.

CISCO SYSTEMS GRANT Apr. 2008
Research grant from the Cisco University Research Program.
Proposal Title: TCP challenges in multi-hop wireless networks. From the networking
workshop “The Future of TCP: Train-wreck or Evolution?”.

NSF REU SITE GRANT Mar. 2008 - Mar. 2011
Grant to establish a National Science Foundation (NSF) Research Experiences for
Under-graduates (REU) site within the Computer Science department at the Viterbi School of
Engineering.
Proposal Title: Coordination, Communication, Autonomy: Principles and Technologies.




                                               124
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 133 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




VSOE INNOVATIVE RESEARCH FUND GRANT Dec. 2007 - Dec. 2008
Fund to initiate a Viterbi School of Engineering (VSoE) invited workshop on Wireless
Networks. Proposal title: Establishing a New USC Invited Workshop on Theory and Practice in
Wireless Networks.

METRANS TRANSPORTATION CENTER GRANT                           Oct. 2007 - Dec. 2008
METRANS Transportation Center grant to conduct research on metropolitan transportation
issues.
Proposal title: Efficient Routing for Safety Applications in Vehicular Networks.

NSF NETS GRANT Aug. 2005 - Aug. 2008
National Science foundation (NSF) award under the Networking Technology and Systems
(NeTS) call.
Proposal title: Efficient Routing in Delay Tolerant Networking.

ZUMBERGE FACULTY RESEARCH AND INNOVATION GRANT                             July 2005 - June
2006
The James H. Zumberge faculty research and innovation award is granted to a selected number
of Professors at the University of Southern California. Proposal title: Routing in Intermittently
Connected Mobile Networks.

CHARLES LEE POWELL SCHOLARSHIP GRANT Dec. 2003 - Dec. 2004
The Charles Lee Powell grant is granted to a selected number of Assistant Professors at the
University of Southern California.

AWARDS

ACM DISTINGUISHED MEMBER Nov. 2019
The ACM Distinguished Member program recognizes up to 10 percent of ACM worldwide
membership with at least 15 years of professional experience who have achieved significant
accomplishments or have made a significant impact on the computing field.

IEEE FELLOW Jan. 2018
The IEEE Grade of Fellow is conferred by the IEEE Board of Directors upon a person with an
outstanding record of accomplishments in any of the IEEE fields of interest. The total number
selected in any one year cannot exceed one-tenth of one- percent of the total voting
membership. IEEE Fellow is the highest grade of membership and is recognized by the
technical community as a prestigious honor and an important career achievement.

DISTINGUISHED MEMBER OF 2018 IEEE INFOCOM TPC AWARD 2018
The IEEE Communications Society awards annually a select number of TPC members of its
flagship conference IEEE Infocom with a Distinguished Member award.

DISTINGUISHED MEMBER OF 2016 IEEE INFOCOM TPC AWARD                        2016



                                              125
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 134 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

The IEEE Communications Society awards annually a select number of TPC members of its
flagship conference IEEE Infocom with a Distinguished Member award.

ACM NOTABLE ARTICLE IN COMPUTING - BEST OF 2013 2014
Selection of paper “Modelling BitTorrent-like systems with many classes of users”, W.-C. Liao,
F. Papadopoulos, K. Psounis, and C. Psomas, ACM Transactions on Modelling and Computer
Simulation, Vol. 23, Issue 2, Article No. 13, May 2013.

MEPC BUSINESS PLAN COMPETITION - 2ND PLACE                       2013
Presentation of SpaceMUX Inc., a USC spinoff startup specializing in advanced physical layer
techniques applied to next generation wireless networks.

ACM SENIOR MEMBER AWARD Jan. 2009
The Senior Member grade recognizes those ACM members with at least 10 years of prof
essional experience and 5 years of continuous professional membership who have demonstrated
performance that sets them apart from their peers.

IEEE SENIOR MEMBER AWARD                        Nov. 2008
Qualifications for this distinction are at least ten years of professional practice and five years of
significant performance as demonstrated by substantial engineering responsibility or
achievement, publication of engineering and technical papers, books or inventions, and the
development and teaching of engineering courses.

FUTURE OF TCP BEST PRESENTATION AWARD                Apr. 2008
“Best and Most Compelling Presentation and Demonstration Award” at the networking
workshop “The Future of TCP: Train-wreck or Evolution?” held at Stanford University and
sponsored by Cisco Systems.

ZUMBERGE FACULTY RESEARCH AND INNOVATION AWARD                         July 2005
The James H. Zumberge faculty research and innovation award is granted to a selected number
of Professors at the University of Southern California.

CHARLES LEE POWELL SCHOLARSHIP AWARD                    Dec. 2003
The Charles Lee Powell award is granted to a selected number of Assistant Professors at the
University of Southern California.

ILLEANA AND ERIC BENHAMOU STANFORD GRADUATE FELLOWSHIP 1997 - 2002
Fellowship is awarded for four years to a very select number of PhD students based on
academic merit.

BEST-STUDENT NATIONAL TECHNICAL UNIVERSITY OF ATHENS AWARD                           1997
Awarded yearly to the student that graduates with the highest GPA across all departments of
National Technical University of Athens.




                                                126
  Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 135 of 215

                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER



OTHER GRADUATE STUDIES AWARDS                      1997 - 1998
Regent’s Fellowship by University of California Berkeley, Charles Lee Powell Foundation
Graduate Fellowship by Caltech, Gordon Y. S. Wu Fellowship in Engineering by Princeton
University, Sage Fellowship by Cornell University.

PUBLICATIONS

REFEREED JOURNALS

   1. L. Clark, J. Galante, B. Krishnamachari, and K. Psounis. “A Queue-Stabilizing
      Framework for Networked Multi-Robot Exploration”, IEEE Robotics and Automation
      Letters, February 2021.
   2. W. Chon Ao, P. Huang and K. Psounis. “Joint Workload Distribution and Capacity
      Augmentation in Hybrid Datacenter Networks”, IEEE/ACM Transactions on
      Net-working, October 2020.
   3. R. Pal, K. Psounis, J. Crowcroft, F. Kelly, P. Hui, J. Kelly, A. Chatterjee, L. Golubchil,
      and S. Tarkoma. “When Are Cyber Blackouts in Modern Service Networks Likely? A
      Network Oblivious Theory On Cyber (Re)Insurance Feasibility”, ACM Transactions on
      Management Information Systems, Article No.: 5, June 2020.
   4. M. Clark and K. Psounis. “Optimizing Primary User Privacy in Spectrum Sharing
      Systems”, IEEE/ACM Transactions on Networking, Vol. 28, Issue 2, April 2020.
   5. W. Chon Ao and K. Psounis. “Resource-constrained Replication Strategies for
      Hierarchical and Heterogeneous Tasks”, IEEE Transactions on Parallel and Distributed
      Systems, Vol. 31, Issue 4, June 2020.
   6. K. Wang and K. Psounis. “Efficient scheduling and resource allocation in 802.11ax
      multi-user transmissions”, Computer Communications, Elsevier, Vol. 152, pp.171-186,
      February 2020.
   7. R. Pal, L. Golubchik, K. Psounis and T. Bandyopadhyay. “On Robust Estimates of
      Correlated Risk in Cyber-Insured IT Firms: A First Look at Optimal AI-Based Estimates
      under Small Data”, ACM Transactions on Management Information Systems, Article
      No.: 9, October 2019.
   8. Y. Zhang and K. Psounis. “Efficient Indoor Localization via Switched-beam Antennas”,
      IEEE Transactions on Mobile Computing, June 2019.
   9. P. Huang and K. Psounis, “Optimal Backhauling for Dense Small-Cell Deployments
      Using mmWave Links”, Computer Communications Journal, Elsevier, Vol: 139, April
      2019.
   10. R. Pal, L. Golubchik, K. Psounis, and P. Hui, “Security Pricing as Enabler of
       Cyber-Insurance: A First Look at Differentiated Pricing Markets”, IEEE Transactions on
       Dependable and Secure Computing, Vol. 16, Issue 2, March-April 2019.


                                             127
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 136 of 215

              CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

11. W. Chon Ao and K. Psounis. “Data-locality-aware User Grouping in Cloud Radio
    Access Networks”, IEEE Transactions on Wireless Communications, Vol: 17, Issue: 11,
    Nov. 2018.
12. Y. Zhang and K. Psounis. “Consistently High MIMO Rates via Switched-beam
    Antennas”, IEEE/ACM Transactions on Networking, Vol: 26, Issue: 5, Oct. 2018.
13. W. Chon Ao and K. Psounis. “Fast Content Delivery via Distributed Caching and Small
    Cell Cooperation”, IEEE Transactions on Mobile Computing, Vol: 17, Issue: 5, May
    2018.
14. R. Pal, L. Golubchik, K. Psounis, “Improving Cyber-Security via Profitable Insurance
    Markets”, ACM SIGMETRICS Performance Evaluation Review, Vol: 45, Issue 4, Mar.
    2018.
15. M. Clark and K. Psounis. “Trading Utility for Privacy in Shared Spectrum Access
    Systems”, IEEE/ACM Transactions on Networking, Vol. 26, Issue 1, February 2018.
16. A. Michaloliakos, W. C. Ao, K. Psounis and Y. Zhang. “Asynchronously Coordinated
    Multi-timescale beamforming architecture for multi-cell networks”, IEEE/ACM
    Transactions on Networking, Vol. 26, Issue 1, February 2018.
17. W. Chon Ao and K. Psounis. “Approximation Algorithms for Online User Association
    in Multi-Tier Multi-Cell Mobile Networks”, IEEE/ACM Transactions on Networking,
    Vol: 25, Issue: 4, August 2017.
18. M. Clark and K. Psounis. “Equal Interference Power Allocation for Efficient Shared
    Spectrum Resource Scheduling”, IEEE Transactions on Wireless Communications, Vol:
    16, Issue 1, January 2017.
19. A. Michaloliakos, R. Rogalin, Y. Zhang, K. Psounis and G. Caire. “Performance
    Modeling of Next-Generation WiFi Networks”, Computer Networks Journal, Vol. 105,
    pp.150-165, August 2016.
20. R. Rogalin, O. Y. Bursalioglu, H. Papadopoulos, G. Caire, A. Molisch, A.
    Michaloli-akos, V. Balan, and K. Psounis. “Scalable Synchronization and Reciprocity
    Calibration for Distributed Multiuser MIMO”, IEEE Transactions on Wireless
    Communications, Vol. 13, Issue 4, pp. 1815 - 1831, April 2014.
21. H. V. Balan, R. Rogalin, A. Michaloliakos, K. Psounis and G. Caire. “AirSync: Enabling
    Distributed Multiuser MIMO with Full Spatial Multiplexing”, IEEE/ACM Transactions
    on Networking, Vol. 21, Issue 6, pp. 1681 - 1695, December 2013.
22. A. Jindal and K. Psounis. “On the Efficiency of CSMA-CA Scheduling in Wireless
    Multihop Networks”, IEEE/ACM Transactions on Networking, Vol. 21, Issue 5, pp. 1392
    - 1406, October 2013.
23. W.-C. Liao, F. Papadopoulos, K. Psounis, and C. Psomas. “Modelling BitTorrent-like
    systems with many classes of users”, ACM Transactions on Modelling and Computer
    Simulation, Vol. 23, Issue 2, Article No. 13, May 2013.


                                         128
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 137 of 215

              CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

24. A. Jindal, K. Psounis, and M. Liu, “CapEst: A Measurement-based Approach to
    Estimating Link Capacity in Wireless Networks”, IEEE Transactions on Mobile
    Computing, Vol. 11, Iss. 12, pp. 2098–2108, May 2012.
25. S. Rangwala, A. Jindal, K.-Y. Jang, K. Psounis, and R. Govindan.
    “Neighborhood-centric congestion control for multi-hop wireless mesh networks”,
    IEEE/ACM Transactions on Networking, Vol. 19, No. 6, pp. 1797–1810, December
    2011.
26. W.-J. Hsu, T. Spyropoulos, K. Psounis and A. Helmy. “Modelling Spatial and Temporal
    Dependencies of User Mobility in Wireless Mobile Networks”, IEEE/ACM
    Trans-actions on Networking, Vol. 17, Iss. 5, pp. 1564–1577, October 2009.
27. A. Jindal and K. Psounis. “The Achievable Rate Region of 802.11-Scheduled Multihop
    Networks”, IEEE/ACM Transactions on Networking, Vol. 17, Iss. 4, pp. 1118–1131,
    August 2009.
28. A. Jindal, and K. Psounis. “Contention-Aware Performance Analysis of
    Mobility-Assisted Routing”, IEEE Transactions on Mobile Computing, Vol. 8, No. 2,
    145-161, February 2009.
29. T. Spyropoulos, K. Psounis, and C. Raghavendra. “Efficient Routing in Intermittently
    Connected Mobile Networks: The Multiple-copy Case”, IEEE/ACM Transactions on
    Networking, Vol. 16, Iss. 1, pp. 77–90, February 2008.
30. T. Spyropoulos, K. Psounis, and C. Raghavendra. “Efficient Routing in Intermittently
    Connected Mobile Networks: The Single-copy Case”, IEEE/ACM Transactions on
    Networking, Vol. 16, Iss. 1, pp. 63–76, February 2008.
31. F. Papadopoulos and K. Psounis. “Efficient Identification of Uncongested Internet Links
    for Topology Downscaling”, ACM SIGCOMM Computer Communication Review
    (CCR), Vol. 37, Issue 5, pp. 39–52, October 2007.
32. W.-C. Liao, F. Papadopoulos and K. Psounis. “Performance Analysis of BitTorrent-like
    Systems with Heterogeneous Users”, Performance Evaluation Journal, Vol. 64, Issues
    9–12, pp. 876-891, October 2007.
33. F. Papadopoulos, K. Psounis, and R. Govindan. “Performance Preserving Topological
    Downscaling of Internet-like Networks”, IEEE Journal on Selected Areas in
    Communications (JSAC), special issue on ”Sampling the Internet: Techniques and
    Applications”, Vol. 24, No. 12, pp. 2313-2326, December 2006.
34. W.-C. Liao, F. Papadopoulos, and K. Psounis. “A Peer-to-peer Cooperation
    Enhancement Scheme and its Performance Analysis”, Journal of Communications
    (JCM), Vol. 1, No. 7, pp. 24–35, November/December 2006.
35. A. Jindal and K. Psounis. “Modelling Spatially Correlated Data in Sensor Networks”,
    ACM Transactions on Sensor Networks, Vol. 2, Issue 4, pp. 466 - 499, November 2006.




                                         129
  Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 138 of 215

                CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

  36. S. Rangwala, R. Gummandi, R. Govindan, and K. Psounis. “Interference-aware Fair
      Rate Control in Wireless Sensor Networks”, ACM SIGCOMM Computer
      Communication Review (CCR), Vol. 36, Issue 4, pp. 63–74, October 2006.
  37. W.-C. Liao, F. Papadopoulos, and K. Psounis. “An Efficient Algorithm for Resource
      Sharing in Peer-to-peer Networks”, Lecture Notes in Computer Science, Springer, Vol.
      3976/2006, pp. 592–605, April 2006.
  38. K. Psounis, P. Molinero Fernandez, B. Prabhakar, and F. Papadopoulos. “Systems with
      Multiple Servers under Heavy-tailed Workloads”, Performance Evaluation Jour-nal,
      Vol. 62, Issue 1–4, pp. 456–474, October 2005.
  39. R. Pan, K. Psounis, B. Prabhakar, and D. Wischik. “SHRiNK: A Method for Enabling
      Scaleable Performance Prediction and Efficient Network Simulation”, IEEE/ACM
      Transactions on Networking, Vol. 13, No. 5, pp. 975–988, October 2005.
  40. J. Faruque, K. Psounis, and A. Helmy. “Analysis of Gradient-based Routing Protocols in
      Sensor Networks”, Lecture Notes in Computer Science, Springer-Verlag, Vol.
      3560/2005, pp. 258–275, July 2005.
  41. K. Psounis, A. Zhu, B. Prabhakar, and R. Motwani. “Modelling Correlations in
      Web-Traces and Implications for Designing Replacement Policies”, Computer Networks
      Journal, Vol. 45, No. 4, pp. 379–398, July 2004.
  42. K. Psounis, R. Pan, B. Prabhakar, and D. Wischik. “The Scaling Hypothesis:
      Simplifying the Prediction of Network Performance Using Scaled-down Simulations”,
      ACM SIGCOMM Computer Communication Reviews, Vol. 33, No. 1, pp. 35–40, January
      2003.
  43. K. Psounis and B. Prabhakar. “Efficient Randomized Web-Cache Replacement Schemes
      Using Samples from Past Eviction-Times”, IEEE/ACM Transactions on Networking,
      Vol. 10, No. 4, pp. 441-454, August 2002.
  44. K. Psounis, R. Pan, and B. Prabhakar. “An Approximate Fair Dropping Scheme for
      Variable Length Packets”, IEEE Micro, Vol. 21, No. 1, pp. 48–56, January/February
      2001.

  45. K. Psounis. “Active Networks, Applications, Security, Safety, and Architectures”, IEEE
      Communications Surveys Magazine, Vol. 2, No. 1, pp. 1–16, 1st quarter 1999.

CONFERENCE, PEER-REVIEWED, FULL-LENGTH PAPERS

  1. J. Zhang, K. Psounis, H. Muhammad, and Z. Shafiq, “HARPO: Learning to Subvert
     Online Behavioral Advertising”, to appear in NDSS, 2022.
  2. L. Clark, C. Andre, J. Galante, B.Krishnamachari, and K. Psounis, “TEAM:
     Trilat-eration for Exploration and Mapping with Robotic Networks”, in Proceedings of
     the 18th International Conference on Ubiquitous Robots, July 2021.




                                           130
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 139 of 215

              CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

3. L. Clark, J. Galante, B.Krishnamachari, and K. Psounis, “A Queue-Stabilizing
   Framework for Networked Multi-Robot Exploration”, in Proceedings of IEEE
   International Conference on Robotics and Automation (ICRA), May 2021.
4. P.-H. Huang and K. Psounis, “Efficient User-Cell Association for 360 Video Streaming
   over Wireless Networks”, in Proceedings of IFIP Networking, June 2020.
5. A. Petropulu, K. Psounis, and A. Al Hilli, “MIMO Radar Privacy Protection Through
   Gradient Enforcement in Shared Spectrum Scenarios”, in Proceedings of IEEE
   Inter-national Symposium on Dynamic Spectrum Access Networks (DySPAN), Newark,
   NJ, November 2019.
6. E. Alimpertis, A. Markopoulou, C. T. Butts and K. Psounis, “City-Wide Signal Strength
   Maps: Prediction with Random Forests”, in Proceedings of WWW, San Fransisco, CA,
   May 2019. (acceptance rate 15 percent)
7. A. Dimas, M. Clark, B. Li, K. Psounis and A. Petropulu, “On Radar Privacy in Shared
   Spectrum Scenarios”, in Proceedings of the International Conference on Acoustics,
   Speech, and Signal Processing (ICASSP), Brighton, UK, May 2019.
8. K. Wang and K. Psounis. “Scheduling and Resource Allocation in 802.11ax”, in
   Proceedings of IEEE Infocom, Honolulu, Hi, April 2018. (acceptance rate 19.2 percent)
9. M. Clark and K. Psounis. “Achievable Privacy-Performance Tradeoffs for Spectrum
   Sharing with a Sensing Infrastructure”, in Proceedings of the 14th Annual Conference on
   Wireless On-Demand Network Systems and Services (IFIP WONS), 8 pages (no pp.
   avail.), Isola, France, February 2018.
10. Y. Zhang and K. Psounis. “Efficient MU-MIMO via Switched-beam Antennas”, in
    Proceedings of ACM MOBIHOC, 10 pages (no pp. avail.), Madras, India, July 2017.
    (acceptance rate 17 percent)
11. M. Clark and K. Psounis. “Designing Sensor Networks to Protect Primary Users in
    Spectrum Access Systems”, in Proceedings of the 13th Annual Conference on Wireless
    On-Demand Network Systems and Services (IFIP/IEEE WONS), 8 pages (no pp. avail.),
    Jackson, WY, February 2017. (acceptance rate 30 percent)
12. P.-H. Huang and K. Psounis. “Efficient mmwave wireless backhauling for dense
    small-cell deployments”, in Proceedings of the 13th Annual Conference on Wireless
    On-Demand Network Systems and Services (IFIP/IEEE WONS), 8 pages (no pp. avail.),
    Jackson, WY, February 2017. (acceptance rate 30 percent)
13. W. Chon Ao and K. Psounis. “An Efficient Approximation Algorithm for Online
    Multi-Tier Multi-Cell User Association”, in Proceedings of ACM MOBIHOC, 10 pages
    (no pp. avail.), Paderborn, Germany, July 2016. (acceptance rate 18.7 percent)
14. H. Qiu, K. Psounis, G. Caire, K. Chugg and K. Wang. “High-Rate WiFi Broadcasting in
    Crowded Scenarios via Lightweight Coordination of Multiple Access Points”, in




                                         131
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 140 of 215

              CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

   Proceedings of ACM MOBIHOC, 10 pages (no pp. avail.), Paderborn, Germany, July
   2016. (acceptance rate 18.7 percent)
15. M. Clark and K. Psounis. “Can the Privacy of Primary Networks in Shared Spectrum be
    Protected?”, in Proceedings of IEEE INFOCOM, 9 pages (no pp. avail.), San Fransisco,
    April 2016. (acceptance rate 18.2 percent)
16. G. Zois, A. Michaloliakos, K. Psounis, V. Vassalos and I. Mourtos. “Non-asymptotic
    performance bounds for downlink MU-MIMO scheduling”, in Proceedings of the 12th
    Annual Conference on Wireless On-Demand Network Systems and Services (IFIP
    WONS), 8 pages (no pp. avail.), Italy, January 2016. (acceptance rate 30%)
17. W. Chon Ao and K. Psounis. “Distributed Caching and Small Cell Cooperation for Fast
    Content Delivery”, in Proceedings of ACM MOBIHOC, pp. 127–136, Hangzhou, China,
    June 2015. (acceptance rate 14.8%)
18. M. Clark and K. Psounis. “Efficient Resource Scheduling for a Secondary Network in
    Shared Spectrum”, in Proceedings of IEEE INFOCOM, pp. 1257–1265, Hong Kong,
    April 2015. (acceptance rate 19.0 percent)
19. R. Pal, L. Golubchik, K. Psounis, and P. Hui. “Will Cyber-Insurance Improve Network
    Security? A Market Analysis”, in Proceedings of IEEE INFOCOM, pp. 235–243,
    Toronto, Canada, April 2014. (acceptance rate 19.4 percent)
20. E. N. Ciftcioglu, A. Michaloliakos, K. Psounis, T. La Porta, and A. Yener. “Power
    Minimization with Quality-of-Information Outages”, in Proceedings of the IEEE
    Wire-less Communications and Networking Conference (WCNC), pp. 1655–1660,
    Istanbul, Turkey, April 2014.
21. R. Pal, L. Golubchik, K. Psounis, and P. Hui. “On A Way to Improve Cyber-Insurer
    Profits: When A Security Vendor Becomes the Cyber-Insurer”, in Proceedings of IFIP
    NETWORKING, 9 pages (no pp. avail.), New York, May 2013. (acceptance rate 26.2
    percent)
22. H. V. Balan, M. Segura, S. Deora, A. Michaloliakos, R. Rogalin, K. Psounis and G.
    Caire. “USC SDR, an easy-to-program, high data rate, real time software radio
    platform”, in Proceedings of the ACM SIGCOMM workshop of Software Radio
    Implementation Forum (SRIF 2013), pp. 25–30, Hong Kong, China, August 2013.
23. A. Michaloliakos, R. Rogalin, H. V. Balan, K. Psounis and G. Caire. “Efficient MAC for
    distributed multiuser MIMO systems”, in Proceedings of the 10th Annual Conference on
    Wireless On-Demand Network Systems and Services (IFIP/IEEE WONS), pp. 52–59,
    Alberta, March 2013.
24. H. V. Balan, R. Rogalin, A. Michaloliakos, K. Psounis and G. Caire, “Achieving High
    Data Rates in a Distributed MIMO System”, in Proceedings of ACM MOBICOM, pp.
    41–52, Istanbul, Turkey, August 2012. (acceptance rate 15.1 percent)




                                         132
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 141 of 215

             CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

25. M. Mongiovi, A. Singh, X. Yan, B. Zong, and K. Psounis, “Efficient multicasting for
    delay tolerant networks using graph indexing”, in Proceedings of IEEE INFOCOM, pp.
    1386–1394, Orlando, Florida, March 2012. (acceptance rate 18.0 percent)
26. R. Pal, L. Golubchik, and K. Psounis. “Aegis: A Novel Cyber-Insurance Model”, in
    Proceedings of the 2nd Conference on Decision and Game Theory for Security
    (GameSec 2011), pp. 131–150, College Park, Maryland, November 2011.
27. E. N. Ciftcioglu, A. Yener, R. Govindan, and K. Psounis. “Operational Information
    Content Sum Capacity: Formulation and Examples”, in Proceedings of the 14th
    International Conference on Information Fusion (FUSION), pp. 1–7, Chicago, July
    2011.
28. K.-Y. Jang, K. Psounis, and R. Govindan. “Simple Yet Efficient, Transparent Airtime
    Allocation for TCP in Wireless Mesh Networks”, in Proceedings of ACM CoNEXT,
    article no. 28, 12 pages, Philadelphia, December 2010. (acceptance rate 19 percent)
29. A. Jindal and K. Psounis. “Making the Case for Random Access Scheduling in Wireless
    Multi-hop Networks”, in Proceedings of IEEE INFOCOM, (mini-conference), pp. 1–5,
    San Diego, California, March 2010. (acceptance rate 24 percent)
30. S. Rangwala, A. Jindal, K.-Y. Jang, K. Psounis, and R. Govindan. “Understanding
    Congestion Control in Multi-hop Wireless Mesh Networks”, in Proceedings of ACM
    MOBICOM, pp. 291–302, San Fransisco, California, September 2008. (acceptance rate
    12 percent)
31. F. Papadopoulos and K. Psounis. “Scaling Properties of IEEE 802.11 Wireless
    Networks”, in Proceedings of the 6th Intl. Symposium on Modeling and Optimization in
    Mobile, Ad Hoc and Wireless Networks (WiOpt), 8 pages (no pp. avail.), Berlin,
    Germany, March 2008.
32. W.-C. Liao, F. Papadopoulos and K. Psounis. “Performance Analysis of BitTorrent-like
    Systems with Heterogeneous Users”, in Proceedings of the 26th International
    Sym-posium on Computer Performance, Modeling, Measurements and Evaluation (IFIP
    Performance), pp. 876–891, Cologne, Germany, October 2007. (acceptance rate 23
    percent)
33. W.-J. Hsu, T. Spyropoulos, K. Psounis and A. Helmy. “Modeling Time-variant User
    Mobility in Wireless Mobile Networks”, in Proceedings of IEEE INFOCOM, pp. 758–
    766, Anchorage , Alaska, USA, May 2007. (acceptance rate 18 percent)
34. A. Jindal, and K. Psounis. “Contention-Aware Analysis of Routing Schemes for Mobile
    Opportunistic Networks”, in Proceedings of ACM MOBISYS, on the 1st International
    Workshop on Mobile Opportunistic Networking (MobiOpp), pp. 1–8, San Juan, Puerto
    Rico, June 2007.
35. F. Papadopoulos and K. Psounis. “Predicting the Performance of Mobile Ad hoc
    Networks Using Scaled-down Replicas”, in Proceedings of IEEE International
    Conference on Communications (ICC), pp. 3928-3935, Glasgow, Scotland, June 2007.


                                        133
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 142 of 215

              CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

36. T. Spyropoulos, K. Psounis, and C. Raghavendra. “Spray and Focus: Efficient
    Mobility-Assisted Routing for Heterogeneous and Correlated Mobility”, in Proceedings
    of IEEE PERCOM, on the International Workshop on Intermittently Connected Mobile
    Ad hoc Networks (ICMAN), pp. 79–85, New York City, USA, March 2007.
37. A. Jindal and K. Psounis. “Fundamental Mobility Properties for Realistic Performance
    Analysis of Intermittently Connected Mobile Networks”, in Proceedings of IEEE
    PERCOM, on the International Workshop on Intermittently Connected Mobile Ad hoc
    Networks (ICMAN), pp. 59–64, New York City, USA, March 2007.
38. S. Rangwala, R. Gummandi, R. Govindan, and K. Psounis. “Interference-aware fair rate
    control in wireless sensor networks”, in Proceedings of ACM SIGCOMM, pp. 63–74,
    Pisa, Italy, September 2006. (acceptance rate 12 percent)
39. T. Spyropoulos, K. Psounis, and C. Raghavendra, “Performance Analysis of
    Mobility-assisted Routing, in Proceedings of ACM MOBIHOC, pp. 49–60, Florence,
    Italy, May 2006. (acceptance rate 10 percent)
40. W.-C. Liao, F. Papadopoulos, and K. Psounis. “An Efficient Algorithm for Resource
    Sharing in Peer-to-peer Networks”, in Proceedings of IFIP Networking, pp. 592–605,
    Coimbra, Portugal, May 2006. (acceptance rate 20 percent)
41. A. Jindal and K. Psounis. “Performance Analysis of Epidemic Routing under
    Contention”, in Proceedings of IWCMC, pp. 539–544, Vancouver, Canada, July 2006.
42. K. Psounis, P. Molinero Fernandez, B. Prabhakar, and F. Papadopoulos. “Systems with
    Multiple Servers under Heavy-tailed Workloads”, in Proceedings of the 24th
    International Symposium on Computer Performance, Modeling, Measurements and
    Evaluation (IFIP Performance), pp. 456–474, Juan-les-Pins, France, October 2005.
    (acceptance rate 22 percent)
43. A. Jindal and K. Psounis. “Modeling Spatially-correlated Data of Sensor Networks with
    Irregular Topologies”, in Proceedings of IEEE SECON, pp. 305–316, Santa Clara,
    California, USA, October 2005. (acceptance rate 27 percent)
44. T. Spyropoulos, K. Psounis, and C. Raghavendra. “Spary and Wait: An Efficient Routing
    Scheme for Intermittently Connected Mobile Networks”, in Proceedings of ACM
    SIGCOMM workshop on Delay Tolerant Networking (WDTN), pp. 252–259
    Philadelphia, Philadelphia, USA, August 2005. (acceptance rate 22 percent)
45. J. Faruque, K. Psounis, and A. Helmy. “Analysis of Gradient-based Routing Protocols in
    Sensor Networks”, in Proceedings of IEEE/ACM DCOSS, pp. 258–275, Marina Del Rey,
    California, USA, June 2005. (acceptance rate 28 percent)
46. K. Psounis, A. Ghosh, B. Prabhakar, and G. Wang. “SIFT: a Simple Algorithm for
    Trucking Elephant Flows and Taking Advantage of Power Laws”, in Proceedings of the
    43rd Allerton Conference on Communication, Control, and Computing, 10 pages (no pp.
    avail.), Urbana-Champaign, Illinois, USA, September 2005.



                                         134
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 143 of 215

              CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

47. F. Papadopoulos, K. Psounis, and R. Govindan. “Performance-Preserving Network
    Downscaling”, in Proceedings of the 38th Annual Simulation Symposium (ANSS), pp.
    285–294, San Diego, California, April 2005.
48. A. Jindal and K. Psounis. “Modelling Spatially-correlated Sensor Network Data”, in
    Proceedings of IEEE SECON, pp. 162–171, Santa Clara, California, USA, October
    2004. (acceptance rate 19 percent)
49. T. Spyropoulos, K.Psounis, and C. Raghavendra. “Single-copy Routing in
    Intermit-tently Connected Mobile Networks”, in Proceedings of IEEE SECON, pp.
    235–244, Santa Clara, California, USA, October 2004. (acceptance rate 19 percent)
50. R. Pan, B. Prabhakar, K. Psounis, and D. Wischik. “SHRiNK: A Method for Scalable
    Performance Prediction and Efficient Network Simulation”, in Proceedings of IEEE
    INFOCOM, Vol. 3, pp. 1943–1953, San Fransisco, California, USA, April 2003.
    (acceptance rate 21percent)
51. K. Psounis, R. Pan, B. Prabhakar, and D. Wischik. “The Scaling Hypothesis:
    Sim-plifying the Prediction of Network Performance Using Scaled-down Simulations”,
    in Proceedings of ACM HOTNETS, pp. 35–40, Princeton, New Jersey, USA, October
    2002.
52. R. Pan, B. Prabhakar, K. Psounis, and M. Sharma. “A Study of the Applicability of a
    Scaling Hypothesis”, in Proceedings of ASCC, 6 pages (no pp. avail.), Singapore,
    Singapore, September 2002.
53. K. Psounis. “Class-based Delta Encoding: A Scalable Scheme for Caching Dynamic
    Web Content”, in Proceedings of IEEE ICDCS Workshops, pp. 799 - 805, Vienna,
    Austria, July 2002.
54. K. Psounis and B. Prabhakar. “A Randomized Web-cache Replacement Scheme”, in
    Proceedings of IEEE INFOCOM, Vol. 3, pp. 1407–1415, Anchorage, Alaska, USA,
    April 2001. (acceptance rate 23 percent)
55. R. Pan, B. Prabhakar, and K. Psounis. “CHOKe, A Stateless Active Queue
    Manage-ment Scheme for Approximating Fair Bandwidth Allocation”, in Proceedings
    of IEEE INFOCOM, Vol. 2, pp. 942–951, Tel Aviv, Israel, March 2000. (acceptance rate
    26 percent)
56. K. Psounis, R. Pan, and B. Prabhakar. “An Approximate Fair Dropping Scheme for
    Variable Length Packets”, in Proceedings of Hot Interconnects 8, pp. 2–10, Stanford,
    California, USA, August 2000.

57. K. Psounis, B. Prabhakar, and D. Engler. “A Randomized Cache Replacement Scheme
    Approximating LRU”, in Proceedings of the 34th annual conference on Information
    Sciences and Systems, 6 pages (no pp. avail.), Princeton, New Jersey, USA, March 2000.




                                         135
  Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 144 of 215

                CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




BOOK CHAPTERS

  1. K. Psounis and M. Clark. Privacy in Spectrum Sharing Systems with Applications to
     Communications and Radar, In Signal Processing for Joint Radar-Communications,
     Wiley-IEEE Press, 2021.

INVITED JOURNALS

  1. T. Spyropoulos, A. Jindal, and K. Psounis. “An Analytical Study of Fundamental
     Mobility Properties for Encounter-based Protocols”, International Journal of
     Au-tonomous and Adaptive Communications Systems, Vol. 1, Issue 1, pp. 440, July
     2008.

INVITED CONFERENCE PAPERS

  1. L. Clark, M. Clark, K. Psounis and P. Kairouz. “Privacy-utility trades in wireless data
     via optimization and learning”, in Proceedings of the Information Theory and
     Applications Workshop (ITA), 10 pages (no pp. avail.), San Diego, California, USA,
     February 2019.
  2. A. Dimas, B. Li, M. Clark, K. Psounis, A. Petropulu. “Spectrum Sharing Between Radar
     and Communication systems: Can the Privacy of the Radar be Preserved?”, in
     Proceedings of the Asilomar Conference on Signals, Systems and Computers, Pacific
     Grove, California, USA, October 2017.
  3. A. Michaloliakos, W. Chon Ao and K. Psounis. “Joint user-beam selection for hybrid
     beamforming in asynchronously coordinated multi-cell networks”, in Proceedings of the
     Information Theory and Applications Workshop (ITA), 10 pages (no pp. avail.), San
     Diego, California, USA, February 2016.
  4. Y. Zhang, D. Bethanabhotla, T. Hao and K. Psounis. “Near-optimal user-cell associ-ation
     schemes for real-world networks”, in Proceedings of the Information Theory and
     Applications Workshop (ITA), 10 pages (no pp. avail.), San Diego, California, USA,
     February 2015.
  5. A. Jindal, K. Psounis, and M. Liu. “CapEst: Estimating wireless link capacity in
     multi-hop networks”, in Proceedings of the Information Theory and Applications
     Workshop (ITA), 6 pages (no pp. avail.), San Diego, California, USA, February 2011.
  6. D. Antonellis, A. Mansy, K. Psounis, and M. Ammar. “Real time, distributed network
     classification for routing protocol selection in mobile ad hoc networks”, in Proceedings
     of the fourth international wireless Internet conference (WICON), 8 pages (no pp.
     avail.), Maui, Hawaii, November 2008.
  7. Y. Wang, A. Ahmed, B. Krishnamachari, and K. Psounis. “IEEE 802.11p perfor-mance
     evaluation and protocol enhancement”, in Proceedings of the IEEE Interna-tional



                                           136
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 145 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

       Conference on Vehicular Electronics and Safety, pp. 317–322, Columbus, Ohio, USA,
       September 2008.
   8. A. Jindal and K. Psounis. “Achievable Rate Region and Optimality of Multi-hop
      Wireless 802.11-Scheduled Networks”, in Proceedings of the Information Theory and
      Applications Workshop (ITA), 7 pages (no pp. avail.), San Diego, California, USA,
      January 2008.
   9. F. Papadopoulos and K. Psounis. “Application of the many sources asymptotic in
      downscaling Internet-like networks”, in Proceedings of the Information Theory and
      Applications Workshop (ITA), pp. 314–322, San Diego, California, USA, January 2007.

   10. A. Jindal and K. Psounis. “Optimizing Multi-Copy Routing Schemes for Resource
       Constrained Intermittently Connected Mobile Networks”, in Proceedings of the
       Forti-eth Asilomar Conference on Signals, Systems and Computers, pp. 2142–2146,
       Pacific Grove, California, USA, October 2006.

CITATIONS

   ● Total citations: 12997

   ● ·h-index: 38

(source: google scholar, accessed: Fall 2021)

ISSUED PATENTS

   ● G. Caire, K. Psounis. Composite beamforming to coordinate concurrent WLAN links.
     Quantenna Communications, Inc.
   ● US Patent No. 9,479,240, issued Oct. 2016.
   ● K. Psounis, G. Caire, H. V. Balan. AirSync: enabling distributed multiuser MIMO with
     full multiplexing gain. USC.
   ● US Patent No. 61,651,964, issued Jan. 2015.
   ● K. Psounis and J. Jawahar. Method and System for Class-based Management of
     Dynamic Content in a Networked Environment. Cisco Systems, Inc.
   ● US Patent No. 7,802,014, issued Sep. 2010.
   ● R. Pan, B. Prabhakar and K. Psounis. A Stateless Active Queue Management Scheme
     for Approximating Fair Bandwidth Allocation. Stanford.

   ● US Patent No. 7,324,442, issued Jan. 2008.

SELECTED PROFESSIONAL SERVICE

INTERNATIONAL CONFERENCES – ORGANIZING/EXECUTIVE COMMITTEE


                                                137
 Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 146 of 215

              CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


 ● Steering Committee, IFIP/IEEE WONS, 2017 - now.
 ● General Chair, ACM SIGMETRICS, 2018.
 ● General Chair, IFIP/IEEE WONS, 2017.
 ● Program Chair, IFIP/IEEE WONS, 2016.
 ● Program Chair, IEEE DCOSS workshop on Wireless Sensor Networks (PWSN), 2014.
 ● Program Chair, ACM MOBICOM workshop on Challenged Networks (CHANTS),
   2008.
 ● Workshop Chair, ACM SIGMETRICS 2008.
 ● Workshop Chair, USC Workshop on Theory and Practice in Wireless Networks, 2008.
 ● Publication Chair, ACM SIGMETRICS 2007.
 ● Panel Chair, ACM MOBIHOC, 2009.

 ● Panel Chair, IEEE CCW, 2008.

INTERNATIONAL CONFERENCES – TECHNICAL PROGRAM COMMITTEE

 ● IFIP/IEEE WONS 2013 - 2014, 2018, 2022
 ● IEEE INFOCOM 2005 - 2020.
 ● ACM SIGMETRICS 2008, 2014, 2015, 2017, 2020.
 ● ACM MOBIHOC, 2008 - 2010, 2017-2020.
 ● WiOpt 2016-2017.
 ● IEEE SECON 2007 - 2010.
 ● IFIP NETWORKING 2006 - 2010.
 ● ACM MOBICOM, 2009.
 ● IEEE ICNP 2009.
 ● IEEE WOWMOM workshop on Autonomic and Opportunistic Communications (AOC),
   2008 -2009.
 ● IEEE ICDCS workshop on Delay Tolerant Mobile Networks (DTMN), 2008.
 ● ACM MOBISYS workshop on Mobile Opportunistic Networks (MOBIOPP), 2007.

 ● IEEE PERCOM workshop on Intermittently Connected Mobile Ad hoc Networks
   (IC-MAN), 2007.



                                       138
  Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 147 of 215

                CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

JOURNALS

  ● Editorial Board, IEEE/ACM Transactions on Networking (ToN), 2015 - 2020.
  ● Editorial Board, IEEE Transactions on Mobile Computing (TMC), 2009 - 2019.
  ● Editorial Board, Computer Networks Journal, Elsevier, 2009 - 2010.
  ● Editorial Board, International Journal of Autonomous and Adaptive Communications
    Systems (IJAACS), 2008.

  ● Reviewer of IEEE/ACM Transactions on Networking, IEEE Journal on Selected Ar-eas
    in Communication, IEEE Transactions on Parallel and Distributed Systems, IEEE
    Transactions on Mobile Computing, ACM Transactions on Sensor networks, Elsevier
    Computer Networks Journal, Elsevier Performance Evaluation Journal, Elseviers Ad
    Hoc Networks Journal, Transportation Research Journal Part C, IEEE Transactions on
    Automatic Control.

GOVERNMENTAL AGENCIES

  ● NSF ML panel, 2020.
  ● NSF CAREER panel, 2019.
  ● NSF EARS meeting, 2016.
  ● NSF Future Internet Architecture Summit participant, 2009.
  ● NSF CRI panel member, 2008.
  ● NSF Wireless mobile workshop participant, 2007.
  ● NSF NeTS-NOSS panel member, 2005.

  ● Reviewer of NSF NeTS proposals.

PROFESSIONAL ASSOCIATIONS

  ● Institute of Electrical and Electronic Engineers (IEEE):
    IEEE Fellow, 2018 - now.
    Senior Member, 2008 - 2017.
    Member, 1998 - 2008.

  ● Association for Computing Machinery (ACM):
    ACM Distinguished Member, 2019 - now.
    Senior Member, 2009 - 2018.
    Member, 2001 - 2008.

  ● Technical Institution of Greece (TEE), 1997 - now.



                                           139
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 148 of 215

                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

LANGUAGES

English, Greek, French.

PRIOR TESTIMONY

January 19, 2022 Deposition in CA, Inc. et al v. Netflix, Inc., Case No. 2:21-cv-00080-JRG-RSP
(E.D. Tex.).




                                             140
                              Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 149 of 215

                                             CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         B. Table Of Opinions


  §       Opinion                                          Pages   ¶¶         Sub-Headings                      Pages    ¶¶

III.A.    Opinion 1: Mr. Hochman’s Opinion That            20-33   35-68      1. The Data At Issue Is Not 20-25          36-47
          Users Can Readily Be Identified From The                               Associated With A Google
          Data At Issue (# 18) Is Incorrect.                                     Account

                                                                              2. The Data At Issue Is Stored In 25-31    48-64
                                                                                 An Orphaned And Unidentified
                                                                                 State

                                                                              3. Privacy-Preserving   Technical 31-33    65-68
                                                                                 Barriers And Policies Prevent
                                                                                 Google From Re-Identifying
                                                                                 Logs Data

III.B.    Opinion 2: Mr. Hochman’s Opinions On
          Interception, Notice, And Deletion Of Private    33-37   69-76
          Browsing Information (# 4, 5, 6, 26, 31) Are
          Contrary To Industry Guidelines On Private
          Browsing.

III.C.    Opinion 3: Mr. Hochman’s Opinions On             37-42   77-85      1. Orphaned And Unidentified 37-41         78-83
          “Private Browsing Profiles,” Server-Side                               Interest Segments Are Not
          Processes, And Data Joinability (# 10, 18, 19,                         Cradle-To-Grave Profiles
          20) Are Inaccurate.
                                                                              2. Mr.      Hochman’s       Claims 41-42   84-85
                                                                                 Regarding Google’s Retention
                                                                                 Policies Show That These
                                                                                 Policies Prevent The Creation Of
                                                                                 Such Profiles



                                                                        141
                             Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 150 of 215

                                            CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


   §     Opinion                                          Pages   ¶¶         Sub-Headings                       Pages    ¶¶

III.D.   Opinion 4: Mr. Hochman’s Assertion That      42-43       86-89
         Google Used Private Browsing Information
         To Measure Conversions (# 14) Is Misleading.

III.E.   Opinion 5: Mr. Hochman’s Description Of          44-46   90-96
         Entropy (# 18) Is Incorrect.

III.F.   Opinion 6: Mr. Hochman’s Assertions On           46-53   97-108     1. Google Does Not Engage In 47-49          97-99
         Fingerprinting (# 9, 18) Are Misleading And                            Fingerprinting
         Unfounded.
                                                                             2. Google’s     Internal   Policies 49-50   100-102
                                                                                Expressly               Prohibit
                                                                                Fingerprinting

                                                                             3. Google’s System Architecture 51-53       103-108
                                                                                Supports                Google’s
                                                                                Anti-Fingerprinting Policy

III.G.   Opinion 7: Mr. Hochman’s Proposal to             53-70   109-141    1. Hochman’s      IP    +     UA 55-64      111-127
         Identify Class I (Chrome Class) (# 22) Is                              Fingerprinting Method Will Not
         Unreasonable and Unreliable.                                           Work

                                                                             2. Pseudonymous IDs Can Not Be 64-70        128-141
                                                                                Used To Reliably Identify
                                                                                Individuals

III.H    Opinion 8: Mr. Hochman’s Opinion That The        71-74   142-145
         “maybe_Chrome_incognito” Bit Reliably
         Detects Incognito Traffic (# 23) Is Incorrect.




                                                                       142
                            Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 151 of 215

                                           CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


   §    Opinion                                        Pages    ¶¶         Sub-Headings                     Pages   ¶¶

III.I   Opinion 9: Mr. Hochman’s Proposal To           74-83    146-161    1. Mr. Hochman’s Proposed Email 76-78    148-152
        Identify Class II (# 22) Is Unreasonable And                          Notification To All Google
        Unreliable.                                                           Account Holders Is Overly
                                                                              Broad And He Does Not
                                                                              Propose        A       Workable
                                                                              Methodology For Limiting The
                                                                              Notification To Class Members

                                                                           2. Mr.    Hochman’s     Proposed 79-83   153-161
                                                                              Methodology For Limiting Class
                                                                              II To Private Browsing Mode
                                                                              Users After Notification Is
                                                                              Unreliable

III.J   Opinion 10: Mr. Hochman’s Proposed             83-95    162-180
        Methods For Identifying Class Members (#
        22) Do Not–And Cannot–Account For Shared
        Devices or Accounts.

IV.A.   Opinion 11: Mr. Schneier’s Assertion That      96-99    181-186
        “Browsing Information Is Unique For Each
        User” Is Unsupported And Misleading.

V.B     Opinion 12: Mr. Schneier’s Claim That          99-105   187-193
        “Personal Data Is Difficult to Anonymize and
        Easy to De-anonymize” Is Unsupported And
        Is Incorrect For The Data At Issue.




                                                                     143
                          Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 152 of 215

                                        CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


  §    Opinion                                      Pages     ¶¶         Sub-Headings                    Pages     ¶¶

V.C.   Opinion 13: Mr. Schneier’s Assertion That    105-119   194-219    1. The Documents Mr. Schneier 106-109 196-202
       Google Has Not Taken Steps To Ensure That                            Cites Do Not Support His
       A User’s Choice To Sign Out Of A Google                              Conclusion
       Account Will Prevent Google From
       Associating The User’s Signed-Out Activity
                                                                         2. Additional Documents And 109-112       203-205
       With Any Signed-In Data Is Incorrect.
                                                                            Testimony     Contradict  Mr.
                                                                            Schneier’s Claim That Google
                                                                            Has Not Undertaken Steps To
                                                                            Prevent Joining of Signed-Out
                                                                            And Signed-In Data

                                                                         3. Google’s Policy Restrictions 112-115   206-211
                                                                            And           Pseudonymization
                                                                            Procedures Closely Align With
                                                                            Best Practices For Research
                                                                            Involving User Data

                                                                         4. Google’s Security Practices 115-119    212-218
                                                                            Closely Align With Best
                                                                            Practices In The Network
                                                                            Security Industry




                                                                   144
                                  Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 153 of 215

                                                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

           C. Hochman To Psounis Mapping

   §                 TOC                   pages        sub-heading            ¶¶     #                  Executive Summary                        Psounis
                                                    A.1 Google designed
                                                                                           "[T]hroughout the class period, Google, by way of
                                                    tracking and
                                                                                           various tracking beacons, intercepted private
                                                    advertising code to run
                                                                              82-94   #1   browsing communications between users and
                                                    on non-Google
                                                                                           non-Google websites while those communications
                                                    websites for Google’s
                                                                                           were in transit."
                                                    interception
                                                    A.2 Google intercepted
                                                    (and continues to
                                                    intercept) private                     "[A] major function of the tracking beacons is to
        Google Interception:
                                                    browsing                               collect highly personal information about users’
        Throughout the class period,
                                                    communications                         browsing activities, including users who choose a
        Google intentionally intercepted
                                                    between users and      95-109     #2   private browsing mode, such as the contents of their
        private browsing
VIII. A                                    20-48    non-Google websites,                   communications with non-Google websites in the
        communications between users
                                                    with Google obtaining                  form of detailed URL requests, webpage and video
        and non-Google websites while
                                                    personal information                   interactions, and more."
        those communications were in
                                                    from
        transit
                                                    those communications
                                                                                           "[T]hroughout the class period, the Google tracking
                                                                                           beacons which cause private browsing
                                                    A.3 Google designed                    communications to be intercepted neither facilitate
                                                    its tracking beacons to                nor are incidental to the communications between
                                                                            110-112   #3
                                                    collect information by                 users and non-Google websites. The Google
                                                    intercepting                           tracking beacons functioned (and continue to
                                                    communications while                   function) to listen in and collect information from
                                                    they were in transit                   these private browsing communications."




                                                                                145
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 154 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 155 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 156 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 157 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 158 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 159 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 160 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 161 of 215
        Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 162 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

  D.       Psounis To Hochman And Schneier Mapping

 §       Psounis Opinion                                                               Hochman,
                                                                                       Schneier ¶¶

III.A    Opinion 1: Mr. Hochman’s Opinion That Users Can Readily Be Identified From Hochman
         The Data At Issue (# 18) Is Incorrect.                                     ¶¶ 223-258

III.B    Opinion 2: Mr. Hochman’s Opinions On Interception, Notice, And Deletion Of Hochman
         Private Browsing Information (# 4, 5, 6, 26, 31) Are Contrary To Industry ¶¶ 78-137,
         Guidelines On Private Browsing.                                            308-317,
                                                                                    342-349

III.C    Opinion 3: Mr. Hochman’s Opinions On “Private Browsing Profiles,” Hochman
         Server-Side Processes, And Data Joinability (# 10, 18, 19, 20) Are Inaccurate. ¶¶ 166-258

III.D    Opinion 4: Mr. Hochman’s Assertion That Google Used Private Browsing Hochman
         Information To Measure Conversions (# 14) Is Misleading.             ¶¶ 166-222

III.E    Opinion 5: Mr. Hochman’s Description Of Entropy (# 18) Is Incorrect.          Hochman
                                                                                       ¶¶ 231-233

III.F    Opinion 6: Mr. Hochman’s Assertions On Fingerprinting (# 9, 18) Are Hochman
         Misleading And Unfounded.                                           ¶¶ 223-258

III.G    Opinion 7: Mr. Hochman’s Proposal to Identify Class I (Chrome Class) (# 22) Is Hochman
         Unreasonable and Unreliable.                                                   ¶¶ 262-307

III.H    Opinion 8: Mr. Hochman’s Opinion That The “maybe_Chrome_incognito” Bit Hochman
         Reliably Detects Incognito Traffic (# 23) Is Incorrect.                ¶¶ 287-294

III.I    Opinion 9: Mr. Hochman’s Proposal To Identify Class II (# 22) Is Unreasonable Hochman
         And Unreliable.                                                               ¶¶ 262-307

III.J    Opinion 10: Mr. Hochman’s Proposed Methods For Identifying Class Members Hochman
         (# 22) Do Not–And Cannot–Account For Shared Devices or Accounts.         ¶¶ 285-307

IV.A     Opinion 11: Mr. Schneier’s Assertion That “Browsing Information Is Unique For Schneier
         Each User” Is Unsupported And Misleading.                                     ¶¶ 97-99

IV.B     Opinion 12: Mr. Schneier’s Claim That “Personal Data Is Difficult to Anonymize Schneier
         and Easy to De-anonymize” Is Unsupported And Is Incorrect For The Data At ¶¶ 143-155
         Issue.

IV.C     Opinion 13: Mr. Schneier’s Assertion That Google Has Not Taken Steps To Schneier
         Ensure That A User’s Choice To Sign Out Of A Google Account Will Prevent ¶ 205
         Google From Associating The User’s Signed-Out Activity With Any Signed-In
         Data Is Incorrect.



                                                154
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 163 of 215

           CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




         EXPERT REPORT OF KOSTANTINOS PSOUNIS




                            June 7, 2022




                           APPENDIX E




                                 155
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 164 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

E.       Entropy, Entropy Bits and Fingerprinting: Formal Exposition

         1.     Preliminaries: Random Experiment, Events, Probability Of Events,
                Random Variables, Distribution Of A Random Variable
         1.     To understand how to correctly compute entropy bits of identifiers and what is

their fingerprinting effectiveness, we need to start with the concept of an experiment whose

outcome is random. When the experiment takes place, the outcome can be any among a set of

possible events each of which is assigned a probability representing its likelihood of

occurring.317

         2.     The simplest possible example to consider is a coin toss. The random experiment

in this example is the act of tossing a coin. There are two possible outcomes, heads or tails, and

the set of possible events is thus {𝐻, 𝑇} where H represents heads and T represents tails. If the

coin is fair, the likelihood of either H or T is the same. If we toss this coin a very large number

of times and record how many times it lands heads and how many times it lands tails, we will

record that 50 percent of the times we get H and 50 percent of the times we get T. 318 We thus

assign a probability of 0.5 to the event H, and we write 𝑃(𝐻) = 0. 5, with 𝑃(·) representing the

probability of an event, and we assign a probability 0.5 to the event T, and we write

𝑃(𝑇) = 0. 5.




317
     Patrick Billingsley, “Probability and Measure,” Wiley, (3rd ed. 1995); Sheldon Ross,
“Introduction            to        Probability          Models,”         Academic           Press,
https://www.academia.edu/17872355/Introduction_to_Probability_Models_Tenth_Edition (10th
ed. 2014).
318
    In theory, this statement is precise if we toss the coin (independently) an infinite amount of
times.

                                               156
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 165 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         3.    The next concept we need to introduce is that of a random variable.319 A random

variable is a function which maps events to probabilities. In the simple fair coin toss example,

let X be the random variable representing the outcome of the coin toss. Then, the random

variable takes two possible values, H or T, the probability of the events {𝑋 = 𝐻} and {𝑋 = 𝑇}

is equal to 0.5, and we write 𝑃(𝑋 = 𝐻) = 𝑃(𝑋 = 𝑇) = 0. 5. The coin may not be fair, for

example, it may land heads way more often than tails, say 98 percent of the time. In this case,

𝑃(𝑋 = 𝐻) = 0. 98 and 𝑃(𝑋 = 𝑇) = 0. 02.

         4.    In order to introduce the concept of entropy and thus entropy bits, we need one

more concept, that of the distribution of a random variable. Thankfully, for the (discrete)

random variables we are considering, the distribution of a random variable is simply the

probability that the random variable assumes any of its possible values. Specifically, if the

random variable X may assume some values x with some probability, we define by 𝑝𝑋(𝑥) the

distribution of the random variable 𝑋 as follows:320

𝑝𝑋(𝑥) = 𝑃(𝑋 = 𝑥). (Equation (1) – probability distribution)

𝑝𝑋(𝑥) is a function which maps each possible value x of X to the probability that the random

variable X assumes this value x. In our fair coin example, 𝑝𝑋(𝐻) = 𝑝𝑋(𝑇) = 0. 5.




319
    We will restrict the discussion to discrete random variables, see Sheldon Ross, “Introduction
to                Probability               Models,”                Academic                 Press,
https://www.academia.edu/17872355/Introduction_to_Probability_Models_Tenth_Edition (10th
ed. 2014), as this is the type of random variables which are relevant to our discussion about
digital fingerprinting.
320
    For the discrete random variables we are considering, this distribution is formally referred to
as the probability mass function, see Sheldon Ross, “Introduction to Probability Models,”
Academic                                                                                     Press,
https://www.academia.edu/17872355/Introduction_to_Probability_Models_Tenth_Edition (10th
ed. 2014).

                                               157
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 166 of 215

                         CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         2.           Entropy And Entropy Bits Of A Random Experiment

         5.           We are now ready to define the concept of entropy. The entropy 𝐻(𝑋) of a

random variable X with distribution 𝑝𝑋(𝑥) is defined as follows: 321


𝐻(𝑋) =− ∑ 𝑝𝑋(𝑥) · 𝑙𝑜𝑔2(𝑝𝑋(𝑥)).                     (Equation (2) - entropy)
              𝑎𝑙𝑙 𝑥


         6.           The entropy is a measure of uncertainty. The more random an experiment is, the

more the uncertainty of its outcome, the larger the entropy. To see this, consider the simple coin

toss example. If the coin is fair, 𝑝𝑋(𝐻) = 𝑝𝑋(𝑇) = 0. 5 and Equation (2) yields 𝐻(𝑋) = 1. If,

however, the coin is not fair but instead 𝑝𝑋(𝐻) = 0. 98 and 𝑝𝑋(𝑇) = 0. 02, then 𝐻(𝑋) = 0. 14

which is a lot less than 1. As a matter of fact, if the coin is so biased that it only lands heads, i.e.

𝑝𝑋(𝐻) = 1, then we get 𝐻(𝑋) = 0. This makes sense as there is no uncertainty anymore about

the outcome of the coin toss.

         7.           Consider again the fair coin toss example, where we calculated that the entropy

𝐻(𝑋) = 1. We say that the entropy of a fair coin toss experiment is 1 entropy bit. Similarly, we

say that the entropy of a coin toss with 𝑝𝑋(𝐻) = 0. 98 is 0.14 entropy bits.

         8.           Another useful interpretation of the entropy is that it is the expectation of

𝑙𝑜𝑔2(𝑝𝑋(𝑥)). Specifically, it is calculated as the average information conveyed by an outcome,

𝑙𝑜𝑔2(𝑝𝑋(𝑥)), averaged over all possible outcomes, 𝑥, by weighting the information conveyed by

an outcome with the likelihood of this outcome, 𝑝𝑋(𝑥), see Equation (2).




321
     T.M. Cover and J.A. Thomas, “Elements of Information Theory,” Wiley,
https://www.academia.edu/25024538/Elements_of_Information_Theory_2nd_ed_T_Cover_J_T
homas_Wiley_2006_WW (2nd ed. 2006).

                                                    158
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 167 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

        3.      Entropy Bits And Fingerprinting
        9.      Fingerprinting refers to the process of using an identifier to identify a member of

a set. For example, an IP+UA pair may be used to identify a device which accesses a web site.

In this example the identifier is the combination of an IP address and a User Agent string, and

the set consists of all possible devices.

        10.     The first step in this process is to recognize that guessing the device that accesses

the web site is the outcome of a random experiment. In the absence of any information about the

devices, any device is equally likely to be the one that accesses the web site. Hence, if there are

 𝐾                                                                           𝐾
2 possible devices, each accessing the web site with probability 1/2 , using Equation (2)

yields that the entropy equals K entropy bits.

        11.     The second step in this process is to recognize that observing a particular

identifier value is the outcome of another random experiment. To compute the entropy of the

identifier, one needs to know, or estimate from a dataset, the distribution of the values of the

identifier, and then use Equation (2). In general, we want the entropy bits of the identifier to be

as large as possible, hopefully as large as K. That said, having many entropy bits is only a

necessary condition, it is not sufficient, as we also need to have a way to go from identifier

values to devices.

        12.     The third step in this process is to have a mapping which reliably maps the

observed value of the identifier to a single device. If there is no reliable mapping relating an

identifier value to a device, because, for example, an identifier value may correspond to

multiple devices, then, regardless of the entropy bits of the identifier, obviously we cannot

reliably identify a device, see § V.E.7 below for a simple example..




                                                 159
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 168 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

               a.      A simple numerical example

         13.   Let’s consider a simple example to illustrate some of the points we have

discussed. Suppose that our identifier is a UA, there are only two possible UA values, say 𝑈𝐴1

                                                                                     6
an 𝑈𝐴2, and we are trying to guess which web browser among, say, 64 = 2 possible web

browsers, is the one with the UA we just observed. In the absence of any information, any of the

64 web browsers are equally likely to be the one, each with probability 1/64. Let X denote the

random variable representing the web browser, say X=1,2,…,64. We have 𝑝𝑋(𝑥) = 1/64 for all

x and, using Equation (2), 𝐻(𝑋) = 6, that is, our uncertainty is six entropy bits.

         14.   The fingerprinting effectiveness of an identifier has to do with how much it can

reduce this uncertainty. If 𝑃(𝑈𝐴 = 𝑈𝐴1) = 𝑃(𝑈𝐴 = 𝑈𝐴2) = 0. 5, the identifier has 1 entropy

bit and can reduce the uncertainty from 6 bits to 6-1=5 entropy bits. This makes intuitive sense:

Since 𝑃(𝑈𝐴1) = 𝑃(𝑈𝐴2) = 0. 5, it must be that 32 of the 64 web browsers have 𝑈𝐴1, and 32

have 𝑈𝐴2. Thus, knowing that 𝑈𝐴 = 𝑈𝐴1 restricts the set of possible browsers from 64 to 32,

                                                          5
and the remaining entropy is 5 as the remaining 32 = 2 web browsers are equally likely to be

the one.

         15.   How much would the UA identifier decrease the uncertainty if its two possible

values are not equally likely but instead one is much more likely than the other? As an example,

assume that 𝑃(𝑈𝐴1) = 63/64, because 63 of the 64 web browsers have this UA value. We

already know the answer to this, as 63/64 is about 0.98 and we have already computed the

entropy of a binary random variable with distribution {0.98, 0.02} to be equal to 0.14.322 Hence,


322
    63/64=0.984375 > 0.98, so, as a matter of fact, the identifier is even weaker than our
calculations here, though by very little.

                                               160
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 169 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


the uncertainty is now reduced from 6 bits to 6 − 0. 14 = 5. 86 entropy bits. Intuitively, the

reason why the identifier is so ineffective now is because with probability 0.98 we will observe

𝑈𝐴1 and this will give us very little information, we will merely restrict the set of possible

browsers from 64 to 63. While it is true that if we observe a 𝑈𝐴2 we will uniquely identify one

of the 64 web browsers, the probability of this event is so low that, on average, we are really

learning very little from this identifier.

         16.    Notice that even though the identifier only has 0.14 entropy bits, if we observe

𝑈𝐴2 we will uniquely identify one web browser. This has to do with the fact that entropy is an

expectation thus the entropy of an identifier represents its average ability to perform

fingerprinting. An identifier with low entropy may perform bad on average but it does not

guarantee that no browser can be reliably identified. Similarly, an identifier with high entropy

may perform well on average but it does not guarantee that all browsers can be reliably

identified.

         17.     The fact that more skewed distributions yield less entropy bits is not merely a

numerical observation. It can be proved that a uniform distribution, that is, a distribution where

all outcomes are equally likely, maximizes uncertainty and thus entropy bits,323 and the more

skewed a distribution is, the deterministic case being the most skewed of all as only one

outcome is possible (with probability 1), the less the uncertainty and the less the entropy bits (0

in the deterministic case).




323
     T.M. Cover and J.A. Thomas, “Elements of Information Theory,” Wiley,
https://www.academia.edu/25024538/Elements_of_Information_Theory_2nd_ed_T_Cover_J_T
homas_Wiley_2006_WW (2nd ed. 2006).

                                               161
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 170 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

          4.    More Preliminaries: Independence,           Conditional     Probability,   Jointly
                Distributed Random Variables
          18.   To understand how to compute and interpret the joint entropy of more than one

identifier and what is the fingerprinting effectiveness of multiple identifiers used together, we

first need to introduce the concepts of independence, conditional probability, and jointly

distributed random variables.

          19.   Two events are independent if the outcome of one does not affect the outcome of

the other. As an example, if one has two coins in one’s pocket, tosses the first coin, and then

tosses the second coin, it makes intuitive sense to argue that whether the first coin lands heads

or tails (first event) does not affect whether the second coin lands heads or tails (second event).

If we denote by 𝐻1 the event that the first coin lands heads, and by 𝐻2 the event that the second

coin lands heads, then, formally, 𝐻1 and 𝐻2 are independent if:

𝑃(𝐻1 𝑎𝑛𝑑 𝐻2) = 𝑃(𝐻1) · 𝑃(𝐻2),         (Equation (3) – independent events)

where 𝑃(𝐻1) is the probability of the event 𝐻1, 𝑃(𝐻2) is the probability of the event 𝐻2, and

𝑃(𝐻1 𝑎𝑛𝑑 𝐻2) is the probability that both 𝐻1 and 𝐻2 occur, a.k.a. the intersection of the two

events.

          20.   The intuition about the independence of two events carries over for random

variables as well. If we use 𝑋1 to denote the random variable associated with the first coin toss,

and 𝑋2 to denote the random variable associated with the second coin toss, one may argue that

𝑋1 and 𝑋2 are independent random variables, in the sense that the value that one assumes does

not affect the value that the other assumes, or, knowing what value one assumes, does not

change our guess about what value the other may assume.



                                               162
          Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 171 of 215

                        CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

               21.   To formally define the concept of independent random variables (and later the

concept of joint entropy which is directly related with the fingerprinting effectiveness of

multiple identifiers used together) we first define the concept of a joint distribution of two

random variables 𝑋1 and 𝑋2 as follows:

𝑝𝑋 ,𝑋 (𝑥1, 𝑥2) = 𝑃(𝑋1 = 𝑥1, 𝑋2 = 𝑥2).            (Equation (4) – joint distribution)
      1    2



Similar to the case of one random variable, the joint distribution of two random variables is a

function that yields the probability that 𝑋1 = 𝑥1 and 𝑋2 = 𝑥2 for all possible values 𝑥1 and 𝑥2.

In our simple example of two coin tosses, there are four possible joint cases to consider,

{𝐻1, 𝐻2} (both coins land heads), {𝐻1, 𝑇2}, {𝑇1, 𝐻2} and {𝑇1, 𝑇2}, and the joint distribution gives

the probability of each of these four cases.

               22.   We are now ready to formally define the concept of independent random

variables. Two random variables 𝑋1 and 𝑋2 are independent if and only if:

𝑝𝑋 ,𝑋 (𝑥1, 𝑥2) = 𝑝𝑋 (𝑥1) · 𝑝𝑋 (𝑥2), (Equation (5) – independent random variables)
      1    2             1        2



that is, the joint distribution of the two random variables equals the product of the two

individual distributions of each random variable.324 If the two coin tosses are independent and

both coins are fair, it is easy to see that each of the 4 possible outcomes occurs with probability

1/2 · 1/2 = 1/4.

               23.   Not all events / random variables are independent. For example, suppose 𝑋1

represents whether there are clouds in the sky on a particular day (𝑋1 = 1 indicates there are



324
      Individual distributions are called marginal distributions.

                                                   163
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 172 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


clouds and 0 otherwise) and 𝑋2 represents whether it will rain this day (𝑋2 = 1 indicates it will

rain and 0 otherwise). Knowing that there are clouds in the sky does increase the chance that it

will rain hence 𝑋1 and 𝑋2 are dependent. The concept of conditional probability allows us to

figure out how this dependence changes the corresponding probabilities. Let C represent the

event “clouds in the sky” and R the event “rain”. We formally define the conditional probability

of event R given event C, i.e. the probability R occurs given that we know C occurred, as

follows:

𝑃(𝑅|𝐶) = 𝑃(𝑅 𝑎𝑛𝑑 𝐶)/𝑃(𝐶),              (Equation (6) – conditional probability)

where 𝑃(𝐶) is the probability of the event that there are clouds, considered non-zero, and

𝑃(𝑅 𝑎𝑛𝑑 𝐶) is the probability of the event that there are clouds and it is raining, i.e. the

intersection of the two events. The key here is to observe that it is more likely to rain if there are

clouds in the sky, hence 𝑃(𝑅|𝐶) > 𝑃(𝑅), where 𝑃(𝑅) is the unconditional probability of

whether it will rain or not. Also, one may argue that it is impossible to rain without clouds, in

which case one may argue that 𝑃(𝑅|𝐶) = 1, since, given that there is rain, there must be

clouds.

          24.   Note that if two events, 𝐻1 and 𝐻2, are independent, then from Equations (3) and

(6) we get that 𝑃(𝐻2|𝐻1) = 𝑃(𝐻2), which makes intuitive sense as knowledge of whether 𝐻1

has occurred or not does not have any effect on the likelihood of 𝐻2, since they are independent.

          25.   Going back to the concept of the joint distribution, with 𝑋1 and 𝑋2 representing

clouds and rain respectively, it is obvious that the 4 possible events {clouds, rain}, {clouds, no

rain}, {no clouds, rain}, {no clouds, no rain} are not equally likely. For example, it is




                                                 164
          Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 173 of 215

                        CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

impossible to rain without clouds hence the probability of the outcome {no clouds, rain} equals

𝑃(𝑋1 = 0, 𝑋2 = 1) = 0.

               26.   Last, we define the conditional distribution of a random variable 𝑋2 given the

value of another random variable 𝑋1, as a function that yields the probability that 𝑋2 may

assume a value x, given that 𝑋1 has assumed a known value 𝑥1. Formally, the conditional

distribution of 𝑋2 given 𝑋1 is given by:

𝑝𝑋 |𝑋 (𝑥|𝑥1) = 𝑝𝑋 ,𝑋 (𝑥, 𝑥1)/𝑝𝑋 (𝑥1),             (Equation (7) – conditional distribution)
      2    1            2   1        1



for all possible values x of 𝑋2, where 𝑝𝑋 (𝑥1) is non-zero. Note that if 𝑋1 and 𝑋2 are
                                                   1



independent, Equations (5) and (7) imply that 𝑝𝑋 |𝑋 (𝑥|𝑥1) =𝑝𝑋 (𝑥), that is, the conditional
                                                          2   1         2



distribution equals the individual (marginal) distribution. This makes intuitive sense, as

conditioning on the value of 𝑋1 does not change the distribution of 𝑋2 since they are

independent.


               5.    Joint Entropy And Conditional Entropy
               27.   We have defined entropy in Equation (2) and explained how entropy bits are

directly related to the effectiveness of an identifier to perform fingerprinting by reducing

uncertainty. To understand how to calculate the entropy and entropy bits of multiple identifiers

used together, we first define the concepts of joint entropy and conditional entropy.325

               28.   The joint entropy of two random variables 𝑋1 and 𝑋2 is defined as follows:



325
     T.M. Cover and J.A. Thomas, “Elements of Information Theory,” Wiley,
https://www.academia.edu/25024538/Elements_of_Information_Theory_2nd_ed_T_Cover_J_T
homas_Wiley_2006_WW (2nd ed. 2006).

                                                    165
       Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 174 of 215

                        CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


𝐻(𝑋1, 𝑋2) =−            ∑     𝑝𝑋 ,𝑋 (𝑥1, 𝑥2) · 𝑙𝑜𝑔2(𝑝𝑋 ,𝑋 (𝑥1, 𝑥2)). (Equation (8) – joint entropy)
                  𝑎𝑙𝑙 𝑥1,𝑥2     1   2                    1   2




The joint entropy, similar to the entropy of a single random variable, measures the uncertainty

of a pair of random variables. Note that because 𝑃(𝑋1 = 𝑥1, 𝑋2 = 𝑥2) = 𝑃(𝑋2 = 𝑥2, 𝑋1 = 𝑥1),

it follows that 𝑝𝑋 ,𝑋 (𝑥1, 𝑥2) = 𝑝𝑋 ,𝑋 (𝑥2, 𝑥1) and 𝐻(𝑋1, 𝑋2) = 𝐻(𝑋2, 𝑋1).
                    1   2                2   1



            29.   The conditional entropy of 𝑋2 given 𝑋1 is defined as follows:


𝐻(𝑋2|𝑋1) =−          ∑        𝑝𝑋 ,𝑋 (𝑥1, 𝑥2) · 𝑙𝑜𝑔2(𝑝𝑋 |𝑋 (𝑥2|𝑥1)). (Equation (9) – conditional entropy)
                  𝑎𝑙𝑙 𝑥1,𝑥2     1   2                    2   1




To understand the intuition behind conditional entropy, note the following equation which

relates the joint entropy of two random variables 𝑋1 and 𝑋2 with the entropy of 𝑋1 alone:326

𝐻(𝑋1, 𝑋2) = 𝐻(𝑋1) + 𝐻(𝑋2|𝑋1).                    (Equation (10) – meaning of conditional entropy)

Equation (10) implies that 𝐻(𝑋2|𝑋1) is the additional uncertainty in {𝑋1, 𝑋2} due to 𝑋2, when

the uncertainty of 𝑋1 is already accounted for.

            30.   It can be shown that 𝐻(𝑋2|𝑋1) ≤ 𝐻(𝑋2) with equality if and only if they are

independent. Thus, from Equation (10) we conclude that 𝐻(𝑋1, 𝑋2) = 𝐻(𝑋1) + 𝐻(𝑋2) if and

only if 𝑋1 and 𝑋2 are independent.

            31.   There are two methods to compute 𝐻(𝑋1, 𝑋2). One is to use Equation (8) if the

joint distribution of 𝑋1 and 𝑋2 is known, or it can be estimated from a dataset. The other is to




326
      Id.

                                                         166
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 175 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


use Equation (10), which is particularly easy to do if 𝑋1 and 𝑋2 are independent, since in this

case the joint entropy is simply the sum of the individual entropies.


       6.      Entropy Bits And Fingerprinting Effectiveness Of Multiple Identifiers
       32.     We can now explain the fingerprinting effectiveness of multiple identifiers used

together. Without loss of generality, consider two identifiers, represented by the random

variables 𝑋1 and 𝑋2, since we do not know in advance which value the identifiers may assume.

First, let’s consider the case where the identifiers are independent. In this case,

𝐻(𝑋1, 𝑋2) = 𝐻(𝑋1) + 𝐻(𝑋2) and the total entropy bits of the pair of identifiers equals the sum

of the individual entropy bits, where, as already discussed, the individual entropy bits depend on

how skewed the distributions of 𝑋1 and 𝑋2 are.

       33.     Now, let’s consider the case where the identifiers are not independent. In this

case, 𝐻(𝑋1, 𝑋2) = 𝐻(𝑋1) + 𝐻(𝑋2|𝑋1). The first term in this equation depends on how skewed

the distribution of 𝑋1 is. The second term depends on how skewed the conditional distribution

of 𝑋2 is, given 𝑋1. Even if the marginal distribution of 𝑋2 is, say, uniform, which, as discussed,

would maximize the entropy 𝐻(𝑋2), the conditional distribution may be very skewed. As a

matter of fact, conditioning on 𝑋1 may even reduce the possible values that 𝑋2 may assume to 1,

yielding a deterministic case and zero additional entropy bits.


               a.      A numerical example involving multiple identifiers

       34.     We present a simple numerical example involving two popular identifiers often

used jointly, the UA and the IP address. Say 𝑋1 represents the UA and 𝑋2 the IP address of a

device / web browser. Suppose there are a total of 64 possible browsers, thus the entropy bits


                                               167
          Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 176 of 215

                      CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                                      6
associated with guessing which browser accesses a web site is 6 bits, since 2 = 64 and all

browsers, in the absence of any other information, are equally likely to be the one. How much

can we reduce the uncertainty of this estimate by observing the UA and the IP address? This

depends not only on how skewed the individual distributions of the two identifiers are, 𝑝𝑋 and
                                                                                                 1



𝑝𝑋 , but also on how dependent they are, which is captured by the conditional distribution 𝑝𝑋 |𝑋 .
      2                                                                                           2   1



             35.   Like in our previous example, assume there are two possible UA values, that is,

                                                                   2
𝑋1 is equal to 𝑈𝐴1 or 𝑈𝐴2. Also, assume that there are 4 = 2 possible IP addresses, that is, 𝑋2

is equal to 𝐼𝑃1,𝐼𝑃2,𝐼𝑃3,𝐼𝑃4. If 𝑋1 and 𝑋2 have uniform distributions and are independent, then

the entropy bits of the two identifiers combined is 1+2 = 3, and the uncertainty of guessing the

web browser is reduced from 6 to 6-3 = 3 bits. We have essentially narrowed down our guess

from 64 to 8 possible browsers. But, in practice, none of these assumptions may hold: the

distributions of both 𝑋1 and 𝑋2 are skewed,327 and 𝑋1 and 𝑋2 may not be independent.328

             36.   To illustrate the drastic effect of lifting the uniform assumption, assume that the

distribution of 𝑋1 equals, like before, {0.98, 0.02}, that is, 𝑃(𝑋1 = 𝑈𝐴1) = 0. 98 and

𝑃(𝑋1 = 𝑈𝐴2) = 0. 02. Then, 𝐻(𝑋1) = 0. 14, which is a lot less than 1 entropy bit (uniform

distribution case). Also, assume the distribution of 𝑋2 is skewed, say equal to {0.48, 0.48, 0.02,

0.02}, because, for example, 31 out of the 64 web browsers have the same IP address equal to


327
    J. Kline, P. Barford, A. Cahn, and G. Sommers, “On the structure and characteristics of user
agent                         strings”,                  ACM                         Sigcomm,
https://conferences.sigcomm.org/imc/2017/papers/imc17-final253.pdf (Nov. 1-3, 2017), at
Figure 4.
328
    For example, if devices have the same IP address because they sit behind a VPN, it is likely
to also share the same UA if the devices belong to the same company and the IT department is
updating the software of the company devices in batches.

                                                   168
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 177 of 215

                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


𝐼𝑃1, another 31 have the same IP address 𝐼𝑃2, and the last two web browsers have IP addresses

𝐼𝑃3 and 𝐼𝑃4 respectively.329 Then, from Equation (2) we compute 𝐻(𝑋2) = 1. 24, which is

sizably less than 2 entropy bits (uniform distribution case). Even if we assume 𝑋1 and 𝑋2 are

independent, to get the maximum entropy, the combined fingerprinting effectiveness of UA and

IP is reduced from 3 bits (uniform case) to merely 0.14+1.24 = 1.38, representing a more than

55 percent reduction in fingerprinting effectiveness.

         37.    To illustrate the drastic effect of lifting the independence assumption, we will

first assume that 𝑋1 is uniform, that is, 𝑈𝐴1 and 𝑈𝐴2 are equally likely, such that 𝐻(𝑋1) = 1.

This is the maximum possible entropy bits for UA. And, we will also assume that 𝑋1 and 𝑋2 are

not independent. Specifically, assume that all 31 browsers with IP address equal to 𝐼𝑃1 have the

same UA,330 equal to 𝑈𝐴1, all 31 browsers with IP address equal to 𝐼𝑃2 have the same UA,

equal to 𝑈𝐴2, and for the remaining 2 browsers with IP addresses 𝐼𝑃3 and 𝐼𝑃4, we assume it is

equally likely to have a UA equal to either 𝑈𝐴1 or 𝑈𝐴2. Essentially, we described the

conditional distribution of 𝑋2 given 𝑋1 to be {31/64, 0, 1/64, 1/64} when 𝑋1 = 𝑈𝐴1, and {0,

31/64, 1/64, 1/64} when 𝑋1 = 𝑈𝐴2. We can now use Equations (7) and (9) and compute

𝐻(𝑋2|𝑋1) = 0. 22. Notice how few entropy bits 𝑋2 adds given 𝑋1. This is because UA (𝑋1)

reveals a lot about the IP (𝑋2), for example, 𝑋1 = 𝑈𝐴1 informs us that the set of possible

browsers is very likely to be one of the 31 with 𝐼𝑃1 and for sure none of the browsers with 𝐼𝑃2.

329
    This may be the case because 31 IP addresses connect to the internet via the same VPN server
and thus share the same IP address, IP_1, and the same is true for IP_2.
330
    As discussed in the main text, when devices share the same IP address, e.g. because they are
behind a VPN server of an organization, it is likely they also share UAs, as the IT department of
the organization may centrally control the software updates on organizations’ devices.


                                               169
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 178 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


Equation (1) yields 𝐻(𝑋1, 𝑋2) = 1+0.22 = 1.22, which is again a lot less than the 3 bits under the

assumptions of uniform distributions and independence, representing an almost 60 percent

reduction in fingerprint-ability.


7. On The Entropy Bits Reported By Mr. Hochman
         38.   Mr. Hochman states that “[w]ith around 330 million people in the United States,

29 bits of data is more than sufficient to identify a person (2^29 = 537 million).”331 He states

that “IP address and User Agent ‘carries 29.8 bits’ of entropy, which is more than sufficient to

uniquely identify individuals in the United States.”332

         39.   Mr. Hochman’s description of entropy as a measure for user identifiability is

incorrect, see infra § V.E.2. Entropy is a measure of the uncertainty of the outcome of a random

process. Entropy can not be used to establish what specific information is necessary to uniquely

identify any specific person, or how many bits of data are “more than sufficient to uniquely

identify individuals in the United States” in the absence of a one to one mapping which maps

identifier values to specific individuals, see infra § V.E.3, and the example below in § V.E.7.a.

         40.   Neither Hochman nor the document he cites, GOOG-CABR-04635379, provide

any information about the mathematical methodology or dataset used to derive the 29.8 entropy

bits value number for the IP address and User Agent pair. This is required to establish

credibility for the reported number of entropy bits. At a minimum, is the dataset restricted to

individuals in the United States or is it collected by Google from one of its services offered

worldwide and thus this dataset relates to the global population? In an attempt to predict which

individual in the U.S. (1 out of 330 million) is accessing a private browsing session, in the

  Hochman ¶ 231.
331

332
   Hochman ¶ 233, citing GOOG-CABR-04635379 at -380. See also Hochman ¶ 231 (asserting
that “Google engineers measure that IP address alone contributes to 26.5 bits of entropy
(GOOG-BRWN-00601937).”).

                                                170
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 179 of 215

                     CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

absence of any information, and assuming it is equally likely for any individual in the US to be

the one accessing a private browsing session, applying the definition of entropy for 330 million

                                              28.3
people yields an entropy of 28.3 bits (2             ≃ 330𝑀). Doing the same exercise with a global

                                          32.9
population of 8 billion yields 32.9 bits (2          ≃ 8𝐵), which is obviously larger than 29.8.

        41.     As discussed already in § V.E.3, there are two entropy bits calculations related to

fingerprinting. The first concerns the entropy of the task at hand, e.g. identifying an individual

accessing a web site among the U.S. population. The second concerns the entropy of the

identifier used to do so, which depends on the number of distinct values it may assume and on

how skewed the distribution of the popularity of these values is.

        42.     A necessary but not sufficient condition for an identifier to perform well on

average is to have more entropy bits than the entropy of the task at hand. Contrary to what

Mr. Hochman states, we do not know if the IP+UA pair satisfies the necessary condition,

because we do not know if the dataset is collected over the global population, or over the U.S.

population, or any other population. But we do know for sure that it does not satisfy the

requirement for a reliable one-to-one mapping of IP+UA values to individuals. A fundamental

reason for this is that an IP+UA pair may correspond to multiple users because: (i) devices

belonging to different users may have the same IP+UA, see infra § III.G.1, and (ii) users may

share a device, see infra § III.J.

                a.      A simple mapping example

        43.     Consider three persons, John, Mary, and Peter. John and Mary live in the same

house. John owns a phone and shares a home laptop with Mary. Mary owns a phone, the same

model as John’s, and a work laptop. When at home, John’s and Mary’s devices connect to the

home WiFi and sit behind a NAT. Mary and Peter are co-workers. Peter owns a phone and a



                                                      171
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 180 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

work laptop. Sometimes they work from home and connect to their employer’s network via the

same VPN server. When they work in the office, their employer uses DHCP to assign IP

addresses to their work laptops, and the IT department updates the software on the company’s

devices.333

          44.    The following graph shows the complex mapping between IP+UA values.

devices, and persons. John’s and Mary’s phones, when at home, share the same IP+UA. John’s

and Mary’s browsing sessions via their shared home laptop share the same IP+UA. John’s and

another coffee shop client’s phone may share the same IP+UA, if the other client has the same

phone model as John. Mary’s and Peter’s work laptops, when working from home, share the

same IP+UA. Mary’s and Peter’s work laptops, when in the office, may have the same IP+UA

on different days. Peter’s phone may share the same IP+UA with the phone of a visitor in his

home or a passenger on the same plane, if the other person has the same phone model as Peter.

In all these cases, merely involving less than a handful of people, it is impossible to uniquely

identify an individual through an IP+UA.




333
      See § III.G.1 for more information on NAT, VPN and DHCP.

                                              172
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 181 of 215

           CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




                                 173
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 182 of 215

           CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


        EXPERT REPORT OF KOSTANTINOS PSOUNIS




                            June 7, 2022




                           APPENDIX F




                                 174
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 183 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 184 of 215
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 185 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




       5.      According     to   the   public     IP   address   lookup   tool   available   at

https://whatismyipaddress.com/, IP address                    corresponds to ISP T-mobile USA

Inc. located in Dallas, Texas:




                                                 177
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 186 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 187 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 188 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 189 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 190 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 191 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 192 of 215
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 193 of 215

                        CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

           7.         The data also contains 8,965 unique IP address and UA combinations. For

details,        see    backup   material   titled   “IP   +   UA   Analysis   (Source   Material:

GOOG-BRWN-00847947-948) (CONFIDENTIAL).”




                                                    185
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 194 of 215

           CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


         EXPERT REPORT OF KOSTANTINOS PSOUNIS




                            June 7, 2022




                           APPENDIX G




                                 186
      Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 195 of 215

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

G. “Profile” Data

         1.    Below is a side-by-side comparison of the produced DBL        data stored in the

column                                                   on the same day associated with the

two different Biscotti IDs334. I used Google produced files to decode the information and added

my notes in red.




334
      See GOOG-BRWN-00229628.

                                             187
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 196 of 215

           CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




                                 188
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 197 of 215
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 198 of 215
     Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 199 of 215

                    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

H.       Sources Considered

Filed Documents:

     ▪   Third Amended Class Action Complaint, Chasom Brown, et al., v. Google LLC, United
         States District Court Northern District of California, February 3, 2022 (Dkt. 395-2)
     ▪   Microsoft’s Response to Brown Plaintiffs’ Subpoena (Aug. 27, 2021)

     ▪   Mozilla’s Response to Brown Plaintiffs’ Subpoena (Aug. 27, 2021)

     ▪   Apple’s Response to Brown Plaintiffs’ Subpoena (Sept. 20, 2021)

     ▪   Google’s Supplemental Objections and Responses to Plaintiffs’ Interrogatories (No. 17)
         (Apr. 7, 2022)
     ▪   Declaration of Jonathan E. Hochman, Telebrands Corp., v. Tinnus Enterprises, LLC,
         Case No. PGR2015-00018 (USPTO 2015)
     ▪   2022-05-09 - Plaintiff Brown Attestation

     ▪   2022-05-09 - Plaintiff Castillo Attestation

     ▪   2022-05-09 - Plaintiff Trujillo Attestation

Expert Reports:

     ▪   Apr. 15, 2022 Expert Report of Jonathan E. Hochman and Appendices and Exhibits
         Attached Thereto
     ▪   Apr. 15, 2022 Expert Report of Bruce Schneier and Appendices and Exhibits Attached
         Thereto
     ▪   Expert Report of Jonathan E. Hochman, Rockwood Select Asset Fund XI, (6)-1, LLC v.
         Devine, Millimet & Branch, P.A., Case No. 1:14-cv-00303-LM, 2016 WL 4260622
         (D.N.H. Jan. 29, 2016)

Depositions and Hearings:

     ▪   April 14, 2022 Special Master Hearing Transcript

     ▪   April 21, 2022 Hearing Transcript

     ▪   Deposition Transcript of Abdelkarim Mardini, Nov. 24, 2021

     ▪   Deposition Transcript of Adrienne Porter-Felt, Nov. 16, 2021




                                                 191
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 200 of 215

              CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


▪   Deposition Transcript of Alexei Svitkine, Oct. 4, 2021

▪   Deposition Transcript of Brian Rakowski, Aug. 19, 2021

▪   Deposition Transcript of Chasom Brown, Jan. 13, 2022

▪   Deposition Transcript of Chetna Bindra, Feb. 8, 2022

▪   Deposition Transcript of Chris Palmer, Jan. 5, 2022

▪   Deposition Transcript of Christopher Castillo, Feb. 11, 2022

▪   Deposition Transcript of David Monsees, Apr. 9, 2021

▪   Deposition Transcript of David Monsees, June 11, 2021

▪   Deposition Transcript of Caitlin Sadowski, Mar. 10, 2022

▪   Deposition Transcript of Glenn Berntson, June 16, 2021

▪   Deposition Transcript of Glenn Berntson, Mar. 18, 2022

▪   Deposition Transcript of Gregory Lon Fair, Dec. 14, 2021

▪   Deposition Transcript of Huei-Hung Chris Liao, Dec. 3, 2021

▪   Deposition Transcript of Hyewon Jun, Mar. 1, 2022

▪   Deposition Transcript of Jeremy Davis, Jan. 7, 2022

▪   Deposition Transcript of Jesse Adkins, Apr. 4, 2021

▪   Deposition Transcript of Justin Schuh, Jan. 6, 2022

▪   Deposition Transcript of Mandy Liu, Mar. 8, 2022

▪   Deposition Transcript of Martin Shelton, Mar. 2, 2022

▪   Deposition Transcript of Michael Kleber, Mar. 18, 2022

▪   Deposition Transcript of Michael Kleber, Jan. 14, 2022

▪   Deposition Transcript of Monique Trujillo, Feb. 22, 2022

▪   Deposition Transcript of Ramin Halavati, Jan. 18, 2022

▪   Deposition Transcript of Rory McClelland, Feb. 18, 2022

▪   Deposition Transcript of Sammit Adhya, Nov. 19, 2021

▪   Deposition Transcript of Stephen Chung, Mar. 10, 2022



                                          192
  Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 201 of 215

                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


   ▪   Deposition Transcript of Steve Ganem, Mar. 23, 2022

   ▪   Deposition Transcript of William Byatt, Dec. 20, 2021

   ▪   Deposition Transcript of Wing Pan “Bert” Leung, Mar. 4, 2022


Public Documents:

   ▪   M. Clark and K. Psounis,“Optimizing Primary User Privacy in Spectrum Sharing
       Systems,” IEEE/ACM Transactions on Networking,
       https://ieeexplore.ieee.org/document/8985324 (Apr. 2020)
   ▪   J. Zhang, K. Psounis, M. Zaroon, and Z. Shafiq, “HARPO: Learning to Subvert Online
       Behavioral Advertising,” NDSS,
       https://web.cs.ucdavis.edu/~zubair/files/harpo-ndss2022.pdf (Apr. 2022)
   ▪   T. Spyropoulos, K. Psounis, and C. Raghavendra, “Efficient Routing in Intermittently
       Connected Mobile Networks: The Multiple-copy Case, ”IEEE/ACM Transactions on
       Networking,
       https://cpb-us-e1.wpmucdn.com/sites.usc.edu/dist/b/364/files/2019/05/multiton.pdf
       (Feb. 2008)
   ▪   T. Spyropoulos, K. Psounis, and C. Raghavendra, “Efficient Routing in Intermittently
       Connected Mobile Networks: The Single-Copy Case,” IEEE/ACM Transactions on
       Networking, https://ee.usc.edu/netpd/assets/001/51984.pdf (Feb. 2008)
   ▪   Alex Sherman, “Netflix estimates 100 million households are sharing passwords and
       suggests a global crackdown is coming,” CNBC,
       https://www.cnbc.com/2022/04/19/netflix-warns-password-sharing-crackdown-is-comin
       g.html (Apr. 20, 2022)
   ▪   Matt Richtel, “Young, in Love and Sharing Everything, Including a Password,” N.Y.
       Times,
       https://www.nytimes.com/2012/01/18/us/teenagers-sharing-passwords-as-show-of-affect
       ion.html (Jan. 17, 2012)
   ▪   Arjun Ruparelia, “Best DraftKings Sportsbook VPN in 2022: Unblock DraftKings From
       Anywhere With a VPN,” Cloudwards,
       https://www.cloudwards.net/draftkings-sportsbook-vpn/ (Apr. 27, 2022)
   ▪   Osman Husain, “How to watch ESPN anywhere with a VPN,” Comparitech,
       https://www.comparitech.com/blog/vpn-privacy/best-vpn-espn/ (Jan. 19, 2022)
   ▪   M. Levin and J. Lowitz, “iPhone 13 Models Have Biggest Share in Years,” Consumer
       Intelligence Research Partners LLC,



                                             193
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 202 of 215

               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

    https://files.constantcontact.com/150f9af2201/06eda1e6-cb00-4462-836f-73aa0120e439
    .pdf?rdr=true (Apr. 21, 2022)
▪   S. O’Dea, “App-updating habits of smartphone users in the United States 2016,”
    Statista,
    https://www.statista.com/statistics/747569/united-states-survey-smartphone-users-app-u
    pdate-frequency/#statisticContainer (Feb. 28, 2020)
▪   J. Kline, P. Barford, A. Cahn, and G. Sommers, “On the structure and characteristics of
    user agent strings”, ACM Sigcomm,
    https://conferences.sigcomm.org/imc/2017/papers/imc17-final253.pdf (Nov. 1-3, 2017).
▪   E. Rye, R. Beverly, and K. Claffy, “Follow the Scent: Defeating IPv6 Prefix Rotation
    Privacy,” Proceedings of ACM Internet Measurement Conference (IMC),
    https://arxiv.org/pdf/2102.00542.pdf (Nov. 2-4, 2021).
▪   D. Plonka and A. Berger, “Temporal and Spatial Classification of Active IPv6
    Addresses,” Proceedings of ACM Internet Measurement Conference (IMC),
    https://www.akamai.com/site/en/documents/research-paper/temporal-and-spatial-classifi
    cation-of-active-ipv6-addresses-technical-publication.pdf (Oct. 28-30, 2015).
▪   Tara Matthews, et. al., “‘She’ll just grab any device that’s closer’: A Study of Everyday
    Device and Account Sharing in Households,” Proceedings of the ACM Conference on
    Human Factors in Computing Systems, ACM,
    https://dl.acm.org/doi/10.1145/2858036.2858051 (2016)
▪   K. Levy and B. Schneier, “Privacy threats in intimate relationships,” 6 Journal of
    Cybersecurity 1, https://academic.oup.com/cybersecurity/article/6/1/tyaa006/5849222
    (2020)
▪   A. Brush and K. Inkpen, “Yours, Mine and Ours? Sharing and Use of Technology in
    Domestic Environments,” Proceedings of the 9th International Conference on
    Ubiquitous Computing,
    https://www.microsoft.com/en-us/research/wp-content/uploads/2007/09/brushinkpenyou
    rsmineours.pdf (2007)
▪   B. Busse and M. Fuchs, "Prevalence of Cell Phone Sharing," Survey Methods: Insights
    from the Field, https://surveyinsights.org/?p=1019 (2013)
▪   H. Muller, J. Gove, and J. Webb, “Understanding Tablet Use: A Multi-Method
    Exploration,” Proceedings of the 14th international conference on Human-computer
    interaction with mobile devices and services,
    https://static.googleusercontent.com/media/research.google.com/en//pubs/archive/38135
    .pdf (2012).
▪   Rick Paulus, “The Digital Divide Is About Much More Than Access,” Pacific Standard,
    https://psmag.com/environment/digital-divide-more-complicated-than-access (June 14,
    2017)



                                           194
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 203 of 215

               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


▪   C. Park, et al., “Share and share alike? An exploration of secure behaviors in romantic
    relationships,” Fourteenth Symposium on Usable Privacy and Security (SOUPS),
    https://www.researchgate.net/publication/325608530_Share_and_Share_Alike_An_Expl
    oration_of_Secure_Behaviors_in_Romantic_Relationships (2018).
▪   Juliette Garside, “Ofcom: six-year-olds understand digital technology better than
    adults,” The Guardian,
    https://www.theguardian.com/technology/2014/aug/07/ofcom-children-digital-technolog
    y-better-than-adults (Aug. 6, 2014)
▪   Laveh Waddel, “Will Today’s Kids Be Stumped by the Technology of the Future?” The
    Atlantic,
    https://www.theatlantic.com/technology/archive/2016/01/will-todays-kids-be-stumped-b
    y-the-technology-of-the-future/425082/ (Jan. 26, 2016)
▪   Research Compliance Office, Stanford University, HRPP Policy Manual.pdf,
    https://researchcompliance.stanford.edu/panels/hs/policies (last visited June 3, 2022).
▪   Kamala D. Harris, “California Data Breach Report,” Cal. Dept. of Justice,
    https://oag.ca.gov/breachreport2016 (2016),
▪   M. Fischer, J. Hochman, and D. Boffa, “Privacy-Preserving Data Sharing for Medical
    Research,” International Symposium on Stabilization, Safety, and Security of
    Distributed Systems, https://cpsc.yale.edu/sites/default/files/files/TR1558.pdf
    (November 17–20, 2021)
▪   L. Olejnik, C. Castellucia, and A. Janc, "Why Johnny can’t browse in peace: On the
    uniqueness of web browsing history patterns," Annals of Telecommunications 1-2,
    https://hal.inria.fr/file/index/docid/747841/filename/johnny2hotpet-finalcam.pdf (June
    2013)
▪   A. Janc and L. Olejnik, “Web browser history detection as a real-world privacy threat,”
    ESORICS’10:Proceedings of the 15th European Conference on Research in Computer
    Security, http://cds.cern.ch/record/1293097/files/LHCb-PROC-2010-036.pdf (Sept. 20,
    2010)
▪   S. Englehardt, et al., “Cookies that give you away: The surveillance implications of web
    tracking,” WWW ‘15: Proceedings of the 24th International Conference on World Wide
    Web, https://senglehardt.com/papers/www15_cookie_surveil.pdf (May 18, 2015)
▪   Natasha Lomas, “France fines Google $120M and Amazon 42M for dropping tracking
    cookies without consent,” Tech Crunch,
    https://techcrunch.com/2020/12/10/france-fines-google-120m-and-amazon-42m-for-dro
    ppingtracking- cookies-without-consent (Dec. 10, 2020)
▪   Paul Ohm, “Broken promises of privacy: Responding to the surprising failure of
    anonymization,” UCLA Law Review 57,
    https://papers.ssrn.com/sol3/papers.cfm?abstract_id=1450006 (August 13, 2009).


                                           195
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 204 of 215

               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


▪   Latanya Sweeney, “Simple demographics often identify people uniquely,” Carnegie
    Mellon University Data Privacy Working Paper 3,
    https://dataprivacylab.org/projects/identifiability/paper1.pdf (2000)
▪   Philippe Golle, “Revisiting the uniqueness of simple demographics in the U.S.
    population,” 5th ACM Workshop on Privacy in the Electronic Society (WPES’06),
    Alexandria, Virginia, https://crypto.stanford.edu/~pgolle/papers/census.pdf (Oct. 30,
    2006)
▪   L. Sweeney, A. Abu and J. Winn, “Identifying participants in the Personal Genome
    Project by name (A re-identification experiment),” arxiv.org,
    https://arxiv.org/abs/1304.7605 (2013)
▪   Latanya Sweeney, “Only you, your doctor, and many others may know,” Technology
    Science 2018, https://techscience.org/a/2015092903 (Sep. 28, 2015)
▪   Ji Su Yoo, et al., “Risks to patient privacy: A re-identification of patients in Maine and
    Vermont statewide hospital data,” Technology Science 2018,
    https://techscience.org/a/2018100901 (Oct. 8, 2018)
▪   Katherine E. Boronow, et al., “Privacy risks of sharing data from environmental health
    studies,” Environmental Health Perspectives 128, no. 1,
    https://ehp.niehs.nih.gov/doi/10.1289/EHP4817 (January 2020)
▪   M. Barbaro and T. Zeller Jr., “A face is exposed for AOL Search No. 4417749,” New
    York Times, http://www.nytimes.com/2006/08/09/technology/09aol.html (August 9,
    2006)
▪   A. Narayanan and V. Shmatikov, “Robust de-anonymization of large sparse datasets,”
    2008 IEEE Symposium on Security and Privacy, Oakland, California,
    https://web.stanford.edu/class/cs245/win2020/readings/netflix-deanonymization.pdf
    (May 18-20, 2008)
▪   Yves-Alexandre de Montjoye, et al., “Unique in the shopping mall: On the
    re-identifiability of credit card metadata,” Science 347, no. 6221,
    https://www.science.org/doi/full/10.1126/science.1256297 (Jan. 30, 2015)
▪   L. Rocher, J. Jendrickx and Y. de Montjoye, “Estimating the success of re-identifications
    in incomplete datasets using generative models,” Nature Communications 10,
    https://www.nature.com/articles/s41467-019-10933-3 (July 23, 2019)).
▪   Douglas C. Schmidt, et al., “Google data collection,” Vanderbilt University,
    https://digitalcontentnext.org/wpcontent/
    uploads/2018/08/DCN-Google-Data-Collection-Paper.pdf (Aug. 15, 2018)
▪   Dániel Kondor, et al., “Towards matching user mobility traces in large-scale datasets,”
    arXiv:1709.05772, https://arxiv.org/pdf/1709.05772.pdf (Aug. 13, 2018)



                                            196
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 205 of 215

               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


▪   Eli Yacobson, et al., “De-identification is insufficient to protect student privacy, or What
    can a field trip reveal?” Journal of Learning Analytics 8, no 2,
    https://www.learning-analytics.info/index.php/JLA/article/view/7353 (2021)
▪   Pern Hui Chia, et al., “KHyperLogLog: Estimating reidentifiability and joinability of
    large data at scale,” Proceedings of the IEEE Symposium on Security and Privacy,
    https://milinda-perera.com/pdf/CDPSLDWG19.pdf (2019)
▪   P. Laperdrix, W. Rudametkin,and B. Baudry, “Beauty and the Beast: Diverting Modern
    Web Browsers to Build Unique Browser Fingerprints,” IEEE Symposium on Security
    and Privacy, https://ieeexplore.ieee.org/abstract/document/7546540 (2016)
▪   Y. Cao, S. Li, and E. Wijmans, “(Cross-)Browser Fingerprinting via OS and Hardware
    Level Features,” NDSS, San Diego CA,
    https://www.ndss-symposium.org/wp-content/uploads/2017/09/ndss2017_02B-3_Cao_p
    aper.pdf (2017)
▪   Patrick Billingsley, “Probability and Measure,” Wiley, (3rd ed. 1995); Sheldon Ross,
    “Introduction to Probability Models,” Academic Press,
    https://www.academia.edu/17872355/Introduction_to_Probability_Models_Tenth_Editio
    n (10th ed. 2014)
▪   Sheldon Ross, “Introduction to Probability Models,” Academic Press,
    https://www.academia.edu/17872355/Introduction_to_Probability_Models_Tenth_Editio
    n (10th ed. 2014)
▪   T.M. Cover and J.A. Thomas, “Elements of Information Theory,” Wiley,
    https://www.academia.edu/25024538/Elements_of_Information_Theory_2nd_ed_T_Cov
    er_J_Thomas_Wiley_2006_WW (2nd ed. 2006)
▪   T. Narten, R. Draves, and S. Krishnan, “Privacy Extensions for Stateless Address
    Autoconfiguration in IPv6,” RFC 4941 (Draft Standard),
    https://www.rfc-editor.org/rfc/pdfrfc/rfc4941.txt.pdf (Sept. 2007)
▪   Tomek Mrugalski, et al., “Dynamic Host Configuration Protocol for IPv6 (DHCPv6),”
    RFC 8415 (Proposed Standard), https://www.rfc-editor.org/rfc/pdfrfc/rfc8415.txt.pdf
    (Nov. 2018).
▪   J.F. Kurose &K.W. Ross, Computer Networking: A Top-Down Approach Ch. 4 (8th ed.
    2020).
▪   W3C, https://www.w3.org (last visited June 3, 2022).

▪   W3C, “W3C Tag,” https://tag.w3.org (last visited June 3, 2022).

▪   W3C, “W3C TAG Observations on Private Browsing Modes,” W3C TAG Finding,
    https://www.w3.org/2001/tag/doc/private-browsing-modes/ (July 5, 2019)




                                            197
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 206 of 215

               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


▪   Chromium Code Search, “user_action_event.proto,”
    http://xn--https-hw3b//source.chromium.org/chromium/chromium/src/+/main:third_part
    y/metrics_proto/user_action_event.proto;l=21-27?q=time_sec%20(last%20visited%20Ju
    ne%203,%202022).
▪   Chromium Code Search, “time.h,”
    https://source.chromium.org/chromium/chromium/src/+/main:base/time/time.h;l=16-22?
    q=TimeTicks (last visited June 3, 2022).
▪   NordVPN, https://nordvpn.com/features/dedicated-ip/ (last visited June 3, 2022)

▪   Microsoft, "Dynamic Host Configuration Protocol (DHCP),"
    https://perma.cc/7N5L-QKCQ (July 29, 2021)
▪   MDN Plus, "User-Agent,"
    https://developer.mozilla.org/en-US/docs/Web/HTTP/Headers/User-Agent (last visited
    June 2, 2022)
▪   Chrome Developers, "User-Agent Strings,"
    https://developer.chrome.com/docs/multidevice/user-agent/ (updated Nov. 9, 2021)
▪   Microsoft, “High Availability,”
    https://docs.microsoft.com/en-us/windows-server/remote/remote-access/vpn/always-on-
    vpn/deploy/always-on-vpn-adv-options#high-availability (last visited June 3, 2022).
▪   Aleksandar Kochovski, “The Top 25 VPN Statistics, Facts & Trends for 2022,”
    https://www.cloudwards.net/vpn-statistics/ (Mar. 18, 2022).
▪   Low Entropy, “Entropy and Privacy Analysis,”
    https://lowentropy.net/posts/entropy-privacy/ (last visited June 3, 2022).
▪   GoogleIPv6, https://www.google.com/intl/en/ipv6/statistics.html (last visited June 3,
    2022).
▪   Nord VPN, https://nordvpn.com/features/hide-ip/ (last visited June 3, 2022)

▪   Surfshark, https://surfshark.com/use-cases (last visited June 3, 2022)

▪   Day One Services, “Maintaining Privacy When You Browse The Internet,”
    http://dayoneservices.org/be-safe/ (last visited June 3, 2022)
▪   Sahara Cares, “Protect Yourself Online,” https://saharacares.org/protect-yourself-online/
    (last visited June 3, 2022)
▪   WNY Postpartum Connection, Inc., “Domestic Abuse Support,”
    https://www.wnypostpartum.com/domestic-violence-assistance (last visited June 3,
    2022)




                                            198
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 207 of 215

               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


▪   Betty Griffin Center, “Safe Browsing,” https://bettygriffincenter.org/help/ (last visited
    June 3, 2022)
▪   Center for Internet Security, “CIS Critical Security Controls Version 8”
    https://www.cisecurity.org/controls/v8 (last visted June 3, 2022)
▪   National Science Foundation, “Human Subjects,”
    https://www.nsf.gov/bfa/dias/policy/human.jsp (last visited June 3, 2022)
▪   National Institutes of Health, "Protecting Sensitive Data and Information Used in
    Research,"
    https://grants.nih.gov/grants/policy/nihgps/html5/section_2/2.3.12_protecting_sensitive_
    data_and_information_used_in_research.htm (updated Dec. 2021)
▪   Office for the Protection of Research Subjects, USC, https://oprs.usc.edu/policies/ (last
    visited June 3, 2022)
▪   Office for the Protection of Research Subjects, USC, “Chapter 10: Privacy,
    Confidentiality and HIPAA,”
    https://oprs.usc.edu/policies/privacy-confidentiality-and-hipaa/ (last visited June 3,
    2022).
▪   Center for Internet Security, “CIS Critical Security Controls FAQ,:
    https://www.cisecurity.org/controls/cis-controls-faq (last visited June 3, 2022)
▪   Google Ad Manager Help, “About publisher provided identifiers,”
    https://support.google.com/admanager/answer/2880055?hl=en, (last visited June 6,
    2022)
▪   Google Analytics Help, “bout User-ID views,”
    https://support.google.com/analytics/answer/3123669?hl=en (last visited June 6, 2022)
▪   Merriam-Websters.com Dictionary, ““From (the) cradle to (the) grave.”
    https://www.merriam-webster.com/dictionary/from%20%28the%29%20cradle%20to%2
    0%28the%29%20grave (last visited June 6, 2022).
▪   Epoch Converter, “Epoch & Unix Timestamp Conversion Tools”
    https://www.epochconverter.com/ (last visited June 6, 2022).
▪   Twitter, https://twitter.com/Jehochman/status/1153277584542711808 (last visited June
    3, 2022)
▪   Lawrence Abrams, “How to Switch Back to the Old Twitter Layout,” Bleeping
    Computer,
    https://www.bleepingcomputer.com/news/technology/how-to-switch-back-to-the-old-twi
    tter-layout/ (July 16, 2019))
▪   W3C, https://www.w3.org (last visited June 3, 2022).



                                            199
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 208 of 215

               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


▪   W3C, “W3C Tag,” https://tag.w3.org (last visited June 3, 2022).

▪   W3C, “W3C TAG Observations on Private Browsing Modes,” W3C TAG Finding,
    https://www.w3.org/2001/tag/doc/private-browsing-modes/ (July 5, 2019)
▪   Chromium Code Search, “user_action_event.proto,”
    http://xn--https-hw3b//source.chromium.org/chromium/chromium/src/+/main:third_part
    y/metrics_proto/user_action_event.proto;l=21-27?q=time_sec%20(last%20visited%20Ju
    ne%203,%202022).
▪   Chromium Code Search, “time.h,”
    https://source.chromium.org/chromium/chromium/src/+/main:base/time/time.h;l=16-22?
    q=TimeTicks (last visited June 3, 2022).
▪   NordVPN, https://nordvpn.com/features/dedicated-ip/ (last visited June 3, 2022)

▪   Microsoft, "Dynamic Host Configuration Protocol (DHCP),"
    https://perma.cc/7N5L-QKCQ (July 29, 2021)
▪   MDN Plus, "User-Agent,"
    https://developer.mozilla.org/en-US/docs/Web/HTTP/Headers/User-Agent (last visited
    June 2, 2022)
▪   Chrome Developers, "User-Agent Strings,"
    https://developer.chrome.com/docs/multidevice/user-agent/ (updated Nov. 9, 2021)
▪   Microsoft, “High Availability,”
    https://docs.microsoft.com/en-us/windows-server/remote/remote-access/vpn/always-on-
    vpn/deploy/always-on-vpn-adv-options#high-availability (last visited June 3, 2022).
▪   Aleksandar Kochovski, “The Top 25 VPN Statistics, Facts & Trends for 2022,”
    https://www.cloudwards.net/vpn-statistics/ (Mar. 18, 2022).
▪   Low Entropy, “Entropy and Privacy Analysis,”
    https://lowentropy.net/posts/entropy-privacy/ (last visited June 3, 2022).
▪   GoogleIPv6, https://www.google.com/intl/en/ipv6/statistics.html (last visted June 3,
    2022).
▪   Nord VPN, https://nordvpn.com/features/hide-ip/ (last visited June 3, 2022)

▪   Surfshark, https://surfshark.com/use-cases (last visited June 3, 2022)

▪   Day One Services, “Maintaining Privacy When You Browse The Internet,”
    http://dayoneservices.org/be-safe/ (last visited June 3, 2022)
▪   Sahara Cares, “Protect Yourself Online,” https://saharacares.org/protect-yourself-online/
    (last visited June 3, 2022)



                                            200
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 209 of 215

                CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


▪   WNY Postpartum Connection, Inc., “Domestic Abuse Support,”
    https://www.wnypostpartum.com/domestic-violence-assistance (last visited June 3,
    2022)
▪   Betty Griffin Center, “Safe Browsing,” https://bettygriffincenter.org/help/ (last visited
    June 3, 2022)
▪   Center for Internet Security, “CIS Critical Security Controls Version 8”
    https://www.cisecurity.org/controls/v8 (last visted June 3, 2022)
▪   National Science Foundation, “Human Subjects,”
    https://www.nsf.gov/bfa/dias/policy/human.jsp (last visited June 3, 2022)
▪   National Institutes of Health, "Protecting Sensitive Data and Information Used in
    Research,"
    https://grants.nih.gov/grants/policy/nihgps/html5/section_2/2.3.12_protecting_sensitive_
    data_and_information_used_in_research.htm (updated Dec. 2021)
▪   Office for the Protection of Research Subjects, USC, https://oprs.usc.edu/policies/ (last
    visited June 3, 2022)
▪   Office for the Protection of Research Subjects, USC, “Chapter 10: Privacy,
    Confidentiality and HIPAA,”
    https://oprs.usc.edu/policies/privacy-confidentiality-and-hipaa/ (last visited June 3,
    2022).
▪   Center for Internet Security, “CIS Critical Security Controls FAQ,:
    https://www.cisecurity.org/controls/cis-controls-faq (last visited June 3, 2022)
▪   Google Ad Manager Help, “About publisher provided identifiers,”
    https://support.google.com/admanager/answer/2880055?hl=en, (last visited June 6,
    2022)
▪   Google Analytics Help, “About User-ID views,”
    https://support.google.com/analytics/answer/3123669?hl=en (last visited June 6, 2022)
▪   Merriam-Websters.com Dictionary, ““From (the) cradle to (the) grave.”
    https://www.merriam-webster.com/dictionary/from%20%28the%29%20cradle%20to%2
    0%28the%29%20grave (last visited June 6, 2022).
▪   Epoch Converter, “Epoch & Unix Timestamp Conversion Tools”
    https://www.epochconverter.com/ (last visited June 6, 2022).
▪   Twitter, https://twitter.com/Jehochman/status/1153277584542711808 (last visited June
    3, 2022)
▪   Lawrence Abrams, “How to Switch Back to the Old Twitter Layout,” Bleeping
    Computer,



                                            201
Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 210 of 215

              CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

    https://www.bleepingcomputer.com/news/technology/how-to-switch-back-to-the-old-twi
    tter-layout/ (July 16, 2019))
▪   U.S. Patent No. 7,603,483B2 (issued Oct. 13, 2009)

▪   National Science Foundation, SaTC: Frontiers: Collaborative: Protecting Personal Data
    Flow on the Internet, Award# (USC): 1956435
▪   National Science Foundation, CNS Core: Medium: Collaborative Research:
    Privacy-Preserving Mobile Crowdsourcing, Award# (USC): 1901488
▪   National Science Foundation, NeTS: Spectrum Sharing Systems for Wireless Networks:
    Performance and Privacy Challenges




                                         202
  Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 211 of 215

              CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

Produced Documents

GOOG-BRWN-00016645      GOOG-BRWN-00072761       GOOG-BRWN-00204684
GOOG-BRWN-00023909      GOOG-BRWN-00078348       GOOG-BRWN-00207020
GOOG-BRWN-00026812      GOOG-BRWN-00078361       GOOG-BRWN-00226894
GOOG-BRWN-00026913      GOOG-BRWN-00140297       GOOG-BRWN-00229628
GOOG-BRWN-00026989      GOOG-BRWN-00144320       GOOG-BRWN-00229632
GOOG-BRWN-00027090      GOOG-BRWN-00147864       GOOG-BRWN-00232201
GOOG-BRWN-00027102      GOOG-BRWN-00147873       GOOG-BRWN-00386402
GOOG-BRWN-00027314      GOOG-BRWN-00148029       GOOG-BRWN-00386511
GOOG-BRWN-00027368      GOOG-BRWN-00148738       GOOG-BRWN-00386570
GOOG-BRWN-00028052      GOOG-BRWN-00149515       GOOG-BRWN-00388293
GOOG-BRWN-00029002      GOOG-BRWN-00149849       GOOG-BRWN-00390418
GOOG-BRWN-00029326      GOOG-BRWN-00152199       GOOG-BRWN-00397243
GOOG-BRWN-00029378      GOOG-BRWN-00153850.C     GOOG-BRWN-00406065
GOOG-BRWN-00029433      GOOG-BRWN-00155943       GOOG-BRWN-00408322
GOOG-BRWN-00029445      GOOG-BRWN-00156752       GOOG-BRWN-00410076
GOOG-BRWN-00032906      GOOG-BRWN-00157001       GOOG-BRWN-00410821
GOOG-BRWN-00033024      GOOG-BRWN-00157528       GOOG-BRWN-00424253
GOOG-BRWN-00041778      GOOG-BRWN-00160342       GOOG-BRWN-00426550
GOOG-BRWN-00042388      GOOG-BRWN-00161432       GOOG-BRWN-00432838
GOOG-BRWN-00047390      GOOG-BRWN-00162235       GOOG-BRWN-00433264
GOOG-BRWN-00047399      GOOG-BRWN-00164056       GOOG-BRWN-00433503
GOOG-BRWN-00048773      GOOG-BRWN-00164626       GOOG-BRWN-00441285
GOOG-BRWN-00048967.C    GOOG-BRWN-00165626       GOOG-BRWN-00457255
GOOG-BRWN-00051239      GOOG-BRWN-00165706       GOOG-BRWN-00466617
GOOG-BRWN-00060463      GOOG-BRWN-00166360       GOOG-BRWN-00466897
GOOG-BRWN-00061607      GOOG-BRWN-00176433       GOOG-BRWN-00467569
GOOG-BRWN-00066643      GOOG-BRWN-00176481       GOOG-BRWN-00468530
GOOG-BRWN-00072051      GOOG-BRWN-00184875       GOOG-BRWN-00468598
GOOG-BRWN-00072055      GOOG-BRWN-00186446       GOOG-BRWN-00471401



                                   203
 Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 212 of 215

            CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER



GOOG-BRWN-00475063     GOOG-BRWN-00708814       GOOG-BRWN-00847297
GOOG-BRWN-00490767     GOOG-BRWN-00711561       GOOG-BRWN-00847947
GOOG-BRWN-00491711     GOOG-BRWN-00727369       GOOG-BRWN-00847948
GOOG-BRWN-00526782     GOOG-BRWN-00742713       GOOG-BRWN-00847949
GOOG-BRWN-00529122     GOOG-BRWN-00817563       GOOG-BRWN-00848368
GOOG-BRWN-00535100     GOOG-BRWN-00819269       GOOG-CABR-00000015
GOOG-BRWN-00536949     GOOG-BRWN-00819272       GOOG-CABR-00021811
GOOG-BRWN-00549861     GOOG-BRWN-00819441       GOOG-CABR-00051478
GOOG-BRWN-00554317     GOOG-BRWN-00819830       GOOG-CABR-00056264
GOOG-BRWN-00555073     GOOG-BRWN-00820370       GOOG-CABR-00057420
GOOG-BRWN-00555100     GOOG-BRWN-00826130       GOOG-CABR-00057779
GOOG-BRWN-00555223     GOOG-BRWN-00826401       GOOG-CABR-00057895
GOOG-BRWN-00561172     GOOG-BRWN-00826529       GOOG-CABR-00057918
GOOG-BRWN-00562313     GOOG-BRWN-00826530       GOOG-CABR-00058557
GOOG-BRWN-00571757     GOOG-BRWN-00826531       GOOG-CABR-00058751
GOOG-BRWN-00572220     GOOG-BRWN-00826532       GOOG-CABR-00058926
GOOG-BRWN-00601937     GOOG-BRWN-00826534       GOOG-CABR-00059431
GOOG-BRWN-00605636     GOOG-BRWN-00826535       GOOG-CABR-00059481
GOOG-BRWN-00613409     GOOG-BRWN-00826536       GOOG-CABR-00059774
GOOG-BRWN-00613801     GOOG-BRWN-00826537       GOOG-CABR-00059864
GOOG-BRWN-00613802     GOOG-BRWN-00826550       GOOG-CABR-00060364
GOOG-BRWN-00615433     GOOG-BRWN-00840745       GOOG-CABR-00063770
GOOG-BRWN-00630517     GOOG-BRWN-00844093       GOOG-CABR-00073873
GOOG-BRWN-00650016     GOOG-BRWN-00845312       GOOG-CABR-00073875
GOOG-BRWN-00663644     GOOG-BRWN-00845569       GOOG-CABR-00073878
GOOG-BRWN-00680546     GOOG-BRWN-00845585       GOOG-CABR-00073880
GOOG-BRWN-00697719     GOOG-BRWN-00845673       GOOG-CABR-00073922
GOOG-BRWN-00699213     GOOG-BRWN-00845676       GOOG-CABR-00086797
GOOG-BRWN-00699534     GOOG-BRWN-00846508       GOOG-CABR-00086881




                                  204
  Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 213 of 215

             CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


GOOG-CABR-00101695      GOOG-CABR-00801323       GOOG-CABR-03841628
GOOG-CABR-00140102      GOOG-CABR-00832014       GOOG-CABR-03849022
GOOG-CABR-00148254      GOOG-CABR-00891629       GOOG-CABR-03907818
GOOG-CABR-00228748      GOOG-CABR-00892264       GOOG-CABR-03921989
GOOG-CABR-00358713      GOOG-CABR-00892455       GOOG-CABR-03922755
GOOG-CABR-00374449      GOOG-CABR-00901787       GOOG-CABR-03923580
GOOG-CABR-00377968      GOOG-CABR-00903677       GOOG-CABR-03923893
GOOG-CABR-00381312      GOOG-CABR-03611484       GOOG-CABR-03958924
GOOG-CABR-00391277      GOOG-CABR-03618845       GOOG-CABR-03959283
GOOG-CABR-00392675      GOOG-CABR-03622146       GOOG-CABR-03983354
GOOG-CABR-00399988      GOOG-CABR-03631556       GOOG-CABR-03983707
GOOG-CABR-00411167      GOOG-CABR-03646925       GOOG-CABR-03987880
GOOG-CABR-00421851      GOOG-CABR-03652549       GOOG-CABR-04005165
GOOG-CABR-00422906      GOOG-CABR-03652751       GOOG-CABR-04006287
GOOG-CABR-00427432      GOOG-CABR-03653330       GOOG-CABR-04007375
GOOG-CABR-00429070      GOOG-CABR-03662975       GOOG-CABR-04011132
GOOG-CABR-00430076      GOOG-CABR-03665840       GOOG-CABR-04073287
GOOG-CABR-00430662      GOOG-CABR-03667366       GOOG-CABR-04076570
GOOG-CABR-00487012      GOOG-CABR-03669893       GOOG-CABR-04077431
GOOG-CABR-00489377      GOOG-CABR-03670580       GOOG-CABR-04081967
GOOG-CABR-00501220      GOOG-CABR-03710192       GOOG-CABR-04082091
GOOG-CABR-00543418      GOOG-CABR-03710213       GOOG-CABR-04118321
GOOG-CABR-00543864      GOOG-CABR-03716577       GOOG-CABR-04122554
GOOG-CABR-00545997      GOOG-CABR-03717199       GOOG-CABR-04126517
GOOG-CABR-00547295      GOOG-CABR-03718983       GOOG-CABR-04134430
GOOG-CABR-00585454      GOOG-CABR-03738741       GOOG-CABR-04141174
GOOG-CABR-00710970      GOOG-CABR-03742530       GOOG-CABR-04141705
GOOG-CABR-00799341      GOOG-CABR-03751927       GOOG-CABR-04147060
GOOG-CABR-00800511      GOOG-CABR-03827263       GOOG-CABR-04177585




                                   205
  Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 214 of 215

             CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER


GOOG-CABR-04206179      GOOG-CABR-04635379       GOOG-CABR-04772394
GOOG-CABR-04207454      GOOG-CABR-04635593       GOOG-CABR-04773853
GOOG-CABR-04215325      GOOG-CABR-04639899       GOOG-CABR-04782100
GOOG-CABR-04240756      GOOG-CABR-04641725       GOOG-CABR-04782308
GOOG-CABR-04261880      GOOG-CABR-04648434       GOOG-CABR-04786706
GOOG-CABR-04293141      GOOG-CABR-04678169       GOOG-CABR-04795991
GOOG-CABR-04294727      GOOG-CABR-04687283       GOOG-CABR-04801490
GOOG-CABR-04307614      GOOG-CABR-04691939       GOOG-CABR-04804158
GOOG-CABR-04309395      GOOG-CABR-04692144       GOOG-CABR-04819485
GOOG-CABR-04324934      GOOG-CABR-04695140       GOOG-CABR-04820567
GOOG-CABR-04333674      GOOG-CABR-04695672       GOOG-CABR-04821454
GOOG-CABR-04408590      GOOG-CABR-04696292       GOOG-CABR-04828303
GOOG-CABR-04410117      GOOG-CABR-04697357       GOOG-CABR-04899841
GOOG-CABR-04417613      GOOG-CABR-04705124       GOOG-CABR-04959606
GOOG-CABR-04419756      GOOG-CABR-04706890       GOOG-CABR-04970427
GOOG-CABR-04423260      GOOG-CABR-04715843       GOOG-CABR-04986312
GOOG-CABR-04466637      GOOG-CABR-04716372       GOOG-CABR-05136994
GOOG-CABR-04470006      GOOG-CABR-04717190       GOOG-CABR-05145417
GOOG-CABR-04473461      GOOG-CABR-04720562       GOOG-CABR-05149122
GOOG-CABR-04477378      GOOG-CABR-04721001       GOOG-CABR-05163088
GOOG-CABR-04489649      GOOG-CABR-04722666       GOOG-CABR-05171191
GOOG-CABR-04508088      GOOG-CABR-04724084       GOOG-CABR-05173779
GOOG-CABR-04511160      GOOG-CABR-04732430       GOOG-CABR-05248101
GOOG-CABR-04606185      GOOG-CABR-04737403       GOOG-CABR-05269357.R
GOOG-CABR-04609856      GOOG-CABR-04743125       GOOG-CABR-05270014
GOOG-CABR-04616196      GOOG-CABR-04750983       GOOG-CABR-05280050
GOOG-CABR-04618590      GOOG-CABR-04761793       GOOG-CABR-05280756
GOOG-CABR-04624189      GOOG-CABR-04763333       GOOG-CABR-05280966
GOOG-CABR-04626237      GOOG-CABR-04763527       GOOG-CABR-05305495




                                   206
   Case 4:20-cv-03664-YGR Document 666-21 Filed 08/05/22 Page 215 of 215

                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER




GOOG-CABR-05362596
GOOG-CABR-05404845
GOOG-CABR-05405676
GOOG-CABR-05435664
GOOG-CABR-05454633
GOOG-CABR-05455683
GOOG-CABR-05461707
GOOG-CABR-05466323
GOOG-CABR-05468204
GOOG-CABR-05673102
GOOG-CABR-05737898
GOOG-CABR-05741188
GOOG-CABR-05756666
GOOG-CABR-05860125
GOOG-CABR-05864545
GOOG-CABR-05876612
GOOG-CABR-05876730
GOOG-CABR-05876763
GOOG-CABR-05876831
GOOG-CABR-05876933




Source Files:

   ▪   dbl-row-22ce947e70d000b1

   ▪   dbl-row-229a0a196fd000dc

   ▪   Consolidated 2022-04-08 3rd Round Search and Identifiers v2

   ▪   IP + UA Analysis (Source Material: GOOG-BRWN-00847947-948) (CONFIDENTIAL)



                                           207
